Urge Tri-State Zoo to Retire Animals to Reputable Facilities! | PETA                     Page 1 of 6
ANIMALS ARE                       to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                        in any other way.
Urge Tri-State Zoo to Retire Animals to
Reputable Facilities!
670
Update: February 5, 2020
Following PETA's successful Endangered Species Act lawsuit
(https://www.peta.org/wp-content/uploads/2019/12/Dkt.182-
MemorandumOpinion_PETAv.Tri-StateZoo.pdf) against Tri-State Zoological Park
(https://www.mediapeta.com/peta/PDF/Tri-StateZooFactsheet.pdf) in
Cumberland, Maryland, tigers Cheyenne and Mowgli and a lion named Peka are
currently on their way to The Wild Animal Sanctuary (TWAS) in Colorado! While Tri-
State has appealed this decision, the appellate court recently rejected its request to
prevent the big cats' transfer to TWAS pending conclusion of the appeal.
Since PETA notified Tri-State of our intent to file suit in December 2016, five of the
nine animals originally at issue have died, including a tiger who was so ravaged by
sepsis that pus-filled pockets had formed in her heart, tongue, and diaphragm. But
now, Cheyenne, Mowgli, and Peka will live out their lives in a more natural habitat
and Tri-State is prohibited from owning or possessing endangered or threatened




                                                                                                         Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 1 of 66
species ever again.
Cheyenne, Mowgli, and Peka will finally get the care they desperately need. But
bears, a bobcat, a capuchin monkey, and other animals are still suffering at Tri-
State, so we need your help to rescue them, too.
https://support.peta.org/page/1371/action/1                                                  4/13/2021




                                                                                                                                                                      EXHIBIT H
Urge Tri-State Zoo to Retire Animals to Reputable Facilities! | PETA              Page 2 of 6
Update: After PETA alerted the U.S. Department of Agriculture (USDA) to footage
showing a lion who appeared emaciated and a pig who had red, flaky skin and
irritated eyes, the agency cited Tri-State Zoological Park—a roadside zoo in
Cumberland, Maryland—for denying adequate veterinary care to the thin, ailing lion.
The roadside zoo announced in February 2017 that the lion had died. The animals
who remain at the facility are being kept in appalling conditions and need your help
today.
Originally posted on July 5, 2016:
At Tri-State Zoo, deplorable conditions make life miserable for the animals confined
there—including a solitary capuchin monkey who has pulled his own hair out,
apparently in sheer frustration.
https://support.peta.org/page/1371/action/1                                         4/13/2021




                                                                                                Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 2 of 66
Urge Tri-State Zoo to Retire Animals to Reputable Facilities! | PETA               Page 3 of 6
According to years of inspection reports from the USDA, Tri-State has repeatedly
failed to provide animals with adequate veterinary care, maintain clean and safe
enclosures, provide primates who are held alone with sufficient environmental
enrichment, and provide animals with adequate shelter. The USDA even suspended
Tri-State's license for 45 days and ordered it to cease and desist from violating the
federal Animal Welfare Act. Yet the suffering continues.
https://support.peta.org/page/1371/action/1                                         4/13/2021




                                                                                                 Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 3 of 66
Urge Tri-State Zoo to Retire Animals to Reputable Facilities! | PETA                     Page 4 of 6
Please urge Tri-State to close its doors and surrender the animals to reputable
facilities, where they can get the care that they desperately need and live out
their days in sanitary spaces with plenty of room to roam.
Feel free to use our sample letter, but remember that using your own words is
always more effective.
41,833
Please Retire the Animals at Tri-State Zoo to Reputable Facilities supporters
have taken
action.
Message to                         _
{contact_data~firstName}
{contact_data~lastName}:                        Take Action Now!
I was relieved to learn that                    Fields with an asterisk(*) are required.
Cheyenne, Mowgli, and
First Name
Peka have finally been             _
rescued and will live out the
https://support.peta.org/page/1371/action/1                                               4/13/2021




                                                                                                       Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 4 of 66
Urge Tri-State Zoo to Retire Animals to Reputable Facilities! | PETA   Page 5 of 6
Last Name
E-Mail Address *
Get texts & occasional phone
calls for Action Alerts, local
events, & other updates to help
animals with PETA! (optional)
Mobile Phone
By clicking, you agree to receive
automated texts and calls from PETA
and accept our terms and
conditions
(http://www.peta.org/about-
peta/learn-about-peta/website-
policies/texting-terms-and-
conditions/). Message and data
rates may apply. U.S. mobile users
only. You can opt-out anytime.
SEND MESSAGE
By submitting this form, you are agreeing to our
collection, storage, use, and disclosure of your




                                                                                     Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 5 of 66
personal info in accordance with our privacy
policy (https://www.peta.org/about-peta/learn-
about-peta/website-policies/privacy/) as well as
to receiving e-mails from us.
https://support.peta.org/page/1371/action/1                              4/13/2021
Urge Tri-State Zoo to Retire Animals to Reputable Facilities! | PETA                                     Page 6 of 6
Contact PETA (https://www.peta.org/about-peta/contact-peta/)
Disclaimer (https://www.peta.org/about-peta/learn-about-peta/website-policies/disclaimer/)
Privacy Policy (https://www.peta.org/about-peta/learn-about-peta/website-policies/privacy/)
Contest Terms and Conditions (https://www.peta.org/about-peta/learn-about-peta/website-policies/contest-
terms-conditions/)
Texting Terms and Conditions (https://www.peta.org/about-peta/learn-about-peta/website-policies/texting-
terms-and-conditions/)
Terms of Use (https://www.peta.org/about-peta/learn-about-peta/website-policies/peta-online-community-
terms-of-use-agreement/)
Donate Now (https://headlines.peta.org/donate/?en_txn7=Navigation::top-donate-now-
button&supporter.appealCode=IXXXWBXXXXG)
Report Website Abuse (https://www.peta.org/about-peta/contact-peta/report-website-abuse/)
© 2021 PETA. Read our full policy. (https://www.peta.org/about-peta/learn-about-peta/website-policies/)
People for the Ethical Treatment of Animals
501 Front St., Norfolk, VA 23510
757-622-PETA (7382)
757-622-0457     (fax)
PETA is a nonprofit, tax-exempt 501(c)(3) corporation (tax ID number XX-XXXXXXX)
https://support.peta.org/page/1371/action/1                                                                   4/13/2021




                                                                                                                          Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 6 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 7 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 8 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 9 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 10 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 11 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 12 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 13 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 14 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 15 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 16 of 66
         Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 17 of 66




Tri-State                                               Since PETA notified Tri-State of its intent to
                                                        file suit in December 2016, five of the nine
                                                        animals originally at issue have died,
Zoological Park                                         including a lemur named Bandit who had
                                                        mutilated his penis and a tiger named India
10105 Cottage Inn Ln. N.E., Cumberland, MD
21502                                                   who was so ravaged by sepsis that pus-
                                                        filled pockets had formed in her heart,
                                                        tongue, and diaphragm. The court found
                                                        that all these animals had died prematurely
      The Tri-State Zoological Park of Western          and endured tragic deaths and that Tri-
      Maryland (aka “Tri-State Zoo”) is owned           State’s failure to provide them with
      by Bob Candy. Tri-State Zoo has                   adequate veterinary care violated the ESA.
      repeatedly failed to meet minimum                 Tri-State has appealed the district court’s
      federal standards for the care of animals         ruling, and that appeal remains pending.
      as established in the Animal Welfare Act
      (AWA). The USDA has cited Tri-State Zoo           October 5, 2017: The USDA cited Tri-State
      repeatedly for failing to provide animals         Zoo for failing to keep a nest box in the
      with adequate veterinary care, failing to         porcupine enclosure in good repair. A flap
      maintain enclosures, failing to provide           only provided coverage for half of the
      primates who are held alone with                  opening to the box and also had jagged
      environmental enrichment, failing to              edges.
      keep lions and tigers in secure
                                                        October 6, 2016: The USDA cited Tri-State
      enclosures, failing to provide adequate
                                                        Zoo for failing to have a veterinarian with
      shelter from wind and cold temperatures,
                                                        exotic-cat experience examine a lion who
      and allowing the buildup of excessive
                                                        appeared thin and had prominent pelvic
      amounts of feces and waste in multiple
                                                        bones, a rough coat, and watery discharge
      enclosures. In March 2013, the USDA
                                                        around the eyes.
      suspended the facility’s AWA license for
      45 days and ordered it to cease and
                                                        December 2, 2015: The USDA cited Tri-
      desist from violating the AWA. In May
                                                        State Zoo for failing to store food in a way
      2015, the USDA issued an official
                                                        that minimizes the risk of contamination.
      warning to the Tri-State Zoo for violating
                                                        The facility had open boxes of fruits and
      the AWA. Contact PETA for
                                                        vegetables outside, and cats were resting
      documentation.
                                                        inside them.
      December 26, 2019: Following a six-day
                                                        September 24, 2015: The USDA cited Tri-
      bench trial that took place the previous
      month, the U.S. District Court for the District   State Zoo for repeat violations for failing to
      of Maryland issued a ruling in PETA’s             repair broken wires in the fence surrounding
      Endangered Species Act (ESA) lawsuit              animals used in a petting zoo, failing to
      against Tri-State Zoo. The court ordered the      keep the grounds free of excessive amounts
      roadside zoo to relinquish two tigers and         of excreta and debris, and failing to repair a
      one lion to an accredited sanctuary and           wooden ramp—which had holes, splinters,
                                                        and protruding nailheads—in an enclosure
      prohibited it from owning or possessing
      endangered or threatened species in the           housing a wild cat. The facility was also
      future. The judge described conditions for        cited for failing to clean water bowls that
      ESA-protected animals at the facility as          contained a buildup of dark brown-green
      “fetid and dystopic.”                             material.




      {00183049}
   Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 18 of 66
                                                          Tri-State Zoological Park


May 29, 2015: The USDA issued an official         Zoo for repeat violations for failing to
warning to the Tri-State Zoo for violations       maintain a secure perimeter fence to
committed between November 6, 2014, and           contain the tigers and failing to provide
March 4, 2015. These violations included          structurally sound primary fencing around
failing to have adequate fencing for the          enclosures holding animals used in a
enclosure housing the tiger and the               petting zoo. In addition, the USDA cited Tri-
enclosures holding animals used in a              State Zoo for failing to dispose of waste
petting zoo, failing to prevent the entry of      properly outside an enclosure housing pigs;
unwanted humans into the perimeter fence          failing to have proper drainage in the
area, failing to provide the animals with         enclosure housing pigs, which was
clean and dry shelter, and failing to maintain    excessively muddy with puddles of water
a clean facility, as the enclosure housing the    that could lead to foot problems; failing to
coatimundi repeatedly contained excessive         have proper drainage in the stall holding an
feces and the kitchen and food-storage area       alpaca, which had standing water and mud
had rodent feces.                                 that could lead to foot problems; buildup of
                                                  food waste and excessive feces in the
May 27, 2015: The USDA cited Tri-State            enclosure housing the coatimudi; and the
Zoo for repeat violations for failing to          presence of rodent feces on the floor of the
provide structurally sound primary fencing        feed room.
around enclosures holding animals used in
a petting zoo and failing to remove               November 6, 2014: The USDA cited Tri-
excessive feces from the enclosure housing        State Zoo for failing to develop and follow
the coatimundi. In addition, it was cited for     an environmental enrichment plan to
having a gate that didn’t close properly          promote the psychological well-being of a
surrounding the enclosure housing the             marmoset who was confined alone. The
squirrel monkey, having excessive                 facility was also cited for failing to provide
accumulation of debris near the area              structurally sound primary fencing around
housing the lemur and macaques, failing to        enclosures holding animals used in a
repair a large hole in the wood around the        petting zoo. In addition, the USDA cited Tri-
area housing a lemur, and having excessive        State Zoo for three repeat violations for
weeds and high vegetation in the enclosure        failing to provide a secure perimeter fence
housing the New Guinea singing dog,               to prevent the entry of unwanted humans
denying the animal full access to the             into animal enclosures, failing to provide a
outdoor enclosure. The facility was also          secure perimeter fence to contain the tigers
cited for having multiple areas of perimeter      in the event of an escape, and failing to
fence in need of repair, including a section      maintain surfaces in the kitchen that can be
along the front of the zoo that was missing       effectively cleaned and sanitized.
wood boards, loose boards in the fence
between the enclosures housing the puma           April 24, 2014: The USDA cited Tri-State
and tiger, a gap in the wire mesh in the          Zoo for failing to prevent contamination,
fence surrounding the enclosure housing           minimize disease, and reduce odors by
the serval, an area at the back of the facility   allowing the buildup of food, excreta, urine,
with no perimeter fence, and a broken fence       and debris in the litter pan of one of the
post around the enclosure housing the             kinkajous.
puma, causing the fence to fall below the
required height of 8 feet.                        January 27, 2014: The USDA cited Tri-
                                                  State Zoo for failing to heat the building
March 4, 2015: The USDA cited Tri-State           holding Japanese macaques sufficiently.
   Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 19 of 66
                                                           Tri-State Zoological Park


The facility let the temperature drop below        for repeat sanitation violations for
45 degrees in the building. Tri-State was          enclosures holding tigers. The enclosures
also cited for having open bags of feed and        had cracks in the concrete that could inhibit
an excessive amount of feed spilled on the         sanitation and the prevention of disease.
floor that could harbor and attract pests. In      The facility was also cited for repeat
addition, the facility was cited for failing to    facilities violations. The enclosure holding
provide a secure perimeter fence to prevent        the white tigers had a dividing fence that
the entry of unwanted humans and animals.          wasn’t tall enough to prevent the tigers from
                                                   jumping into the next enclosure.
August 21, 2013: The USDA cited Tri-State
Zoo for failing to maintain fencing in good        March 2, 2012: The USDA cited Tri-State
repair so that it could protect the animals in     Zoo for repeat sanitation violations for
the facility by restricting the entry of           enclosures holding tigers. They had cracks
unauthorized humans and animals.                   in the concrete that could impede sanitation
                                                   and disease prevention. The facility was
April 25, 2013: The USDA cited Tri-State           also cited for repeat facilities violations for
Zoo for failing to store food in a manner to       the enclosures holding lions and tigers. The
prevent contamination and failing to               fence for the enclosure holding lions wasn’t
maintain the enclosure holding bobcats in          sufficient to contain them, and the enclosure
good repair to protect the animals from            holding the white tigers had a dividing fence
injury.                                            that wasn’t tall enough to prevent them from
                                                   jumping into the next enclosure. The
March 22, 2013: A USDA judicial officer            enclosure holding another tiger had a ledge
issued a Decision and Order formally finding       that was wide enough to allow the animal to
that Tri-State Zoo had committed dozens of         gain footing and possibly leap out of the
violations of the AWA, including failing to        enclosure.
have a sufficient number of adequately
trained employees, failing to provide the          November 2, 2011: The USDA cited Tri-
animals with adequate veterinary care,             State Zoo for sanitation violations for an
allowing the buildup of feces in multiple          accumulation of building materials in the
enclosures, and failing to keep multiple           areas holding the mountain lions and tigers
enclosures in good repair. The USDA                and for failing to maintain an effective
ordered Tri-State Zoo to cease and desist          program to control insects. Many
from violating the AWA and suspended the           cockroaches were found in the building
facility’s AWA license for 45 days.                housing the kinkajou.

September 14, 2012: The USDA cited Tri-            October 6, 2011: The USDA cited Tri-State
State Zoo for repeat violations for failing to     Zoo for repeat sanitation violations for
keep an enclosure holding a skunk sanitary,        enclosures holding tigers. They had cracks
because of excessive food waste and the            in the concrete that could inhibit sanitation
presence of flies. It was also cited for failing   and the prevention of disease. The facility
to keep premises clean and in good repair          was also cited for repeat facilities violations
after wooden fencing was found warped and          for enclosures holding lions and tigers. The
excessively chewed on by the animals and           fence for the enclosure holding lions wasn’t
two 3-inch holes were found in the concrete        sufficient to contain the animals, and the
floor of the exhibit housing white tigers.         enclosure holding the white tigers had a
                                                   dividing fence that wasn’t tall enough to
July 3, 2012: The USDA cited Tri-State Zoo         prevent them from jumping into the next
   Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 20 of 66
                                                          Tri-State Zoological Park


enclosure. The enclosure holding another          had openings wide enough to allow the
tiger had a ledge that was wide enough to         squirrel monkey’s hands or a person’s finger
allow the animal to gain footing and possibly     through. In addition, the facility failed to
leap out of the enclosure. The USDA also          keep part of an enclosure holding Arctic
cited the facility for improper sanitation for    foxes in good repair and to maintain an
allowing the buildup of a brown material in       effective program of pest control in the
the enclosure housing the kinkajou.               exhibit holding lemurs, where a live mouse
                                                  was seen in the enclosure. The facility was
June 9, 2011: The USDA cited Tri-State            also cited for enclosures holding tigers as
Zoo for repeat sanitation violations for          they allowed for the possibility of escape
enclosures holding tigers. They had cracks        and had damage that could impede proper
in the concrete that could impede sanitation      sanitation and disease prevention.
and disease prevention. The facility was
also cited for repeat facilities violations for   May 19, 2010: The USDA cited Tri-State
enclosures holding lions, and tigers. The         Zoo for a repeat facilities violation for the
fence for the enclosure holding lions wasn’t      fence around the enclosure holding the lion,
sufficient to contain the animals, and the        which wasn’t sufficient to contain the
enclosure holding white tigers had a dividing     animal. The facility was cited for another
fence that wasn’t tall enough to prevent          repeat violation for improper waste disposal.
them from jumping into the next enclosure.        Excreta and mulch were in the water of the
An enclosure holding another tiger had a          pool in an enclosure holding tigers. In
ledge that was wide enough to allow the           addition, an enclosure holding a tiger
animal to gain footing and possibly leap out      contained a tree that was tall enough to
of the enclosure.                                 allow the tiger to climb up and escape.
                                                  Furthermore, the facility was cited for failing
February 10, 2011: The USDA cited Tri-            to maintain a program of adequate
State Zoo for a repeat violation for allowing     veterinary care for goats with hoof
the public to view a tiger with no barrier to     problems. It was also cited for failing to
prevent direct contact with the animal. The       keep water receptacles clean and sanitary.
facility was also cited for a repeat violation    The drinking water for a lion was found to
for enclosures holding tigers. The enclosure      be greenish in color because of improper
holding white tigers had a dividing fence         sanitation.
that wasn’t tall enough to prevent them from
jumping into the next enclosure. An               August 3, 2009: The USDA cited Tri-State
enclosure holding another tiger had a ledge       Zoo for multiple violations, including failing
that was wide enough to allow the animal to       to provide two limping goats with adequate
gain footing and possibly leap out of the         veterinary care, failing to provide proper
enclosure. In addition, the facility was cited    environmental enhancement to promote the
for repeat sanitation violations for              psychological well-being of a squirrel
enclosures holding tigers. They had cracks        monkey and a lemur who were each held
in the concrete that could impede sanitation      alone, failing to provide a secure enclosure
and the prevention of disease.                    to contain a lion properly, allowing an
                                                  accumulation of trash and food waste to
September 29, 2010: The USDA cited Tri-           build up outside the building holding birds,
State Zoo for multiple violations, including      and failing to remove excessive amounts of
failing to provide sufficient barriers between    feces in the enclosures confining goats,
a squirrel monkey and the public. The             pigs, cougars, servals, and bobcats. It was
enclosure was covered with wire mesh that         also cited for failing to dispose of waste
   Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 21 of 66
                                                           Tri-State Zoological Park


properly in an enclosure holding tigers. The       pigtail macaque was found dead in his
enclosure contained a pool with excessive          enclosure, possibly of electrocution from
amounts of feces and urine. It was also            chewing on a cord for a heat lamp. In
cited for failing to minimize the risk of harm     addition, the facility was cited for failing to
to animals and the public—a single barrier         maintain acquisition and disposition records
fence between a binturong and the public           on some of the animals, failing to construct
was broken, preventing unwanted public             an enclosure for a lion with materials of
contact with the animal.                           sufficient strength to contain the animal,
                                                   failing to provide adequate shelter from the
March 11, 2009: The USDA cited Tri-State           elements in the enclosure holding cougars,
Zoo for failing to maintain structurally sound     and failing to provide a perimeter fence
fencing around enclosures holding farmed           around the enclosures holding the tigers
animals and cougars.                               and coatimundis.

September 3, 2008: The USDA cited Tri-             May 23, 2007: The USDA cited Tri-State
State Zoo for repeat noncompliances,               Zoo for three repeat violations for failing to
including failing to provide an updated            maintain the fencing in good repair around
program of veterinary care and failing to          the pen holding llamas and goats, failing to
prevent food contamination. Chemicals              control pests, and failing to clean a buildup
were being stored near food sources. The           of dirt, excreta, and hair in the enclosure
facility was also cited for failing to keep food   holding tigers.
receptacles clean and sanitary.
                                                   November 29, 2006: The USDA cited Tri-
June 2, 2008: The USDA cited Tri-State             State Zoo for failing to maintain the fencing
Zoo for failing to provide an updated              in good repair around the pen holding the
program of veterinary care, failing to provide     llamas and goats, failing to have adequate
five ferrets with shelter from sunlight, failing   shelter from the elements in the enclosures
to remove two- to three-day-old uneaten            holding Arctic foxes and Japanese
carcass remains from an enclosure holding          macaques, and failing to remove excessive
lions, failing to maintain a program to control    amounts of feces and food waste from
pests in the enclosure holding tigers, failing     multiple enclosures. In addition, the
to provide a barrier fence around the              enclosure holding Japanese macaques
enclosure holding porcupines, and allowing         contained a doghouse with a cracked roof
unused equipment to accumulate in the              and sharp edge.
building holding binturongs. It was also cited
for failing to dispose of waste properly from      September 7, 2006: The USDA cited Tri-
an enclosure holding tigers, which                 State Zoo for repeat violations for failing to
contained excessive amounts of feces and           maintain an adequate veterinary-care
urine. In addition, the facility was cited for     program for goats with overgrown hooves
failing to minimize the risk of harm to the        and failing to provide an adequate perimeter
public and the animals by allowing visitors        fence around the enclosure holding servals
to touch and take photos with tigers with no       in order to prevent an escape.
barrier fence and allowing the public to
come into direct contact with a lion.              May 17, 2006: The USDA cited Tri-State
                                                   Zoo for repeat violations for failing to
September 26, 2007: The USDA cited Tri-            provide a lemur who was housed alone with
State Zoo for failing to maintain enclosures       an environmental enrichment plan, failing to
so that they protect primates from injury. A       construct an enclosure for a lion with
   Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 22 of 66
                                                          Tri-State Zoological Park


materials of sufficient strength to contain the   complete plan for providing the primates
animal, having a crack in the wall of the         with environmental enhancement. It was
building confining reptiles that was in need      cited with repeat facilities violations for
of repair, having an accumulation of              failing to provide tigers and cougars with
bedding and rodent feces under the                adequate shelter from winter conditions. In
enclosures holding the fennec fox and             addition, the enclosures holding lions and
agouti, failing to drain excess water properly    tigers were not structurally sound or
from the pen holding pigs, failing to control     maintained in good repair to contain the
pests effectively in the enclosure holding        animals properly. The cage holding the lions
binturongs, and having a staff inexperienced      had large gaps, and the fence around the
in animal care and husbandry. In addition,        enclosure holding tigers wasn’t secure and
the facility was cited for failing to provide a   presented a point of escape if more of it
proper barrier fence between a cougar and         broke. The facility was cited for another
the public.                                       facilities violation for two Arctic foxes who
                                                  escaped from their enclosures on
March 29, 2006: According to The                  September 28, 2005, because they still
Baltimore Sun, a fire broke out at Tri-State      hadn’t been captured [See January 9,
Zoo, killing as many as 100 animals,              2006]. Sanitation noncompliances included
including turtles, parrots, iguanas, monkeys,     excessive amounts of feces buildup in
and a python. The state fire marshal later        multiple enclosures, a strong odor of urine
determined that the fire was caused by a          buildup in the building confining reptiles,
faulty electrical wire.                           excessive amounts of rodent feces in the
                                                  kitchen, and the presence of mice in the hog
February 14, 2006: The USDA cited Tri-            food bag. Feeding noncompliances included
State Zoo for failing to correct previously       failing to have a diet for the big cats that
identified violations for failing to provide      was approved by a veterinarian and
adequate veterinary care. The facility was        improperly storing food. The facility was
keeping expired medications, and two              also cited for a repeat noncompliance for
angora rabbits were found to be “thin with        having a staff inexperienced in animal care
prominent bony processes along the spine          and husbandry.
and pelvis.” One of the rabbits had matted
fur that needed to be clipped to prevent          January 9, 2006: The USDA cited Tri-State
irritation and abscesses from developing. In      Zoo with a facilities violation for two Arctic
addition, these rabbits had old, caked-on         foxes who escaped on September 28, 2005,
food and feces in their food bowl and were        and still hadn’t been captured.
not provided with adequate shelter from
wind and cold temperatures.                       January 5, 2006: The USDA cited Tri-State
                                                  Zoo for failing to provide animals with
The facility was also cited for a repeat          adequate veterinary care. A rabbit was
enclosure violation because the enclosure         found with nails that were curling around the
holding a lemur didn’t meet the required          pen wire, and another a rabbit was found to
minimum size requirements, preventing the         be excessively thin and had a matted coat.
animal from comfortably turning around or         A goat with a genetic leg condition had
making normal postural adjustments. This          overgrown hooves. The facility was also
enclosure, along with multiple other              cited for having incomplete animal records
enclosures holding primates, had sanitation       to indicate the acquisition and disposal of
violations for the excessive buildup of feces.    animals, storing food improperly, failing to
Furthermore, the facility didn’t have a           dispose of waste properly, and failing to
   Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 23 of 66
                                                           Tri-State Zoological Park


keep enclosures reasonably clean. Four            standing water, forming a mixture of mud
outdoor cages holding rabbits were                and feces, and sheep, pigs, and goats had
excessively dirty with hair and urine, and an     little, if any, dry space to lie down. Tri-State
excessive amount of feces was found in a          was also cited for failing to provide
cage that held one rabbit. It was also cited      wholesome, uncontaminated food of
for failing to sanitize enclosures properly.      sufficient quantity and nutritive value. A salt
The enclosures holding squirrel monkeys,          block for llamas and a goat was found lying
capuchin monkeys, and lemurs had                  in the mud, and the facility veterinarian had
excessive buildups of feces. Cages holding        not approved and signed off on the diets for
macaques had an excessive buildup of dirt         the big cats. Finally, the facility was cited for
and debris. There were dirty food                 failing to have sufficient and adequately
containers, and a wheelbarrow full of feces       experienced people caring for primates,
and waste was directly outside the door of        failing to provide species-appropriate ample
the enclosure holding squirrel monkeys.           lighting, failing to provide tigers with
Tri-State was also cited for failing to remove    adequate shelter during inclement weather,
excreta from enclosures. The pen holding          and failing to construct a perimeter fence
livestock was full of mud and feces, and          that protects animals and the public by
feces from the hoofstock were in public           restricting animals to the facility and keeping
areas. Tri-State was further cited for failing    unauthorized people out.
to maintain adequate pest control. Rodent
holes were found in the pen holding Arctic        September 28, 2005: The USDA cited Tri-
foxes and in the feed storage area, and           State Zoo for failing to provide rabbits with
three live mice were seen in that area. It        sufficient shade to prevent overheating and
was also cited for failing to keep facilities     discomfort. Rabbits had dug two large holes
used for storing animal food or bedding free      as a way to get cool. It was also cited for
of clutter and failing to keep buildings and      failing to have an environmental enrichment
grounds clean and in good repair. Pans in a       plan for primates that addressed the special
cage holding rabbits were rusty and               needs of a capuchin monkey, a pigtail
deteriorating, and enclosure walls were           macaque, and a rhesus macaque, who
damaged and missing plaster. Tri-State Zoo        were each confined alone. It was cited for
was also cited for failing to provide             failing to provide adequate shade structures
macaques with sufficient space, leaving           in the enclosure holding lions and failing to
them unable to make normal postural               have a perimeter fence around the
adjustments. It was also cited with a repeat      enclosures holding Arctic foxes and
violation for failing to provide primates with    coatimundis. USDA inspectors found
environmental enhancement and                     cracked glass in the enclosure housing
enrichment (see September 28, 2005). It           squirrel monkeys, equipment and building
was also cited for failing to ensure that         materials haphazardly located outside the
facilities were in good repair to protect and     main entrance to animal enclosures,
contain animals, as a cage holding tigers         missing wire resulting in large openings in
was found with an unattached covering,            the wire fence of pens holding llamas and
leaving the tigers capable of entering the        goats, and a damaged ceiling with exposed
visitor area. It was cited for failing to store   insulation in the area holding large birds.
food properly. Meat freezers were filthy, and
thawed deer rib cages were rotting in the
bottom of a freezer. Tri-State was further
cited for failing to have suitable drainage.
Pens holding llamas and goats contained
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 24 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 25 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 26 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 27 of 66
From: PETA E-News <do-not-reply@peta.org>
Sent: Fri, 04 Aug 2017 17:50:41 -0500
To: Marta Holmberg <martah@peta.org>
Subject: Raccoon Dogs, Rabbits, and Foxes Violently Killed--Retailer Profits
Take action to help animals violently killed for their fur, watch the viral video of a bull that shows why
animals should NOT be used for entertainment, and more.
Retailer Century 21 Selling Fur Made From Rabbits, Foxes, Raccoon Dogs, and Others
Most of the world's fur comes from animals on fur farms, who spend
their lives confined to filthy, cramped cages. Fur farmers kill them
using the cheapest and crudest methods available, including breaking
their necks and suffocating, poisoning, and electrocuting them.
Despite hearing multiple times from PETA about the way that animals
suffer in the fur trade, department store Century 21 is still selling
fur products.
URGE CENTURY 21 TO DROP FUR
http://www2.peta.org/site/R?i=bKlFxciqDj9slZsXTZ1TZA
'LOTR' and 'Planet of the Apes' Actor Andy Serkis Discusses Wild Animals Used in Films
"The thought of shooting an Apes movie now with real apes is absurd,"
Serkis says.
WHAT MOVIEGOERS NEED TO KNOW
http://www2.peta.org/site/R?i=xeyT6ytdeokyfOeHBhGxMQ




                                                                                                             Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 28 of 66
Help Animals in One of Manila's Poorest Areas
For animals like Red Boy living in impoverished areas like Manila's
Sarhento Mariano Cemetery, where he sleeps among the
gravesites-as do hundreds of other dogs and humans-every
day is a struggle. Your gift today will be matched-and will do
twice as much to help save cats and dogs like Red Boy in the
Philippines.
MATCH MY GIFT
http://www2.peta.org/site/R?i=eC5WkeRIsRgOtlYiiynQzA
Viral Video: Tormented Bull Dies Trying to Escape the Fire on His Horns
Running and disoriented with fear, a bull was killed when he collided
with a wooden pole after a group of people set his horns on fire.
Watch the video, share it on social media to show others why animals
are not props for our entertainment, and take action to help bulls
killed in the ring.
http://www2.peta.org/site/R?i=p_zd3Jzi9qlUqqqb_AsZhA
TAKE ACTION FOR BULLS
http://www2.peta.org/site/R?i=tDtEjRcO_XnAFdDLKzcLew
Like 'Okja,' 'What the Health' Is a Netflix Game Changer
What the Health-the powerful follow-up film from the creators of
the groundbreaking documentary Cowspiracy-is changing the way
that people look at the food industry. Watch the film yourself, and be
sure to share the trailer on Facebook and Twitter to spread the word.
http://www2.peta.org/site/R?i=kL-Chgw-_WqtuC_agoLTrQ
http://www2.peta.org/site/R?i=0AwXIQng-xq0I6ckvGL_jg
WATCH THE TRAILER
http://www2.peta.org/site/R?i=s2BY-ZHDzYa1HvjCy3yFgQ
PETA Exposes British Egg Farm Where Chickens May Never See the Light of Day
"Free-range" chickens aren't kept in cages, but they can still be
crammed by the thousands into dark, filthy sheds.
THIS IS 'FREE-RANGE'
http://www2.peta.org/site/R?i=_z3LGRFRRXo8bfQgVhtXow
First-Ever PETA Campaign Featuring Two Transgender Models Helps Transform Wardrobes
Models Loiza Lamers and Benjamin Melzer would rather go naked than
wear fur. Share if you agree!
SAY NO TO FUR
http://www2.peta.org/site/R?i=FkZO8fL-rBx8gXyf4Zl7GA
RECAP: July Was Packed With Victories for Animals
Countless animals on factory farms and in laboratories, circuses, and




                                                                                      Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 29 of 66
elsewhere will be spared because of actions taken by PETA and
supporters like you. Thank you for speaking up for animals-it's
working!
SEE WHAT HAPPENED
http://www2.peta.org/site/R?i=PtGo79TrRkSvEHcK1c9acg
PETA Sues Over Treatment of Animals at Tri-State Zoo
PETA is suing Tri-State Zoological Park in U.S. federal court over the
mistreatment and abuse of lemurs, tigers, and a lion currently held
there. Help us get these long-suffering animals moved to a reputable
sanctuary by taking action today.
http://www2.peta.org/site/R?i=gv_Yc_ncEizqASGGtf8iEg
ACT NOW
http://www2.peta.org/site/R?i=5kF-gpXOsmN86zWEswtCVQ
After PETA Appeal, Sponsor and Venue Cut Ties With Kelly Miller Circus
Former sponsor Centro Multicultural La Familia was quick to recognize
that a life of being dragged around the country in shackles is no life
at all for elephants and other animals. This is great news, but we
still need other venues and sponsors to require that scheduled Kelly
Miller Circus performances go forward without animals.
SPEAK UP FOR ANIMALS NOW
http://www2.peta.org/site/R?i=ULEe9e8DifVBmW28hC1Wcg
Were Dogs and Cats Tormented for Your Animal's Flea-and-Tick Products?
Most animal guardians don't know that numerous companies are actually
performing painful experiments on the very animals they purport to
help. That's why PETA scientists are working to replace the use of
animals in tests for flea-and-tick products. See cruelty-free
flea-control options for your animal companions, and then take action
to help dogs and cats used for cruel experiments at Liberty Research,
Inc.
HELP DOGS AND CATS
http://www2.peta.org/site/R?i=Xmt4fY8T0vm11gCOOzxa2w
Urgent Action Needed
Help Bears Suffering Greatly at 'The Great Bear Show'
http://www2.peta.org/site/R?i=QOb6f5kbj-qe3nDyhXm_jw
Urge Albertsons to Ban Glue Traps




                                                                             Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 30 of 66
http://www2.peta.org/site/R?i=O9ts7cN98dB0sBcxEqY-oA
Speak Out Against Cruel Conditions of Live Animal Markets
http://www2.peta.org/site/R?i=RcDLAgHpk3x55xizY3EgXg
Chevron, Pull Your Support From TAMU While Dogs Suffer There
http://www2.peta.org/site/R?i=aUH-XyZ7MYEVUYM3EH8n6Q
TOP PICKS FROM PETA CATALOG
Humane Bug Catcher
http://www2.peta.org/site/R?i=rw5ywheLwUJfPzxZfDZfow
Let Them Be Free (Orca) Tote
http://www2.peta.org/site/R?i=1NQIQ12o5ftpO3tfTVdNgw
SeaWorld Kills Unisex T-Shirt
http://www2.peta.org/site/R?i=ctCbScOTxfSrU-r32oPCPQ
Please do not respond to this e-mail. Instead, click here to contact PETA.
http://www2.peta.org/site/R?i=Ve3D6weN1ac1rqrKYP8pjA
Click to update your e-mail preferences or to unsubscribe.
http://www2.peta.org/site/R?i=uqNpPNLBPG4DgrYRGMb2Vg
http://www2.peta.org/site/CO?i=Ms2WNAUfc88jB_6trNUGHfvgp2jjP6vd&cid=1164
This e-mail was sent by PETA, 501 Front St., Norfolk, VA 23510 USA.
Add donore@peta.org to your address book.




                                                                           Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 31 of 66
From: Sirrus Lawson <SirrusL@peta.org>
Sent: Mon, 31 Jul 2017 22:33:06 +0000
To: PETA Worldwide <PETAWorldwide@peta.org>
Subject: Daily Website Updates!
PETA Investigation: This Is 'Free-Range'
https://investigations.peta.org/free-range-chicken-egg-farm-uk/
PETA Blog: After Cecil the Lion’s Son Was Killed, Jim Jefferies Destroyed Hunting
https://www.peta.org/blog/cecil-lions-son-killed-jim-jefferies-destroyed-hunting/
PETA Blog: After PETA Appeal, Sponsor and Venue Cut Ties With Kelly Miller Circus
https://www.peta.org/blog/peta-appeal-sponsor-venue-cut-ties-kelly-miller-circus/
PETA Blog: Charlestown Roadside Zoo Slapped With Notice of Intent to Sue
https://www.peta.org/blog/wildlife-in-need-slapped-with-notice-of-intent-to-sue/
PETA Blog: Horrifying Video of a Shark Dragged Behind a Boat Draws Social-Media, Law-
Enforcement Attention
https://www.peta.org/blog/video-shark-dragged-behind-boat/
PETA Blog: New PETA Ad Blitz Targets Bus Stops Outside Popular Fast-Food Joints
https://www.peta.org/blog/new-peta-ad-blitz-targets-bus-stops-outside-popular-fast-food-joints/
PETA Blog: PETA Pressure Puts NIH Director in the Hot Seat
https://www.peta.org/blog/peta-pressure-puts-nih-director-in-hot-seat/
PETA Blog: PETA Sues Over Treatment of Animals Suffering at Tri-State Zoo
https://www.peta.org/blog/peta-files-lawsuit-tri-state-zoo/




                                                                                                  Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 32 of 66
PETA Blog: Pulverized Elephant Handler a Reminder Never to Ride an Elephant
https://www.peta.org/blog/pulverized-elephant-handler-reminder-never-ride-elephant/
PETA Blog: Story Time and Cookies With an ‘Elephant’ at PETA’s D.C. Office
https://www.peta.org/blog/story-time-and-cookies-with-an-elephant-at-petas-d-c-office/
PETA Blog: Victory! New York City Mayor Signs Wild-Animal Circus Ban into Law
https://www.peta.org/blog/victory-new-york-city-bans-wild-animal-circuses/
PETA Blog: Viral Video: Tormented Bull Dies Trying to Escape the Fire on His Horns
https://www.peta.org/blog/viral-video-tormented-bull-dies-trying-escape-fire-horns/
PETA Living: 9 Pictures on Dating Profiles That Will Make You Swipe Left Instantly
https://www.peta.org/living/other/tinder-fails-tiger-selfies-elephant-rides-worst-pictures/
PETA Living: From Apples to Kombucha Tea: See the Ingenious Way Designers Are Making
Vegan Leather
https://www.peta.org/living/fashion/vegan-leather-chic-sustainable-and-fruity/
PETA Living: Kroger Stores Pick Up Famous ‘Bleeding’ Vegan Burger
https://www.peta.org/living/food/vegan-burger-brands-that-will-change-your-mind-about-veggie-
burgers
PETA Living Update: 11 Fierce Vegan Leather Motorcycle Jackets
https://www.peta.org/living/fashion/fierce-vegan-leather-motorcycle-jackets/
PETA TeachKind: Humane Education=Character Education
https://www.peta.org/teachkind/get-inspired/character-education/
peta2 Save Animals: #SharkWeek Just Got Truth-Bombed
https://www.peta2.com/save-animals/sharkweek-just-got-truth-bombed/




                                                                                                Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 33 of 66
peta2 Save Animals: Hens Live in Filthy, Crowded Sheds on 'Free-Range' Egg Farm
https://campaigns.peta2.com/hens-live-in-filthy-crowded-sheds-on-free-range-egg-farm/
peta2 Save Animals: Share: The Suffering Behind Wool
https://www.peta2.com/save-animals/share-suffering-behind-wool/
peta2 Save Animals: Tell UF: No Experiments on Dogs
https://www.peta2.com/save-animals/tell-uf-no-experiments-dogs/
peta2 Save Animals: Twitter Is Freaking Out About These Cruel Experiments
https://www.peta2.com/save-animals/twitter-freaking-cruel-experiments/
peta2 Vegan Life: These 7 Vegan Companies Run By Asian-American Women Deserve All Your
Money
https://www.peta2.com/vegan-life/vegan-companies-run-by-asian-american-women/
PETA Latino Blog: Swimming with Sharks and Hand-feeding Rays Are SeaWorld’s Worst Ideas
Yet
https://www.petalatino.com/en/blog/swimming-sharks-hand-feeding-rays-seaworlds-worst-ideas-
yet/
PETA Latino Blog: Viral Video: Tormented Bull Dies Trying to Escape the Fire on His Horns
https://www.petalatino.com/en/blog/viral-video-tormented-bull-dies-trying-escape-fire-horns/
PETA Latino Features: Buckley: a Spaniel’s Life and Death in a Laboratory
https://www.petalatino.com/en/features/buckley-spaniels-life-death-laboratory/
PETA Latino Features: This is ‘Free-Range’: PETA Exposes the Grim Reality of Life on a British
Egg Farm




                                                                                                     Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 34 of 66
https://www.petalatino.com/en/features/free-range-peta-exposes-grim-reality-life-british-egg-farm/
PETA Latino Features: Latin America Is Achieving Great Victories for Animals
https://www.petalatino.com/en/features/latin-america-achieving-great-victories-animals/
PETA Prime Blog: 10 Easy Things You Can Do to Help Animals!
http://prime.peta.org/2017/07/top-10-list-easy-things-can-help-animals
PETA Prime Blog: Fish Are Friends, Not Food—Part 2
http://prime.peta.org/2017/07/fish-are-friends-not-food-part-2-2
PETA Prime Blog: What’s Green and Buttery and Healthy All Over? An Avocado
http://prime.peta.org/2017/07/whats-green-and-buttery-and-healthy-all-over-an-avocado
PETA Prime Blog: When ‘Cute’ is Condescending
http://prime.peta.org/2017/07/when-cute-is-condescending




                                                                                          Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 35 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 36 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 37 of 66
Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 38 of 66
                                                                                                             Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 39 of 66

Date Sent   Time Sent   Victory   # sent to            # replied           % responded      Group   Interest/Area                Reply Y Text                                                                                                                      Thank U Text                                                                                                                    Additional Text
11/9/10                                        7509                1383              18.42% PETA                                 Donna Karan is a bunny butcher! Reply Y to this msg & we'll send a msg from you telling her execs to dump fur once & for
                                                                                                                                 all. Thank you. <3 PETA
1/13/11                 VICTORY               13233                3120             23.58% PETA                                  The University of Michigan has been conducting cruel experiments on cats & pigs! Reply Y & we'll send a msg from u
                                                                                                                                 urging them 2 stop testing on animals. <3PETA
2/6/11                                        16078                2954             18.37% PETA                                  Did you see what CareerBuilder aired during the Super Bowl? Reply Y to send CareerBullies a message to stop using
                                                                                                                                 chimpanzees in ads! <3 PETA
3/2/11                                        15468                3845             24.86% PETA                                  Coach House Gifts is selling live frogs in tiny plastic boxes. Reply Y and we'll send a msg 4 u urging them to pull the frog
                                                                                                                                 prisons from their shelves. <3 PETA
3/10/11                                       15596                2973             19.06% PETA                                  Paramount & PetSmart teaming up to promote Rango – encouraging impulse reptile purchase with a discount! Reply Y
                                                                                                                                 and we'll send msg for them to stop. <3 PETA
4/14/11                                        5,231               1,710            32.69% PETA                                  Animals mutilated & neglected in labs @ University of Texas! Reply Y & we'll send a msg to university president urging him
                                                                                                                                 to conduct investigation. <3 PETA
4/22/11                                       17,161               3,723            21.69% PETA                                  Help cats used in cruel training @ St. Louis Children's Hospital! Reply Y and we'll send a msg urging hospital officials 2 stop
                                                                                                                                 tormenting cats. Thanks! <3 PETA
5/11/11                                       17,630               4,608            26.14% PETA                                  PETCO refuses 2 stop selling toys made of real rabbit fur! Reply Y and we'll send a msg 2 PETCO urging them 2 ditch toys
                                                                                                                                 made of rabbit fur.<3PETA
6/23/11                                        4,959               1,166            23.51% PETA                                  Think sitting on an abused, electro-shocked elephant is no fun? Reply Y 2 ask San Diego County Fair organizers 2 suspend
                                                                                                                                 cruel elephant rides ASAP!
7/4/11                                        18,847               3,012            15.98% PETA                                  Happy July 4th! Celebrate this Independence Day by helping 2 free orcas. Reply Y 2 urge SeaWorld 2 release all their
                                                                                                                                 imprisoned animals into sanctuaries <3 PETA
7/11/11                                         266                  61             22.93% PETA     WI                           UW-Madison spends ur tax $ staging violent fights between lab animals 4 cruel experiments. As a WI resident, pls reply Y 2
                                                                                                                                 urge officials 2 cut funding! <3 PETA
8/17/11                                         246                  56             22.76% PETA     Rowan Co. NC                 The USDA has repeatedly cited Lazy 5 Ranch in Rowan County 4 failing 2 provide vet care for animals! Reply Y 2 urge
                                                                                                                                 Animal Control 2 investigate today. <3 PETA
8/23/11                                         201                  44             21.89% PETA     Glendale, CA/818 area code   Glendale City Council wants a circus-themed float @2012 Rose Parade. Reply Y 2 tell them an industry that beats
                                                                                                                                 elephants should NOT represent ur city! <3 PETA
8/25/11                                         114                  36             31.58% PETA     Denver/303 area code         A MCA Denver exhibit lets visitors take pigeons home, w/ hopes they r released+find their way back! Reply Y 2 urge
                                                                                                                                 museum 2 cancel exhibit + stick 2 art <3 PETA
9/2/11                                        19,442               4,027            20.71% PETA     Denver/303 area code         Whatcha up 2 on 9/12? That day, US Army will poison monkeys w/ chemicals 4 cruel training lab...even tho it violates
                                                                                                                                 policy! Reply Y 2 urge Army 2 stop <3 PETA
11/4/11                                       25,534               3,005            11.77% PETA                                  The EU may delay its 2013 deadline 2 ban ALL animal-tested cosmetics from Euro shops/web suppliers! Reply Y 2 urge the
                                                                                                                                 EU 2 keep deadline + save anmls! <3 PETA
12/19/11                VICTORY               26,104               2,868            10.99% PETA                                  Flying 4 the holidays? Ur plane's cargo may include primates en route 2 a lab! Reply Y 2 urge airlines 2 stop shipping
                                                                                                                                 primates 4 cruel experiments <3 PETA
1/11/12                                       20,905               3,423            16.37% PETA                                  Ukraine poisons, shoots, even burns homeless dogs alive 2 clear streets 4 Euro 2012 soccer championship. Reply Y 2 ask            Thanks 4 speaking up 4 dogs in Ukraine! Pls prevent animal homelessness: spay & neuter ur animal companions. Call 1-800-
                                                                                                                                 embassy 2 stop mass killings! <3 PETA                                                                                             248-SPAY 2 find a local low-cost clinic.
1/26/12                                       20,905               3,730            17.84% PETA                                  Starving dogs + cats are living in filthy HELL @ shelter in Mississippi! Reply Y to tell local officials 2 ensure animals get     Thanks 4 helping sick & starving cats & dogs in Clarksdale shelter! To help more animals in need, volunteer @ ur local
                                                                                                                                 water, food & medical help <3 PETA                                                                                                shelter. <3 PETA
3/1/12                                        21,432               3,611            16.85% PETA                                  Tell Avon, Mary Kay + Estée Lauder that u won't buy their products while they pay for tests on animals! Reply Y to let their      Thanks 4 telling Avon, Mary Kay, and Estee Lauder that you won't buy their products while they continue to pay for tests
                                                                                                                                 execs know now. <3 PETA                                                                                                           on animals! <3 PETA
3/9/12                                        21,508               3,653            16.98% PETA                                  It’s been a year since PETA investigation & cruel cat hoarder has NOT been charged! Reply Y to urge SC officials to file          Thanks for seeking justice for neglected cats! <3 PETA
                                                                                                                                 cruelty-to-animals charges NOW. <3 PETA
3/16/12                                       21,491               3,420            15.91% PETA                                  PETA investigation reveals calves burned 4 maker of Cabot Cheese. Reply Y 2 speak up 4 cows + ask CEO 2 improve animal            Thanks for speaking up for abused cows! <3 PETA
                                                                                                                                 welfare at suppliers. <3 PETA
3/22                                          27,423               2,633             9.60% PETA                                  The Canadian seal hunt has begun! Stand up for seals + Reply with the word PLEDGE to promise to tell 5 friends why it's           Thanks for pledging to tell 5 friends! Reply to this msg w/a comment about why the slaughter needs to end today! <3 PETA Thanks for speaking up for
                                                                                                                                 wrong to wear fur. <3 PETA                                                                                                                                                                                                                                 seals! <3 PETA
4/6/12                                        22,382               2,973            13.28% PETA                                  spk ^ 4 bunnies @easter! reply Y 2 ask pharmaceutical co.'s 2 end cruel tests on bunnies +switch 2 non-animal methods 4           Thanks for speaking up for bunnies! <3 PETA
                                                                                                                                 developing companion animal prods <3PETA
4/20/12                                       22,854               3,604            15.77% PETA                                  10,000 animals are mutilated/killed each yr in cruel military trauma training. Reply Y to tell the govt to use HUMANE             Thank you for all that you do for animals! <3 PETA
                                                                                                                                 options instead. Never be silent! <3 PETA
5/4/12                                        23,020               4,498            19.54% PETA                                  Canadian senators are considering a bill to END seal slaughter. Help it pass! Reply Y to let them know you support the bill.      Thanks for asking Canada to end the seal slaughter! <3 PETA
                                                                                                                                 <3 PETA
5/11/12                                       23,135               4,125            17.83% PETA                                  Reply Y to ask Horry County, SC officials to ban convicted hoarders from acquiring/possessing animals! No more victims!           Thanks for speaking up for Horry County animals! <3 PETA
                                                                                                                                 <3 PETA
5/25/12                                       23,378               4,438            18.98% PETA                                  Lonely lion, Diego, has been languishing in barren cage @ Mexican zoo for 2 yrs! Reply Y now to urge Mexican officials to         Thank you for asking Mexican officials to send Diego to a U.S. sanctuary! <3 PETA
                                                                                                                                 transfer him to U.S. sanctuary today! <3 PETA
5/31/12                                       23,405               4,111            17.56% PETA                                  Shriners support suffering! Reply Y to urge Shriners International to stop funding burn experiments on animals. <3 PETA           Thank you for asking Shriners International to stop funding the painful suffering of animals in medical labs. <3 PETA

6/14/12                                       23,627               4,211            17.82% PETA                                  Angel’s Gate is a HELLHOLE & deprives suffering animals of care. Reply Y 2 urge NY Attorney General 2 dissolve Angel’s            Ange's Gate has got 2 go! Thanks for seeking justice for suffering animals! <3 PETA
                                                                                                                                 Gate & save its victims. <3 PETA
6/21/12                 VICTORY               24,059               4,279            17.79% PETA                                  Urban Decay needs 2 MAKE UP their minds. Starting 2 sell in China means cruel tests on animals. Reply Y 2 tell them 2 go          Tnx 4 saying "no way" 2 Urban Decay. U can stay beautiful & cruelty free w/our Be Nice to Bunnies app: bit.ly/petabnb.
                                                                                                                                 cruelty free again. <3 PETA                                                                                                       (Also online @ bit.ly/donttest) <3 PETA
6/28/12                                       24,608               4,132            16.79% PETA                                  Plans 2 capture & imprison dolphins 4 FUN are underway! Reply Y 2 tell the chief minister of Maharashtra you don’t                Thanks for speaking out against illegal and unncessary imprisonment of marine animals! <3 PETA
                                                                                                                                 support this prison park. <3 PETA
7/5/12                                        24,638               4,193            17.02% PETA                                  Not everyone got 2 celebrate freedom yesterday. PETCO kills fish & their reef habitats. Reply Y to tell PETCO CEO to stop         Thanks 4 makin waves! This industry is responsible for annual capture of > 20 million fish per year. It's bad for animals and
                                                                                                                                 selling wild-caught animals. <3 PETA                                                                                              bad for their habitats. <3 PETA
7/12/12                                       24,877               3,892            15.64% PETA                                  This goat’s gonna freeze her tongue 2a flagpole if u don't help: bit.ly/goatpic. Reply Y 2 urge US military 2 stop killing        Thanks for helping goats! Here’s the full article on BuzzFeed: http://bit.ly/OqYGO8 <3 PETA
                                                                                                                                 animals 4 trauma training. <3 PETA
7/19/12                                       24,869               4,628            18.61% PETA                                  Reply Y 2 urge the USDA 2 take sick elephants OFF the road to protect public health! TB positive elephants were linked to         Thx 4 taking action! US Animal Hlth Assoc. has elephant TB guidelines. Til USDA adopts them, circuses will keep sick anmls
                                                                                                                                 TB in humans. <3 PETA                                                                                                             on the rd. so spread the wrd. <3 PETA
7/26/12                                       25,030               3,219            12.86% PETA                                  Give ur 2cents about 99 Cents Only stores selling glue traps. Reply Y 2ask them 2stop selling cruel products that can cause       Thanks for letting 99 Cents Only Stores know that bloody bargains aren't worth sticking to. <3 PETA
                                                                                                                                 rodents 2rip thmselvs apart! <3 PETA
                                                                                                               Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 40 of 66

Date Sent   Time Sent    Victory   # sent to            # replied           % responded      Group   Interest/Area                          Reply Y Text                                                                                                                      Thank U Text                                                                                                                  Additional Text
8/2/12                  VICTORY                25,225               5,085             20.16% PETA                                           Sunder is a 13yr old locked in chains, beaten & neglected. Reply Y to urge officials 2 rescue the young elephant from             Thank you for asking the Maharashtra Forest Minister to use his authority to rescue Sunder and send him to a sanctuary!
                                                                                                                                            Jyotiba Temple. <3 PETA                                                                                                           <3 PETA
8/9/12                                         25,334               4,191            16.54% PETA                                            A kit is not a kid! Reply Y to urge Madigan Army Medical Center to teach intubation on lifelike simulators instead of by          Thank you for speaking out against this archaic and cruel training! <3 PETA
                                                                                                                                            tormenting ferrets. <3 PETA
8/16/12                                        25,426               3,853            15.15% PETA                                             SeaWorld "Shamu Rocks", Orcas face xtra stress, forced 2do tricks w/BLARING music, causing fear &aggression. Reply Y             You rock for taking action to end "Shamu Rocks". Boycott SeaWorld &tell every1 u kno about the tiny tanks &cruel
                                                                                                                                            2urge SW prez 2end these shows. <3 PETA"                                                                                          conditions 4its marine prisoners. <3 PETA
8/23/12                                        25,472               3,436            13.49% PETA                                            Groupon Deal: Get 50% off beaten babies! DON’T buy Groupon & Reply Y to tell the company to stop selling promotions               Thanks for sending a message to Groupon! It's better to support discount companies that care about LIVING things. <3
                                                                                                                                            for cruel animal-based circuses. <3 PETA                                                                                          PETA
8/30/12                                        25,576               3,295            12.88% PETA                                            Ben the bear was rescued, but HUNDREDS of animals are still languishing at Jambbas in NC. Reply Y 2 urge the USDA 2               Thanks for telling the USDA that Roadside Zoos are not OK! <3 PETA
                                                                                                                                            revoke Jambbas' license immediately. <3 PETA
9/16/12                 VICTORY                10,018               2,877            28.72% PETA                                            UW-Madison experimenters deafen cats, implant coils in their eyes & drill their skulls. Reply Y 2urge the NIH 2cut funding        Thanks for taking action. Share this video to let others know about the horrible experiments at UW-Madison:
                                                                                                                                            4these cruel experiments. <3 PETA                                                                                                 http://bit.ly/QKvoAp <3 PETA
9/28/12                                        26,080               2,961            11.35% PETA                                            The "No Animals Harmed" disclaimer in TV/Movies isn't always tru. Reply Y 2urge American Humane Assoc. 2do their job              Thanks for telling the AMA to crack down on animal abusers in Hollywood!
                                                                                                                                            &stop the abuse&killing 4entrtnmnt. <3 PETA
10/11/12                                       26,309               5,283            20.08% PETA                                            Tomorrow turkeys may be thrown from an airplane 2 their deaths in Yellville, AR! Reply Y to tell the Yellville Mayor to           Thanks for telling the Yellville Mayor to do everything in his power to put an end to this cruel event once and for all. <3
                                                                                                                                            make sure it doesn't happen! <3 PETA                                                                                              PETA
10/23/12                                        7,928               2,178            27.47% PETA                                            Stop baby elephant beaters &puppy abusers in Rio Rancho, NM. Reply Y to urge the mayor & city council to uphold a law             Thanks for telling Rio Rancho, NM to keep animal abusers out! <3 PETA
                                                                                                                                            against Ringling &puppy mills. <3 PETA
11/30/12                                        7,242               1,740            24.03% PETA     Entertainment                          Horses, chickens, goats & sheep- all allegedly maimed or killed producing the Hobbit. Reply Y 2urge filmmakers 2use CGI           Thanks for telling Hobbit producers that animals are PRECIOUS and you won't stand for their mistreatment. <3 PETA
                                                                                                                                            animals in future films. <3 PETA
12/4/12                                         6,790               1,533            22.58% PETA     Companion Animals                      Today's the 20th anniversary of the 1st txt msg EVR! Let's celebr8 by using SMS 4action. Reply Y 2support Sen. Harb's Bill        Thanks for standing up for seals. SMS might mean text message, but to us it means Save More Seals! Txt you later. <3 PETA
                                                                                                                                            2end Canadian seal slaughter.
1/17/13                                         9,184               2,402            26.15% PETA     Vivisection                            Almost every airline in the world refuses to fly monkeys to labs for torture. Reply Y to tell Air France to join them. <3 PETA    Thank you for asking Air France to stop shipping monkeys to labs where they are cut into, poisoned and killed. <3 PETA

1/25/13                                        16,318               3,995            24.48% PETA     Companion Animals                    Animal ctrl officer Christopher Cerda allegedly beat a dog 2 death. Reply Y to urge Stamford officials to reassign Cerda b4         Thank you for asking Stamford officials to keep Cerda away from animals. Lives may depend upon this decision. <3 PETA
                                                                                                                                          he strikes again. <3 PETA
2/8/13      2:17pm ET                           5,633                981             17.42% PETA     Wildlife                             Remember when Bambi's mom died &EVERY1 cried? It's about 2happen on a mass scale in Rock Creek Nat’l Prk! Reply Y                   Thank you for asking the National Park Service to halt senseless deer slaughter! <3 PETA
                                                                                                                                          2urge officials not2 slaughter deer. <3 PETA
2/15/13     2:03pm ET                            569                 141             24.78% PETA     VA                                   Reply Y to this msg 2tell VA officials 2 ban fox & coyote penning (trapping these animals in enclosures until they’re mauled        Thanks for telling the Game and Inland Fisheries Dept that penning operations need to end. <3 PETA
                                                                                                                                          by dogs for sport). <3 PETA
2/22/13     2:17pm ET                           5,598               1,492            26.65% PETA     Skins                                Reply w/the letter Y to tell US Fish&Wildlife Srvce to keep grey wolves protected under the Endangered Species Act b4               Thanks for telling USFWS officials that wolves need protection to ensure their survival! <3 PETA
                                                                                                                                          they are hunted to extinction! <3 PETA
2/28/13     2:57pm ET                           4,974               1,705            34.28% PETA     Entertainment                        Reply w/the letter Y 2urge a Michigan HS 2cancel its cruel&dangerous donkey basketball games, where docile donkeys r                Thanks for asking school administrators to consider the welfare and safety of donkeys! <3 PETA
                                                                                                                                          whipped&forced 2carry heavy riders. <3 PETA
3/7/13      4:30pm ET                           4,071               2,080            51.09% PETA     Wildlife                             Reply Y to urge city officials in NM not to use poisons on prairie dogs that cause convulsions, vomiting, internal bleeding &
                                                                                                                                          an agonizing slow death. <3 PETA
3/14/13     2:30pm ET                          11,997               3,148            26.24% PETA     Veg                                  Reply Y 2urge California Pizza Kitchen 2req its cheese suppliers 2end dehorning, where baby cows r mutilated w/searing-             Thank you for speaking out against cruel dehorning. You can say no to dairy all together. Reply GOVEGAN to get weekly
                                                                                                                                          hot irons, chems, blades & saws. <3 PETA                                                                                            vegan recipes on your phone. <3 PETA
3/21/13     2:30pm ET                          23,756               4,884            20.56% PETA     Whole List                           Reply Y 2urge Kmart 2stop using wild animals in ads! Their recent commercial caused a captive shark HOURS of stress in a            TY 4taking action. W/animatronics and computer-generated imagery, there is no excuse for exploiting wild animals for
                                                                                                                                          tiny tank b4 the shark DIED. <3 PETA                                                                                                advertising! <3 PETA
3/29/13     3:00pm ET                          24,694               5,176            20.96% PETA     Whole List                           Reply Y to urge the AZ attorney general to put an end 2 cruel pigeon races, where the birds are flown through conditions            Thanks for speaking out for animals' lives against this cruel and believed illegal gambling activity. <3 PETA
                                                                                                                                          that result in violent deaths. <3 PETA
4/4/13      3:30pm ET                          24,576               5,646            22.97% PETA     Whole List                           Walmart suppliers keep mama pigs in crates SO tiny they get bloody wounds &can’t lay down, while they’re impregnated                Thanks for asking Walmart to ditch gestation crates. Want another way to help pigs? Remember that they're friends, not
                                                                                                                                          over&over. Reply Y 2urge CEO 2stop! <3 PETA                                                                                         food. :) <3 PETA
4/11/13     3:30pm ET                          24,464               5,605            22.91% PETA     Whole List                           There's blood on the ice! Reply Y to urge gov't officials to end the senseless seal slaughter! <3 PETA                              Thank you for helping seals! <3 PETA
4/26/13     3:30pm ET                          25,219               5,662            22.45% PETA     Whole List                           1K baby chicks were found DEAD @USPS. Many other animals r dropped, crushed, or left in xtreme temps. Reply Y 2urge                 Thanks for urging the USPS to ban the shipment of live animals! <3 PETA
                                                                                                                                          USPS 2ban live shipment of animals. <3 PETA
5/3/13      2:30pm ET   VICTORY                25,129               5,247            20.88% PETA     Whole List                           Philippine Airlines is 1 of the LAST airlines still shipping primates to labs to have holes DRILLED into their skulls! Reply Y to
                                                                                                                                          ask them to stop. <3 PETA
5/9/13      6:30pm ET                          25,331               5,576            22.01% PETA     Whole List                           Sea lions are being burned up and gunned down in Oregon! Reply Y to urge the Dept of Fish and Wildlife to stop branding
                                                                                                                                          & killing these gentle animals. <3 PETA
5/16/13     5:00pm ET                          25,405               5,122            20.16% PETA     Whole List                           Every yr, ~250K bulls are lanced in the back &neck, shot w/darts &stabbed to death!! Reply Y to urge the Spanish                    Thanks for speaking up! With Spain's rich culture, bullfighting does not need to be protected as a national passtime! <3
                                                                                                                                          ambassador to help end bullfighting. <3 PETA                                                                                        PETA
5/24/13     5:30pm ET                          25,170               5,349            21.25% PETA     Whole List                           WashU St.Louis shoves tubes down cats' throats in cruel trainings, causing pain and scars. Reply Y 2ask them 2use lifelike          Thanks for asking Washington University St. Louis to join the 1,000 other programs like it to use simulators instead of
                                                                                                                                          simulators instead. <3 PETA                                                                                                         torturing cats. <3 PETA
5/30/13     4:50pm ET                          25,224               6,226            24.68% PETA     Whole List                           Reply Y to ask FDA to accept non-animal tests which could save THOUSANDS of dogs, monkeys, rabbits &other animals                   Spread the word: 92 out of 100 drugs that pass crude animal tests fail or cause harm during human trials. There are way
                                                                                                                                          that suffer & die in labs. <3 PETA                                                                                                  more effective methods. <3 PETA
6/6/13      5:15pm                             25,134               6,262            24.91% PETA     Whole List                           Reply Y to urge Texan church not to use poisons that cause convulsions, vomiting, internal bleeding & an agonizing slow             Thanks for speaking up for prairie dogs, cats, dogs and other animals at risk from these deadly poisons. <3 PETA
                                                                                                                                          DEATH for local animals. <3 PETA
6/13/13     5:00pm ET                          25,988               5,914            22.76% PETA     Whole List                           Reply Y to urge venues hosting Shrine Circus 2cancel Hawthorn's act 4 reports of beating animals, like whipping tigers in           Thanks for speaking up for tigers and many other animals who are denied adequate nutrition, care, and freedom by
                                                                                                                                          the FACE & letting them bleed! <3 PETA                                                                                              Hawthorn Corp. <3 PETA
6/20/13     5:15pm ET                          26,110               6,024            23.07% PETA     Whole List                           Reply Y to urge a Michigan raceway to stop using traps, gruesomely killing groundhogs & other animals including recently            Thank you for speaking up against cruel trappings for the safety of groundhogs and other animals! <3 PETA
                                                                                                                                          CRUSHING a KITTEN. <3 PETA
6/27/13     5:30pm ET                          21,374               4,511            21.11% PETA     Whole List, minus certain area codes Reply Y to urge retiremene home in MD to let finches out of a glass box prison! They can't fly & are completely ignored,            Thank you for helping birds and the residents who have had to watch them suffer :(! <3 PETA
                                                                                                                                          denied clean food &basic care. <3 PETA
7/4/13      1:00pm ET                          26,213               5,485            20.92% PETA     Whole List                           Not everyone can celebrate independence today. Reply Y to tell VA community to humanely control geese, not have them
                                                                                                                                          nabbed and cruelly slaughtered. <3 PETA
7/12/13     6:15pm ET                          26,229               6,313            24.07% PETA     Whole List                           Reply Y to tell MS Dept of Ed that mother pigs who've been electro-shocked, jabbed & beaten before slaughter should                 Thanks for standing up for pigs! Taxpayer dollars should not support feeding children meat from miserable animals. <3
                                                                                                                                          NOT be fed to schoolchildren! <3 PETA                                                                                               PETA
7/18/13     6:15pm ET                          26,274               6,498            24.73% PETA     Whole List                           Reply Y to urge the Berlin Fair in MI 2 cancel rides w/ Nosey the elephant who's been chained, kept sick w/o vet care
                                                                                                                                          &dragged around for entertainment. <3 PETA
                                                                                                                Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 41 of 66

Date Sent    Time Sent    Victory   # sent to            # replied            % responded      Group   Interest/Area           Reply Y Text                                                                                                                         Thank U Text                                                                                                                           Additional Text
7/26/13      6:00pm ET                          26,403               5,805              21.99% PETA    Whole List              Reply Y to urge Merchandise Mart not to host dog shows. Dog breeding lets homeless pups languish & DIE while purebred
                                                                                                                               dogs also suffer w/genetic probs. <3 PETA
8/2/13       6:45pm ET                          26,465               6,736             25.45% PETA     Whole List              Reply Y to urge authorities 2send Mali the elephant to a sanctuary. Torn from home as a baby, she's lived in a barren,
                                                                                                                               concrete prison ALONE for 35 yrs! <3 PETA
8/8/2013     5:30pm ET                          26,500               6,314             23.83% PETA     Whole List              Reply Y to urge Miami Seaquarium to retire Lolita the Orca to a sanctuary! Ripped from the wild, she's been stuck in a tiny
                                                                                                                               tank alone for over 30 yrs! <3 PETA
8/15/2013    6:22pm ET    VICTORY               26,197               3,872             14.78% PETA     Whole List              VICTORY! Madigan Army Med Ctr stopped shoving plastic tubes dwn ferrets' throats 4intubation training! Reply Y 2get
                                                                                                                               Lackland AirForce Base 2join! <3 PETA
8/23/2013    5:45pm ET                          26,139               5,385             20.60% PETA     Whole List              Reply Y to urge Anchorman 2 producers to cut scenes @SeaWorld. There's nothing funny about SeaWorld, where orcas
                                                                                                                               are abused and imprisoned. <3 PETA
8/29/2013    5:30pm ET                          26,531               5,919             22.31% PETA     Whole List              Reply Y to tell Nevada prison not to use glue traps &poisons on squirrels that can cause vomiting, internal bleeding &slow,
                                                                                                                               agonizing deaths! <3 PETA
9/5/2013     5:30pm ET                          26,558               6,497             24.46% PETA     Whole List              Reply Y to tell the Toledo Area Humane Society to press charges against a handler whom witnesses reportedly saw
                                                                                                                               BEATING an elephant until she SCREAMED! <3 PETA
9/12/2013    5:00pm ET                          26,608               6,537             24.57% PETA     Whole list              Reply Y to tell Amtrak to stop promoting Ringling Bros. cruel circus, where baby elephants are tied up, beaten and forced            Thank you for speaking up! Countless other businesses have stopped offering promotions to circuses that use animals and
                                                                                                                               to do tricks. <3 PETA                                                                                                                Amtrak needs to join them. <3 PETA
9/19/2013    5:30pm ET                          23,996               6,537             27.24% PETA     Whole List              Reply Y to tell the NFL to stop funding sports injury experiments where dogs are injured &killed & rats have their heads             The NFL can use more humane methods to figure out how to best treat sports injuries without inflicting pain on animals! <3
                                                                                                                               bashed in with weights! <3 PETA                                                                                                      PETA
10/1/2013    5:50pm ET                          24,037               6,098             25.37% PETA     Whole List              Reply Y to tell Linda Bean to stop ripping live, conscious lobsters and crabs apart & switch to a less cruel slaughter method
                                                                                                                               instead! <3 PETA
10/4/2013    6:40pm ET                          24,011               6,172             25.70% PETA     Whole List              Reply Y to tell Michigan real estate co. to ditch their plans to put sharks in new nightclub with blaring loud music as early
                                                                                                                               as next week! <3 PETA
10/10/2013   6:15pm ET                          24,055               6,175             25.67% PETA     Whole List              Reply Y to ask Macy's to cancel the SeaWorld float planned for the Macy's Thanksgiving Day Parade! SeaWorld abuses
                                                                                                                               animals & shouldn't be celebrated! <3 PETA
10/17/2013   5:30pm ET                          24,041               5,816             24.19% PETA     Whole List              Reply Y NOW to urge Soria, Spain officials to finally ban the sick, archaic event of Toro Jubilo in which bulls are tortured
                                                                                                                               with fire and then eaten! <3 PETA
10/24/2013   5:30pm ET                          24,038               5,256             21.87% PETA     Whole List              Reply Y to tell Tourn. of Roses Assoc. that a SeaWorld float is NOT welcome @ Rose Parade! SeaWorld imprisons/abuses                 Life at SeaWorld is anything but a bed of roses for intelligent marine animals. Thanks for speaking up today! <3 PETA
                                                                                                                               animals + shouldn't be celebrated! <3 PETA
10/31/2013   5:30pm ET                          24,057               4,830             20.08% PETA     Whole List              Instagramming selfies w/ ur companion animal is cute. Instagram allowing the sale of live animals is NOT! Reply Y 2 tell             Thanks for asking Instagram to institute a ban on the sale of live animals! <3 PETA
                                                                                                                               Instagram 2 change policy NOW! <3 PETA
11/7/2013    6:00pm ET                          24,120               5,368             22.26% PETA     Whole List              Reply Y to tell South Beach Psychiatric Center in Staten Island NOT to carry out plans to MASSACRE wild turkeys! Ask that            Thank you for making your voice heard by asking officials to halt plans to have feral turkeys captured and slaughtered. <3
                                                                                                                               they send 2 sanctuary instead! <3 PETA                                                                                               PETA
11/15/2013   5:30pm ET                          24,095                  42              0.17% PETA     Whole List              Reply Y to tell the FDA to STOP testing on animals! 92 out of every 100 drugs that pass crude animal tests fail or cause             Thank you for making your voice heard by asking the US Food and Drug Administration to prohibit painful toxicity tests on
                                                                                                                               harm in human clinical trials! <3 PETA                                                                                               animals. <3 PETA
11/21/2013   6:45pm ET                          24,099               5,615             23.30% PETA     Whole List              Reply Y to help a distressed chimp who appeared on last night's episode of Chelsea Lately. He's being featured again                 Thank You for Asking 'Chelsea Lately' to Stop Exploiting Apes! <3 PETA
                                                                                                                               tonight &segment should be canceled! <3PETA
12/5/2013    5:30pm ET                          24,193               5,067             20.94% PETA     Whole List              Reply Y to urge feds to cut funding for sex experiments on animals! The tests are cruel, stupid, and a waste of money! <3            Thank you for speaking out against bizarre sex experiments on animals! <3 PETA

12/12/2013   5:45pm ET                          19,370               3,499             18.06% PETA     exclude NJ area codes   Reply Y to urge New Jersey officials to stop bowhunts in state parks! It's a cruel and ineffective way to control deer               Thank you for speaking up for deer in New Jersey! <3 PETA
                                                                                                                               populations. <3 PETA
12/30/2013   5:30pm ET                          19,741               4,366             22.12% PETA     exclude peta2           Reply Y to urge Groupon to terminate discount deals with SeaWorld today! A partnership with this abusement park is very bad          Thank you for taking action! SeaWorld is responsible for denying marine mammals everything that is natural and important to them. <3
                                                                                                                               business. <3 PETA                                                                                                                    PETA



1/10/2014    6:00pm ET    VICTORY               24,647               5,689             23.08% PETA     Whole List              Reply Y 2 urge Southwest Airlines 2 ditch its partnership w/ SeaWorld & 2 drop all promotions NOW! They tear families                Thank you for lending your voice to the imprisoned marine animals at SeaWorld! <3 PETA
                                                                                                                               apart & shouldn’t be celebrated. <3 PETA
1/17/2014    7:30pm ET                          24,776               5,904             23.83% PETA     Whole List              Reply Y to urge British Columbia officials 2 halt plan 2 kill deer w/hideously cruel clover traps! Humane, tried-and-true            Thanks for speaking up for deer! <3 PETA
                                                                                                                               deer mgmt options r available! <3 PETA
1/23/2014    6:15pm ET                          24,853               5,850             23.54% PETA     Whole List              Reply Y to tell grocery chain Ralphs to stop promoting and supporting SeaWorld! They are offering di$counted tickets to              Thanks for contacting Ralphs and speaking up for the imprisoned marine animals at SeaWorld! <3 PETA
                                                                                                                               the abusement park! <3 PETA
1/31/2014    6:30pm ET                          25,002   **Oops! Sent Thank                   PETA     Whole List              Reply Y to tell Animal Planet to cancel ‘Call of the Wildman’. It’s a scripted show that routinely puts animals in danger! <3        Thank you for telling Animal Planet animals aren’t ours to use for entertainment! <3 PETA
                                                         U & Caused
                                                         Everyone to take
                                                                                                                               PETA
                                                         Action**
2/6/2014     6:00pm ET    VICTORY               25,125               6,609             26.30% PETA     Whole List              Reply Y to help suffering elephant Nosey! A Florida venue plans to host elephant rides on her THIS wknd - ask them to             Thank U for telling International World Market in Auburndale, FL that suffering elephant Nosey should not be forced to give
                                                                                                                               cancel immediately! <3 PETA                                                                                                       rides! <3 PETA
2/14/2014    5:30pm ET                          25,133               6,152             24.48% PETA     Whole List              Reply Y to help suffering elephant Nosey AGAIN! Now, a Florida winery plans to host elephant rides on her THIS wknd - ask Thank YOU for showing Nosey <3 on Valentine's Day! <3 PETA
                                                                                                                               them to cancel immediately! <3 PETA
2/21/2014    6:15pm ET                          25,166               5,991             23.81% PETA     Whole List              Reply Y to urge Travel Show 2 cancel the cruel SeaWorld Exhibit using live, frightened animals planned for this weekend @Travel & Thank you for speaking up for sea life and taking a stand against SeaWorld! <3 PETA
                                                                                                                               Adventure Show in DC! <3 PETA
2/28/2014    6:05pm ET                          25,226               5,512             21.85% PETA     Whole List              Reply Y to tell Little Everglades Ranch 2 ditch plans for irresponsible + inhumane bull run! These events R dangerous for humans +   Thank you for speaking up for animals used for entertainment! <3 PETA
                                                                                                                               terrifying 4 animals. <3 PETA
3/7/2014     5:30pm ET                          25,283               6,171             24.41% PETA     Whole List              Reply Y 2 urge feds 2 cut funding 4 experiments on monkeys @ UC-San Francisco! No more tax $ funding cruelty 2 animals! <3 PETA

3/13/2014    5:30pm ET                          25,300               6,186             24.45% PETA     Whole List              Reply Y to urge Bindi Irwin to cut all ties with SeaWorld! SeaWorld is a prison for animals who deserve to live free. <3 PETA

3/21/2014    5:45pm ET                          25,436               5,864             23.05% PETA     Whole List              Reply Y to urge Caesars Entertainment to take big cats out of their “Wild Magic” show! Big cats belong in the wild &                 Thank you for urging Caesars to cancel cruel big cat magic act! <3 PETA
                                                                                                                               shouldn’t be performing in casinos. <3 PETA
3/27/2014    5:30pm ET                          25,550               6,429             25.16% PETA     Whole List              Reply Y to ask Circus World 2 cancel the cruel + antiquated elephant act they have planned! The greatest shows on earth
                                                                                                                               R those where no animals suffer! <3 PETA
4/3/2014     5:03 PM ET                         25,607               6,479             25.30% PETA     Whole List              Reply Y 2 urge Cornell University 2 stop killing deer! They r using cruel traps that terrify deer + there r non-lethal humane
                                                                                                                               control methods available. <3 PETA
4/10/2014    5:30 PM ET                         25,593               6,287             24.57% PETA     Whole List              Reply Y to urge Los Angeles department store, Curacao, to cancel plans for elephant rides this weekend! Elephant rides = cruel AND
                                                                                                                               dangerous. <3 PETA
                                                                                                                Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 42 of 66

Date Sent    Time Sent    Victory   # sent to            # replied           % responded      Group   Interest/Area                             Reply Y Text                                                                                                                                Thank U Text                                                                                                               Additional Text
4/17/2014    5:48 PM ET                         25,639               6,708             26.16% PETA    Whole List                                Reply Y to urge Canadian officials 2 bring the commercial seal slaughter 2 an end by supporting govt buyout so baby seals                   Thank you for helping baby seals! <3 PETA
                                                                                                                                                can live 2 see another spring! <3 PETA
4/24/2014    5:30 PM ET                         25,712               6,718            26.13% PETA     Whole List                                Reply Y to help suffering elephant Nosey become free once + 4 all! Urge Fl. Fish+Wildlife Conservation Comm. 2 revoke                       Thank you for speaking up for Nosey! <3 PETA
                                                                                                                                                license of the man abusing her! <3 PETA
5/1/2014     5:30 PM ET   VICTORY               25,843               6,209            24.03% PETA     Whole List                                Reply Y to ask Finards Properties Malls 2 end contract w/ Pocket Pets! They sell sugar gliders--tiny animals bred N hellish                 Thank you for speaking up for sugar gliders! <3 PETA
                                                                                                                                                mills+forced 2 live in cages! <3 PETA
5/8/2014     5:30 PM ET                         25,961               6,852            26.39% PETA     Whole List                                Reply Y to help Mali the elephant! She was stolen from her home 35 years ago + kept prisoner at a zoo. Urge authorities 2                   Thank you for speaking up for Mali! <3 PETA
                                                                                                                                                transfer her 2 a sanctuary! <3 PETA
5/15/2014    5:30 PM ET                         26,018               6,337            24.36% PETA     Whole List                                Reply Y to tell Groupon 2 stop partnering w/ animal abusers! Urge them 2 cancel promotions w/ SeaWorld + Ringling Bros.                     Thank you for speaking up for animals used for entertainment! <3 PETA
                                                                                                                                                and 2 never promote them again. <3 PETA
5/22/2014    4:30 PM ET                         26,104               6,505            24.92% PETA     Whole List                                Reply Y to urge Arrowhead Research to STOP funding painful and needless experiments on chimpanzees. <3 PETA                                 Thank you for speaking up for chimpanzees used in experiments! <3 PETA
5/29/2014    6:30 PM ET                         26,157               6,374            24.37% PETA     Whole List                                Reply Y to tell venues in CA, MN, IL + PA 2 ditch plans 4 irresponsible+inhumane bull runs scheduled 4 summer! These                        Thank you for speaking up for animals used for entertainment! <3 PETA
                                                                                                                                                events R dangerous 4 humans+animals. <3PETA
6/5/2014     5:30 PM ET                         26,234               6,909            26.34% PETA     Whole List                                Reply Y to speak out for geese who are going to be slaughtered in Lakeville, MN in cruel + ineffective goose control                        Thank you for speaking out for geese and their babies! <3 PETA
                                                                                                                                                measures. <3 PETA
6/12/2014    5:30 PM ET                         26,307               6,636            25.23% PETA     Whole List                                Reply Y to urge Miami Seaquarium to help Lolita, an orca ripped from her family + held prisoner since 1970, and release                     Thank you for speaking out for the majestic orca, Lolita! <3 PETA
                                                                                                                                                her into ocean sanctuary ASAP. <3 PETA
6/19/2014    5:30 PM ET                         26,383               7,013            26.58% PETA     Whole List                                Reply Y to help end cruel tobacco tests on animals @ RJ Reynolds + Philip Morris Intl. We already know smoking is bad 4 u!                  Thank you for speaking out for animals used in cruel + useless tobacco tests! <3 PETA
                                                                                                                                                What gives?! <3 PETA
6/26/2014    5:30 PM ET                         21,496               5,229            24.33% PETA     Whole List; group != 82524                Reply Y to tell the USDA more inspections, not less! With PETA's latest undercover report we expose the EXTREME neglect                     Thank you for speaking out for pigs neglected on factory farms! <3 PETA
                                                                                                                                                suffered by pigs. <3 PETA
7/3/2014     5:30 PM ET                         26,516               7,063            26.64% PETA     Whole List                                URGENT: Reply Y to tell Shelby Co Fair in Indiana not to use the neglected elephant Nosey for elephant rides this wknd!                     Thank you for taking action for the suffering elephant Nosey! <3 PETA
                                                                                                                                                Urge them 2 cancel TODAY! <3 PETA
7/10/2014    5:30 PM ET                         21,595               5,017            23.23% PETA     Whole List                                Reply Y to urge JCrew + Ralph Lauren 2end sale of wool! On sheep farms in US + Australia sheep are thrown, stomped on +                     Thank you for urging J Crew + Ralph Lauren to end sale of wool! Spend your $ elsewhere with our helpful cruelty-free
                                                                                                                                                killed! Still want that sweater? <3 PETA                                                                                                    shopping guide: http://peta.vg/1goa <3 PETA
7/17/2014    5:30 PM ET                         26,716               7,336            27.46% PETA     Whole List                                Reply Y to tell Avon, Mary Kay, Estee Lauder + Revlon u want them back on PETA's Cruelty-Free company list. Urge them 2                     Thank you for taking action 4 animals used in cruel + useless experiments! Get more info on cruelty-free cosmetic
                                                                                                                                                stop supporting animal testing. <3 PETA                                                                                                     companies here: http://peta.vg/1gok <3 PETA
7/24/2014    5:30 PM ET                         25,975               7,001            26.95% PETA     Whole List; areacode nin 617, 857,        Reply Y to tell Princeton to retire monkeys in tax-funded lab! Staff were caught stuffing a monkey into a plastic ball and                  Thank you for speaking up for abused monkeys! Get your friends to take action too, copy/paste this link:
                                                                                                      339, 781, 925, 408, 510, 650, 480,        rolling it around for fun. <3 PETA                                                                                                          http://peta.vg/1gxd and forward to your friends. <3 PETA
                                                                                                      602, 623
7/31/2014    6:00 PM ET                         27,160               6,525            24.02% PETA     Whole List                           Reply Y to tell the DC Area Transit Authority to ditch cruel + lethal glue traps! Animals, not only mice, die an agonizing +                     Thank you for taking action for animals that die in glue traps! <3 PETA
                                                                                                                                           horrifying death. <3 PETA
8/6/2014     5:30 PM ET   VICTORY               27,245               6,877            25.24% PETA     Whole List                           Reply Y to urge city of Honolulu not to allow Moscow Intl Circus 2 perform w/animals! Wild cats weren't meant 2 jump                             Thanks for helping abused animals like Tyke, the elephant. She was shot 86 times after escaping a Honolulu circus. Share
                                                                                                                                           thru fire + perform cruel tricks. <3 PETA                                                                                                        her story: http://peta.vg/1h54 <3 PETA
8/14/2014    5:30 PM ET                         27,206               5,861            21.54% PETA     Whole List                           Reply Y to urge the Martha's Vineyard Fair to drop a cruel lemur racing act from its lineup. Lemurs are an endangered                            Thank you for taking action to prevent the exploitation of endangered species like the lemur! <3 PETA
                                                                                                                                           species + don't belong @ fairs! <3 PETA
8/21/2014    5:30 PM ET                         27,341               6,134            22.44% PETA     Whole List                           Reply Y to urge Carmike Cinemas to ban wild animals from its theatres! Often these animals, such as chimps, are torn from                        Thank you for speaking up for animals used in entertainment! Reply PERFORM to learn more. <3 PETA
                                                                                                                                           family + beaten N2 submission. <3 PETA
8/28/2014    5:30 PM ET                         27,400               7,077            25.83% PETA     Whole List                           Reply Y to urge Louisiana to enact stricter regulations that protect wild animals from imprisonment + abuse at notorious                         Thank you for taking action for imprisoned wildlife in Louisiana! <3 PETA
                                                                                                                                           private roadside zoos! <3 PETA
9/4/2014     5:30 PM ET                         27,401               7,495            27.35% PETA     Whole List                           Reply Y to tell US to stop torturing + killing 1000s of animals in military training drills! Superior non-animal methods exist +                 Thank you for speaking up for animals who are tortured and killed in completely unnecessary tests! <3 PETA
                                                                                                                                           are used by many allies. <3PETA
9/11/2014    5:30 PM ET                         27,184               7,213            26.53% PETA     Whole List                           Reply Y to urge the NIH to end traumatic experiments on baby monkeys! They are using YOUR tax $ on cruel + completely                            Thank you for taking action for tortured + abused monkeys! <3 PETA
                                                                                                                                           irrelevant tests! <3 PETA
9/18/2014    5:30 PM ET                         27,280               6,906            25.32% PETA     Whole List                           Reply Y to tell LivingSocial to stop partnering with animal abusers! Urge them to cancel promotions with Ringling Bros and                       Thank you for taking action for animals beaten and imprisoned by Ringling Bros! <3 PETA
                                                                                                                                           never promote again! <3 PETA
9/25/2014    6:30 PM ET                          2,253                967             42.92% PETA     MMS (interest = 1244;interest =      URGENT: Reply Y to help Nosey! PETA is meeting w/the USDA on Sept 29 to fight for her release. Urge the USDA to                                  Thank you for speaking out for Nosey the elephant and helping fight for her retirement! <3 PETA
                                                                                                      1246;interest = 1248;interest = 1321 confiscate her from her abusive owner NOW! <3 PETA
                                                                                                      )
9/26/2014    5:30 PM ET                         18,391               3,759            20.44% PETA     SMS (interest != 1244;interest !=    URGENT: Reply Y to help Nosey! PETA is meeting w/the USDA on Sept 29 to fight for her release. Urge the USDA to                                  Thank you for speaking out for Nosey the elephant and helping fight for her retirement! <3 PETA
                                                                                                      1246;interest != 1248;interest !=    confiscate her from her abusive owner NOW! <3 PETA
                                                                                                      1321)
10/2/2014    5:30 PM ET                         27,770               7,371            26.54% PETA     Whole List (90% SMS + 10% MMS)       Reply Y to help orcas suffering @ SeaWorld! Tell Sir Branson + the Virgin Airlines Group to cancel their partnership with                        Thank you for taking action for orcas + speaking out against SeaWorld! <3 PETA
                                                                                                                                           the abusement park NOW! <3 PETA
10/9/2014    5:30 PM ET                         27,857               8,051            28.90% PETA     Whole List                           Reply Y to urge officials in Spain to cancel their sadistic Toro Jubilo festival NOW! Bulls are being covered in tar, set on fire + killed. <3   Thank you for speaking out for bulls! <3 PETA
                                                                                                                                                PETA
10/16/2014   5:30 PM ET                         27,940               7,122            25.49% PETA     Whole List                                Reply Y to tell St Thomas Episcopal Church in Huntsville to cancel its cruel fundraiser in which 2,500 lobsters are set to be
                                                                                                                                                boiled alive! <3 PETA
10/24/2014   5:30 PM ET                         28,009               7,344            26.22% PETA     Whole List                                Reply Y to help sea lions in Georgia! Fair organizers are planning a cruel exhibit that exploits these marine mammals AND
                                                                                                                                                puts humans at risk. <3 PETA
10/30/2014   5:30 PM ET                         28,020               7,571            27.02% PETA     Whole List                                Reply Y to help orcas suffering @ SeaWorld! Tell AAA insurance to cancel their partnership now! <3 PETA
11/10/2014   5:40 PM ET   VICTORY               28,282               7,740            27.37% PETA     Whole List                                Reply Y to help 100K+ animals about to be killed in a cruel festival! Tell officials in Nepal to cancel the animal sacrifices @ Thank you for taking action and showing love for animals! <3 PETA
                                                                                                                                                Gadhimai Festival NOW! <3 PETA
11/13/2014   5:30 PM ET                         23,023               5,962            25.90% PETA     Exclude Group 82524                       Reply Y to tell retailer BCBG to drop cruel angora + fur from their stores now. Animals need their fur, humans don't! <3
                                                                                                                                                PETA
11/20/2014   5:30 PM ET                         28,478               7,790            27.35% PETA     Whole List                                Reply Y to urge Macy's to drop the shameful SeaWorld float from this year's Thanksgiving Day Parade. Cruelty shouldn't be
                                                                                                                                                celebrated! <3 PETA
11/26/2014   5:30 PM ET                         28,490               7,410            26.01% PETA     Whole List                                Reply Y to help give Nosey a HappyThanksgiving! She is being forced to give rides, urge the USDA to confiscate her now!
                                                                                                                                                <3 PETA
12/4/2014    5:30 PM ET                         28,501               7,572            26.57% PETA     Whole List                                Reply Y to help camels, llamas and sheep who are being caged, trucked, scared and neglected all in the name of
                                                                                                                                                entertainment @ Madision Square Garden. <3 PETA
                                                                                                                 Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 43 of 66

Date Sent    Time Sent    Victory   # sent to            # replied           % responded      Group   Interest/Area                  Reply Y Text                                                                                                                 Thank U Text                                                                              Additional Text
12/11/2014   5:30 PM ET                         28,841               7,946             27.55% PETA    Whole List                     Reply Y to help 1000s of animals who are in danger at Willards Rodent Farm, a filthy breeding warehouse in Colorado.
                                                                                                                                     Urge officials to seize them now! <3 PETA
12/18/2014   5:30 PM ET                         29,110               7,941            27.28% PETA     Whole List                     Reply Y to help 35 baby elephants who were captured in Zimbabwe and will now be exported to zoos. Urge Zimbabwe
                                                                                                                                     officials 2 rehab and release them now! <3 PETA
12/23/2014   5:30 PM ET                         29,123               7,813            26.83% PETA     Whole List                     Reply Y to urge Gap to quit selling fur at INTERMIX! Foxes, raccoons, minks, coyotes, and other animals should never be
                                                                                                                                     skinned alive for fashion. <3 PETA


1/2/2015     5:30 PM ET                         28,454               7,233            25.42% PETA     Exclude mGive, Interest 1321   Reply Y to tell Animal Planet to stop passing animal abuse off as entertainment! Urge them to cancel the cruel show "Wild
                                                                                                                                     West Alaska" now! <3 PETA
1/8/2015     6:00 PM ET                         29,403               7,699            26.18% PETA     Whole List                     Reply Y to urge Miami Seaquarium to help Lolita, an orca ripped from her family + held prisoner since 1970, and release
                                                                                                                                     her into ocean sanctuary ASAP. <3 PETA
1/15/2015    5:30 PM ET                         29,550               8,330            28.19% PETA     Whole List                     URGENT: Reply Y to tell Mexican officials to enforce the ban on torturing bulls @ Fiesta de la Virgen de la Candelaria. Bulls
                                                                                                                                     will be beaten + stabbed! <3 PETA
1/22/2015    5:30 PM ET                         25,206               6,415            25.45% PETA     85% Whole List                 Reply Y to tell BCBG to stop supporting the cruel fur industry and ban the sale of fur and angora from its stores NOW!          Thank you NAME for taking action and speaking up for animals killed for fur! <3 PETA
                                                                                                                                     Animal's lives depend on it! <3 PETA
1/22/2015    5:30 PM ET                          4,448               1,512            33.99% PETA     15% Whole List                 Reply Y to tell BCBG to stop supporting the cruel fur industry and ban the sale of fur and angora from its stores NOW!          Thank you NAME for taking action and speaking up for animals killed for fur! <3 PETA
                                                                                                                                     Animal's lives depend on it! <3 PETA
1/29/2015    5:30 PM ET                         23,834               6,412            26.90% PETA     80% Whole List                 Reply Y to urge the USDA to stop funding cruel Meat Animal Research Center. Pigs, cows + sheep are bred w/deformities +
                                                                                                                                     many left to die in bad weather. <3 PETA
1/29/2015    5:30 PM ET                          5,959               1,657            27.81% PETA     20% Whole List                 Reply Y to urge the USDA to stop funding cruel Meat Animal Research Center. Pigs, cows + sheep are bred w/deformities +
                                                                                                                                     many left to die in bad weather. <3 PETA
2/5/2015     5:30 PM ET                         29,878               7,348            24.59% PETA     Whole List                     Reply Y to urge musicians Lecrae + Dixon to show love for orcas and cancel a planned concert @ SeaWorld Orlando!
                                                                                                                                     Dozens of artists have done the same. <3 PETA
2/12/2015    5:30 PM ET                         30,012               7,817            26.05% PETA     Whole List                     Reply Y to urge officials in AZ to stop sedating ducks, tearing them away from their home + causing some to drown.
                                                                                                                                     Humane alternatives exist! <3 PETA
2/19/2015    5:30 PM ET                         30,085               8,235            27.37% PETA     Whole List                     Reply Y to demand UniverSoul Circus drop cruel elephant acts from its performances now! They've been cited AGAIN for
                                                                                                                                     cruelty to elephants. <3 PETA
2/26/2015    5:30 PM ET                         30,119               8,289            27.52% PETA     Whole List                     URGENT: Reply Y to urge the Seattle Mayor to insist the zoo send its last 2 elephants, Chai + Bamboo, to a sanctuary
                                                                                                                                     instead of another cruel zoo. <3 PETA
3/5/2015     5:30 PM ET                         22,552               5,692            25.24% PETA     SMS Whole List                 Reply Y to ask Ringling Bros 2 drop cruel elephant acts NOW - not in 3 years! Suffering elephants shouldn't endure
                                                                                                                                     anymore pain. <3 PETA
3/5/2015     5:30 PM ET                          7,518               2,556            34.00% PETA     MMS Whole List                 Reply Y to ask Ringling Bros 2 drop cruel elephant acts NOW - not in 3 years! Suffering elephants shouldn't endure
                                                                                                                                     anymore pain. <3 PETA
3/12/2015    5:30 PM ET                         24,013               6,375            26.55% PETA     SMS Whole List                 Reply Y to demand Lululemon, a yoga apparel company, ditch cruel down! Birds used 4 down often have feathers plucked
                                                                                                                                     so violently they're left w/wounds. <3 PETA
3/12/2015    5:30 PM ET                          6,003               1,707            28.44% PETA     MMS Whole List                 Reply Y to demand Lululemon, a yoga apparel company, ditch cruel down! Birds used 4 down often have feathers plucked
                                                                                                                                     so violently they're left w/wounds. <3 PETA
3/19/2015    5:30 PM ET                         29,992               7,901            26.34% PETA     Whole List                     Reply Y to urge Indian officials to maintain the ban on jallikattu - a cruel festival in which bulls are chased, punched + even
                                                                                                                                     stabbed. <3 PETA
3/26/2015    6:30 PM ET                         29,920               8,088            27.03% PETA     Whole List                     Reply Y to tell Oregon Dept. of Fish + Wildlife to stop branding and killing sea lions, leaving them trembling in shock and
                                                                                                                                     pain. <3 PETA
4/2/2015     5:30 PM ET                         29,869               8,158            27.31% PETA     Whole List                     Reply Y to urge Circus World 2 drop cruel elephant acts! Exhibitors there have been caught attacking elephants
                                                                                                                                     w/bullhooks + electric prods. <3 PETA
4/9/2015     5:30 PM ET                         29,825               8,037            26.95% PETA     Whole List                     Reply Y to urge officials to shut down Indonesia's 'Zoo of Death'! Animals are imprisoned in tiny, trash-littered + barren
                                                                                                                                     cages 24/7. <3 PETA
4/16/2015    5:30 PM ET                         29,773               7,743            26.01% PETA     Whole List                     Reply Y to help imprisoned bears! Urge the USDA to adopt stronger protections that ensure the bear's physical +
                                                                                                                                     psychological well-being. <3 PETA
4/23/2015    5:30 PM ET                         23,786               6,384            26.84% PETA     SMS Whole List                 Reply Y to demand the NIH to end traumatic experiments on baby monkeys. They are using YOUR tax $ on cruel +
                                                                                                                                     completely irrelevant tests! <3 PETA
4/23/2015    5:30 PM ET                          5,947               1,631            27.42% PETA     MMS Whole List                 Reply Y to demand the NIH to end traumatic experiments on baby monkeys. They are using YOUR tax $ on cruel +
                                                                                                                                     completely irrelevant tests! <3 PETA
4/30/2015    5:30 PM ET                         29,673               7,880            26.56% PETA     Whole List                     Reply Y to demand Northeastern University stop cruel experiments on hamsters! They are injecting them w/steroids +
                                                                                                                                     forcing them to fight. <3 PETA
5/7/2015     5:30 PM ET   VICTORY               29,627               8,622            29.10% PETA     Whole List                     Reply Y to save pigs from a cruel pig wrestling event @ an Indiana county fair! Pigs are chased, tackled and even slammed
                                                                                                                                     through tires - all for show. <3 PETA
5/14/2015    5:30 PM ET                         20,700           5,101                24.64% PETA     SMS List                       Reply Y to urge Oklahoma City school officials 2 investigate a cruel video showing heartless kids dancing w/dead cats + ask
                                                                                                                                     the school 2 end dissection! <3 PETA
5/14/2015    5:30 PM ET                          8,872           2,322                26.17% PETA     MMS List                       Reply Y to urge Oklahoma City school officials 2 investigate a cruel video showing heartless kids dancing w/dead cats + ask
                                                                                                                                     the school 2 end dissection! <3 PETA
5/21/2015    5:30 PM ET                         29,535               7,793            26.39% PETA     Whole List                     Reply Y to help us push 2 get lonely orca Lolita 2 a sanctuary! She's been imprisoned for 44yrs but now has protection
                                                                                                                                     under the Endangered Species Act. <3 PETA
5/28/2015    5:30 PM ET                         29,503               7,904            26.79% PETA     Whole List                     Reply Y to urge NC Governor to veto HB405 - a bill that penalizes those who expose violence towards animals used in
                                                                                                                                     factory farms + other facilities. <3 PETA
6/4/2015     5:30 PM ET                         29,482               8,022            27.21% PETA     Whole List                     Reply Y to stop primates from being terrorized, neglected + even dying @ Primate Products, Inc. Tell officials 2 shut down
                                                                                                                                     the cruel primate dealer now! <3 PETA
6/11/2015    5:30 PM ET                         30,617               8,177            26.71% PETA     Whole List                     Reply Y to help get another cruel pig wrestling event canceled! We had a victory in Indiana, now let's help pigs in
                                                                                                                                     Wyoming from being chased + tackled. <3 PETA
6/18/2015    5:30 PM ET                         24,767               6,475            26.14% PETA     SMS List                       Reply Y to tell the USDA 2 enact new rules + protect captive bears! Bears are often kept in barren pits + deprived of
                                                                                                                                     everything that is natural 2 them. <3 PETA
6/18/2015    5:30 PM ET                          6,192               1,734            28.02% PETA     MMS List                       Reply Y to tell the USDA 2 enact new rules + protect captive bears! Bears are often kept in barren pits + deprived of
                                                                                                                                     everything that is natural 2 them. <3 PETA
                                                                                                                 Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 44 of 66

Date Sent    Time Sent    Victory   # sent to            # replied           % responded      Group   Interest/Area               Reply Y Text                                                                                                                    Thank U Text   Additional Text
6/23/2015    5:30 PM ET                         31,125               9,618             30.90% PETA    Whole List                  Reply Y to help dogs in China who are cruelly clubbed + have their skins turned into leather shoes, gloves, belts and more!
                                                                                                                                  Pledge to never buy leather! <3 PETA
6/25/2015    5:30 PM ET                         31,168               8,907            28.58% PETA     Whole List                  Reply Y to tell luxury brand Hermes 2 stop selling items from crocodiles + alligators, incl some who were hacked to death
                                                                                                                                  while struggling 2 get away! <3 PETA
7/2/2015     5:30 PM ET                         31,344               8,222            26.23% PETA     Whole List                  Reply Y to tell Dubai officials that animals don't belong in tiny tanks for our amusement. Urge them to keep SeaWorld out
                                                                                                                                  of Dubai! <3 PETA
7/9/2015     5:30 PM ET                         31,452               8,476            26.95% PETA     Whole List                  Reply Y to urge fair organizers in Ohio to cancel the elephant Nosey's appearance! She suffers from painful arthritis yet is
                                                                                                                                  forced 2 give cruel rides! <3 PETA
7/16/2015    5:30 PM ET                         31,431               8,461            26.92% PETA     Whole List                  Reply Y to help orcas by stopping SeaWorld's plans to build another abusement park in Dubai! Tell officials to keep
                                                                                                                                  SeaWorld out. <3 PETA
7/23/2015    5:30 PM ET                         23,419               6,636            28.34% PETA     SMS List                    Reply Y to tell Victoria's Secret you won't buy its products until they go back to being 100% cruelty-free! Cruelty isn't sexy!
                                                                                                                                  <3 PETA
7/23/2015    5:30 PM ET                          7,806               2,348            30.08% PETA     MMS List                    Reply Y to tell Victoria's Secret you won't buy its products until they go back to being 100% cruelty-free! Cruelty isn't sexy!
                                                                                                                                  <3 PETA
7/30/2015    5:30 PM ET                         31,070               9,591            30.87% PETA     Whole List                  Reply Y to take action for Cecil the lion! Urge US officials to ban imports of lion heads, tails + skins in order to stop
                                                                                                                                  cowardly 'trophy' hunters! <3 PETA
8/6/2015     5:30 PM ET                         30,937               8,660            27.99% PETA     Whole List                  Reply Y to speak up 4 animals suffering @ Univ. of Texas's labs by urging Shriners International 2 stop funding burn
                                                                                                                                  experiments at the university. <3 PETA
8/13/2015    5:50 PM ET                         25,506               6,932            27.18% PETA     SMS List                    URGENT: Reply Y to urge Patagonia to stop selling wool! Their wool supplier's workers skinned live lambs, slit their throats
                                                                                                                                  + cut off their tails! <3 PETA
8/13/2015    5:50 PM ET                          6,376               1,918            30.07% PETA     MMS List                    URGENT: Reply Y to urge Patagonia to stop selling wool! Their wool supplier's workers skinned live lambs, slit their throats
                                                                                                                                  + cut off their tails! <3 PETA
8/20/2015    5:30 PM ET                         31,924               9,038            28.31% PETA     Whole List                  Reply Y to help animals like Cecil! Urge FedEx and UPS to stop supporting cowardly hunters + ban the shipment of gross
                                                                                                                                  hunting 'trophies' now! <3 PETA
8/27/2015    5:30 PM ET                         31,945               9,100            28.49% PETA     Whole List                  Reply Y to tell NY officials that bowhunting is an agonizing, and often gruesome, death for deer - and an ineffective
                                                                                                                                  population control method! <3 PETA
9/3/2015     5:30 PM ET                         32,000               9,507            29.71% PETA     Whole List                  URGENT: Reply Y to urge Illinois fair officials 2 cancel the elephant Nosey's appearance! She is shipped from town to town
                                                                                                                                  + forced to give cruel rides. <3 PETA
9/10/2015    5:30 PM ET                         32,034               9,112            28.44% PETA     Whole List                  Reply Y to tell NPR that horse and dog racing are no laughing matter! Dozens of animals die every week in cruel races
                                                                                                                                  across the U.S. <3 PETA
9/17/2015    5:30 PM ET                         27,333               7,910            28.94% PETA     SMS List                    Reply Y to tell Whole Foods to stop misleading the public regarding 'humane meat'! Pigs continue to die + are left to
                                                                                                                                  suffer, even on 'humane' farms. <3 PETA
9/17/2015    5:30 PM ET                          4,824               1,422            29.48% PETA     MMS List                    Reply Y to tell Whole Foods to stop misleading the public regarding 'humane meat'! Pigs continue to die + are left to
                                                                                                                                  suffer, even on 'humane' farms. <3 PETA
9/24/2015    5:30 PM ET                         32,296               9,328            28.88% PETA     Whole List                  Reply Y to tell Canadian govt to cancel their planned purchase of monkeys from Primate Products, Inc, a company cited for
                                                                                                                                  25 animal welfare violations! <3 PETA
10/1/2015    5:30 PM ET                         32,348               9,587            29.64% PETA     Whole List                  Reply Y to help bears @ Pymatuning who are living in barren, concrete pits w/nothing to do but beg 4 scraps of food!
                                                                                                                                  Demand they be sent to a sanctuary! <3 PETA
10/9/2015    5:30 PM ET                         32,452               8,969            27.64% PETA     Whole List                  Reply Y to tell Florida Dept. of Education to honor its word + drop SeaWorld promos! The cruel abusement park is tanking
                                                                                                                                  after recent rulings in CA. <3 PETA
10/15/2015   5:30 PM ET                         32,641               9,274            28.41% PETA     Whole List                  Reply Y to tell the Australasian College of Surgeons to adopt superior non-animal trauma training NOW! Stop cutting into +
                                                                                                                                  killing animals! <3 PETA
10/22/2015   5:30 PM ET                         32,771               9,881            30.15% PETA     Whole List                  Reply Y to tell Kikkoman Corporation to stop killing animals 4 soy sauce! They are funding cruel + deadly tests 2 make
                                                                                                                                  health claims about products! <3 PETA
10/29/2015   5:30 PM ET                         32,975               9,494            28.79% PETA     Whole List                  Reply Y to urge international retailer The Kooples to drop cruel angora NOW! Live rabbits have their fur torn from their
                                                                                                                                  bodies - just for fashion! <3 PETA
11/5/2015    5:30 PM ET   VICTORY               33,016           10,514               31.85% PETA     Whole List                  Reply Y to help Joe the chimpanzee! He's at a seedy roadside zoo, and has languished there in almost complete isolation
                                                                                                                                  for the last 16yrs! <3 PETA
11/5/2015    5:30 PM ET                         10,514               3,188            30.32% PETA     Activated by 1st Reply Y    Reply Y2 to help Lolita the orca! <3 PETA
11/5/2015    5:30 PM ET                          3,188               2,367            74.25% PETA     Activated by 2nd Reply Y2   Reply Y3 to help Morgan the orca! <3 PETA
11/12/2015   5:30 PM ET                         33,653               9,596            28.51% PETA     Whole List                  Reply Y to tell a Florida high school to ditch dissection after a teacher was caught juggling dead frogs! Superior, non-
                                                                                                                                  animal methods already exist. <3 PETA
11/19/2015   5:30 PM ET                         33,682               9,902            29.40% PETA     Whole List                  Reply Y to tell Gilt that nobody deserves to die for fashion! Whether an elephant or a snake, all animals deserve to keep
                                                                                                                                  their skin! <3 PETA
11/26/2015   5:30 PM ET                         33,807           10,401               30.77% PETA     Whole List                  Reply Y to demand SeaWorld end their orca rape program! Forced masturbation and impregnation are not a part of
                                                                                                                                  "natural" breeding behaviors. <3 PETA
12/3/2015    5:30 PM ET                         33,808               9,921            29.35% PETA     Whole List                  Reply Y to tell the NIH to retire their chimpanzees to a sanctuary! Most of them have been used in painful experiments
                                                                                                                                  and deserve their freedom NOW! <3 PETA
12/10/2015   5:30 PM ET                         34,115           10,472               30.70% PETA     Whole List                  Reply Y to ask UPS to show compassion this holiday season and ban the shipment of hunting trophies - 40 other major
                                                                                                                                  airlines already have! <3 PETA
12/17/2015   5:30 PM ET                         34,208               9,202            26.90% PETA     Whole List                  Reply Y to urge Rudolph the Red-Nosed Reindeer to end its partnership w/SeaWorld! Tell the Christmas classic cruelty to
                                                                                                                                  orcas shouldn't be celebrated! <3 PETA
12/23/2015   5:30 PM ET   VICTORY               34,197           10,464               30.60% PETA     Whole List                  Reply Y to help Tootie the chimpanzee who has been kept in solitary confinement for 20yrs! Urge Stump Hill Farm to retire
                                                                                                                                  her NOW! <3 PETA
12/23/2015   5:30 PM ET                         10,464               1,820            17.39% PETA     Activated by 1st Reply Y    Monkeys destined for tests in labs also need your help - reply Y2 to help them NOW! <3 PETA
12/23/2015   5:30 PM ET                          1,820               1,613            88.63% PETA     Activated by 2nd Reply Y2   Nosey the elephant also needs your help this holiday! Reply Y3 to help her. <3 PETA
12/30/2015   5:30 PM ET                         34,294               9,858            28.75% PETA     Whole List                  Reply Y to help end cruel taxpayer funded experiments @ UC-San Francisco in the New Year! Baby mice are frozen alive +
                                                                                                                                  others have their toes cut off! <3 PETA

1/7/2016     5:30 PM ET                         34,503           10,802               31.31% PETA     Whole List                  Reply Y to tell Univ. of Oklahoma to release imprisoned baboons to a sanctuary! In just 2 years at least 51 baboons died at
                                                                                                                                  their facility. <3 PETA
                                                                                                          Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 45 of 66

Date Sent   Time Sent    Victory   # sent to            # replied       % responded      Group   Interest/Area      Reply Y Text                                                                                                                     Thank U Text   Additional Text
1/14/2016   5:30 PM ET                         34,664            10,714           30.91% PETA    Whole List         Reply Y to help rescue bears imprisoned in concrete pits @ a Tennessee roadside zoo! 2yrs ago we rescued others in
                                                                                                                    Georgia - now lets help these bears! <3 PETA
1/21/2016   5:30 PM ET   VICTORY               34,849          11,771            33.78% PETA     Whole List         Reply Y to tell GUESS to stop selling angora fur! Rabbits scream out in pain + terror as their fur is ripped from their bodies.
                                                                                                                    <3 PETA
1/28/2016   5:30 PM ET                         35,088          10,779            30.72% PETA     Whole List         Reply Y to ask Petco + PetSmart to end live animal sales! PETA exposed a supplier who was gassing + freezing animals to
                                                                                                                    death. <3 PETA
2/4/2016    5:30 PM ET                         35,303          11,003            31.17% PETA     Whole List         Reply Y to urge Oklahoma City Zoo to close the elephant exhibit! Chai recently died and the remaining elephants should
                                                                                                                    be retired NOW! <3 PETA
2/11/2016   5:30 PM ET                         35,512          11,569            32.58% PETA     Whole List         Reply Y to help Fritha this Valentine's Day - she's an elephant taken from the wild and has been imprisoned alone for 16
                                                                                                                    years! Demand her freedom NOW! <3 PETA
2/11/2016   5:30 PM ET                         11,569           3,863            33.39% PETA     Whole List         Thank you for showing love for Fritha! Happy also needs your help. She was taken from the wild and have lived alone since
                                                                                                                    2006! Reply Y2 now! <3 PETA
2/11/2016   5:30 PM ET                          3,863           2,684            69.48% PETA     Whole List         Thank you 4 helping Happy! Reply Y3 to help Shirley - a 71yr old elephant confined alone since 2011 @ a Georgia Zoo.
                                                                                                                    Demand she be sent to a sanctuary! <3 PETA
2/18/2016   5:30 PM ET                         35,745          12,300            34.41% PETA     Whole List         URGENT: Reply Y to help rabbits who are hit, hung up + skinned alive @ Chinese fur farms. Demand retailers Revolve and
                                                                                                                    Rent the Runway drop fur NOW! <3 PETA
2/25/2016   5:30 PM ET                         36,629          11,995            32.75% PETA     Whole List         URGENT: Reply Y to tell Hermes + Prada to drop exotic skins NOW! Young ostriches are being slaughtered right in front of
                                                                                                                    one another for fashion! <3 PETA
3/3/2016    6:00 PM ET                         36,753          11,431            31.10% PETA     Whole List         Reply Y to urge PetSmart to end sale of live animals! New PETA investigation shows reptiles being denied water and
                                                                                                                    having injured limbs left to rot off. <3 PETA
3/10/2016   5:30 PM ET   VICTORY               37,043          13,887            37.49% PETA     Whole List         URGENT: Reply Y to ask Mexican officials to cancel cruel festival in which animals are put in a pinata, beaten and even
                                                                                                                    have their heads torn off! <3 PETA
3/18/2016   5:30 PM ET                         37,283          12,907            34.62% PETA     Whole List         Reply Y to tell SeaWorld to not only end their forced orca breeding program but also send them to sanctuaries AND stop
                                                                                                                    the exploitation of all animals!
3/24/2016   5:30 PM ET                         37,472          12,535            33.45% PETA     Whole List         Reply Y to tell fashion retailer Simons to ditch cruel angora NOW! Help bunnies this Easter, who scream in pain as the fur
                                                                                                                    is ripped from their bodies. <3 PETA
3/31/2016   5:30 PM ET                         37,667          12,574            33.38% PETA     Whole List         Reply Y to help lions + tigers! Tell Vegas' Westgate resorts to ban notorious big-cat abuser Dirk Arthur from exploiting
                                                                                                                    animals in his magic shows! <3 PETA
4/7/2016    5:30 PM ET                         37,843          12,583            33.25% PETA     Whole List         Reply Y to tell DSW there's nothing fashionable about cruelty to animals and 2 join the growing list of companies that have
                                                                                                                    already banned fur + angora! <3 PETA
4/14/2016   5:58 PM ET                         38,237          11,934            31.21% PETA     Whole List         Reply Y to tell NASDAQ to cancel plans allowing UniverSoul Circus to ring the closing bell! They work with notorious animal
                                                                                                                    abusers! <3 PETA
4/21/2016   5:45 PM ET                         38,414          13,166            34.27% PETA     Whole List         Reply Y to ask Peruvian officials to ban a HORRIFIC tradition in which a 'misbehaving' dog and bull are tied together and
                                                                                                                    then killed in a bullfight! <3 PETA
4/28/2016   5:34 PM ET                         38,623          13,144            34.03% PETA     Whole List         Reply Y to urge chimpanzee-breeding facility Missouri Primate Foundation 2 retire 17 chimpanzees living in small filthy
                                                                                                                    cages to accredited sanctuaries! <3 PETA
5/5/2016    6:01 PM ET                         38,739          12,680            32.73% PETA     Whole List         Reply Y to speak up for Tai, who was captured from the wild by a company notorious 4 abusing elephants. Tell AARP 2 pull
                                                                                                                    commercial featuring her NOW. <3 PETA
5/12/2016   5:30 PM ET                         38,889          12,780            32.86% PETA     Whole List         Reply Y to tell Groupon to stop promoting animal abuse at SeaWorld + Ringling! Concrete bathtubs and bullhooks are a
                                                                                                                    raw deal for animals. <3 PETA
5/19/2016   5:30 PM ET                         39,099          13,278            33.96% PETA     Whole List         Reply Y to help Nosey the elephant! The Kaaba Shrine circus is currently forcing her 2 perform painful + ridiculous circus
                                                                                                                    tricks. Urge them 2 stop NOW. <3 PETA
5/26/2016   5:30 PM ET                         39,210          13,630            34.76% PETA     Whole List         Reply Y to help geese who are held down + have their feathers violently ripped out, leaving bloody wounds. Tell Eddie
                                                                                                                    Bauer + Lands End 2 drop down NOW. <3 PETA
6/2/2016    5:30 PM ET                         39,122          14,003            35.79% PETA     Whole List         Reply Y to help frogs! A school in TN is encouraging people to stab them with pitchfork-like spears for a fundraiser. Urge
                                                                                                                    them to cancel NOW. <3 PETA
6/9/2016    5:30 PM ET                         39,048          13,343            34.17% PETA     Whole List         Reply Y to help elephants and tigers! Circus World has hired an abusive trainer and expanded animal acts. Tell them to
                                                                                                                    stop using ALL animals now. <3 PETA
6/16/2016   5:50 PM ET                         38,943          13,265            34.06% PETA     Whole List         Reply Y to help bears! Tell the USDA to do its job and ban bear pits. No animal belongs in a concrete dungeon. <3 PETA
6/23/2016   6:12 PM ET                         38,902          12,663            32.55% PETA     Whole List         Reply Y to urge Summer Wind Farms, a ramshackle tourist trap that has been cited for violating the Animal Welfare Act at
                                                                                                                    least 90 times, to retire all animals now! <3 PETA
6/30/2016   5:35 PM ET                         38,790          13,208            34.05% PETA     Whole List         Reply Y to help rabbits! U.S. Air Force cadets are bludgeoning live, domesticated rabbits 2 death. Urge them to stop NOW.
                                                                                                                    <3 PETA
7/7/2016    6:00 PM ET                         38,707          12,379            31.98% PETA     Whole List         Reply Y to speak up for LIVE hermit crabs who had their shells cracked open @ self-proclaimed Petco & PetSmart supplier.
                                                                                                                    Ask them 2 stop selling animals! <3PETA
7/14/2016   6:10 PM ET                         38,615          13,381            34.65% PETA     Whole List         Reply Y to help elephants! Babies are taken from their mothers + tied down + beaten for training. Tell travel companies 2
                                                                                                                    stop promoting elephant rides! <3 PETA
7/21/2016   5:33 PM ET                         38,483          13,255            34.44% PETA     Whole List         Reply Y to help sea lions! The owners of Sea Lion Splash have reportedly hit sea lions w/ pipes. Tell Barnstable County Fair
                                                                                                                    2 cancel their appearance. <3 PETA
7/28/2016   5:30 PM ET                         38,363          13,422            34.99% PETA     Whole List         Reply Y to help tiger cubs! Urge tiger breeder Dade City's Wild Things to stop tearing cubs away from their mother's +
                                                                                                                    using them as selfie props. <3 PETA
8/4/2016    5:30 PM ET                         38,292          14,040            36.67% PETA     Whole List         Reply Y to help a LIVE bull who will have his throat slit so people can drink his blood @ a festival in Mexico. Tell officials 2
                                                                                                                    ban this abuse! <3 PETA
8/11/2016   5:30 PM ET                         38,169          13,318            34.89% PETA     Whole List         Reply Y to help monkeys! Baseball teams are hosting events where terrified monkeys are tied 2 dogs who are forced 2
                                                                                                                    race. Tell them 2 cancel the events! <3 PETA
8/18/2016   5:30 PM ET                         38,105          13,386            35.13% PETA     Whole List         Reply Y to help sharks who are stuck in tiny tanks, carted around the country, and harassed by loud crowds. Tell fairs to
                                                                                                                    cancel these events! <3 PETA
8/25/2016   5:30 PM ET                         38,121          12,957            33.99% PETA     Whole List         Reply Y to help animals languishing at Tri-State Zoo! Tigers in cages with disgusting, murky pools + a monkey pulled his
                                                                                                                    own hair out in frustration. <3 PETA
9/1/2016    5:30 PM ET                         37,866          13,309            35.15% PETA     Whole List         Reply Y to help Bamboo! Her companion died + she has been attacked by other elephants 4 times. Urge the OKC Zoo to
                                                                                                                    send her to a sanctuary now! <3 PETA
                                                                                                           Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 46 of 66

Date Sent    Time Sent    Victory   # sent to            # replied       % responded      Group   Interest/Area      Reply Y Text                                                                                                                 Thank U Text   Additional Text
9/8/2016     5:50 PM ET                         37,687            13,145           34.88% PETA    Whole List         Reply Y to tell Texas A&M to stop abusing horses + selling them to slaughter! They even shot + killed a pregnant horse
                                                                                                                     then used her dead baby in class. <3 PETA
9/15/2016    5:30 PM ET                         37,571          12,519            33.32% PETA     Whole List         Reply Y to help monkeys! Ask AirBridgeCargo Airlines to ban the shipping of monkeys to the US for experiments where
                                                                                                                     they're poisoned, cut open + killed. <3 PETA
9/22/2016    5:30 PM ET                         37,467          13,058            34.85% PETA     Whole List         Reply Y to help goats! They are slaughtered + die a slow death in front of screaming crowds @ a festival in Mexico. Tell
                                                                                                                     officials to stop this cruelty! <3 PETA
9/29/2016    5:30 PM ET                         37,440          12,727            33.99% PETA     Whole List         Reply Y to speak up for animals dying at a lab in Tel Aviv! Cages were so dirty there were maggots in them + unwanted
                                                                                                                     newborn animals were left to die. <3 PETA
10/13/2016   5:30 PM ET                         37,192          12,538            33.71% PETA     Whole List         Reply Y to speak up for 2 turkeys who died after being thrown from an airplane during Turkey Trot festival. Tell officials +
                                                                                                                     sponsors 2 end tradition! <3 PETA
10/20/2016   5:30 PM ET                         37,036          11,355            30.66% PETA     Whole List         Reply Y to speak up for animals scheduled to be boiled alive! Tell the church to cancel planned lobster boil and BBQ. No
                                                                                                                     one should be boiled alive. <3 PETA
10/24/2016   5:30 PM ET                         36,933          11,613            31.44% PETA     Whole List         Reply Y to help crocodiles! The American Museum of Natural History is confining them to tiny tanks + promoting killing
                                                                                                                     them for their skin. Act today! <3 PETA
10/27/2016   5:30 PM ET                         36,824          12,365            33.58% PETA     Whole List         Reply Y to speak up for a monkey who suffocated to DEATH at a cruel + abusive primate laboratory! Tell the feds to cancel
                                                                                                                     their contracts w/them. <3 PETA
11/3/2016    5:55 PM ET                         36,882          10,873            29.48% PETA     Whole List         Reply Y to help stingrays! Tell the Akron Zoo to permanently stop letting visitors harass stingrays. Dozens of animals have
                                                                                                                     died bc of touch tanks. <3 PETA
11/10/2016   6:35 PM ET                         37,746                                   PETA     Whole List         Reply Y to ask Sir Richard Branson + Virgin to stop promoting animal abuse! They claim to be advocates for marine
                                                                                                                     mammals, yet they support SeaWorld. <3 PETA
                                                                                                 Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 47 of 66

Date Sent      # sent to     # replied      ,          Group   Interest/Area                       Reply Y Text                                                                                                                   Thank U Text                                                                                                         Additional Text
      12/14/10        101288           5648      5.58% peta2                                       Donna Karan is a bunny butcher! Reply Y to this msg & we'll send a msg from you (right now!) telling her execs to dump fur
                                                                                                   once & for all. Thanks! <3 peta2
      1/14/11        101799           5964       5.86% peta2                                       Cats & pigs r being tormented in cruel experiments @ the University of Michigan! Reply Y NOW & we’ll send a msg from u
                                                                                                   urging UofM 2 stop these tests! <3 peta2
        2/5/11       115538           6588       5.70% peta2                                       Help chimps! CareerBuilder plans to air an ad during the Super Bowl & we need ur help! Reply Y to send CareerBullies a msg to
                                                                                                   keep chimps out of ads. <3 peta2
      3/15/11         91,689          5,897      6.43% peta2                                       Speak up for elephants abused by Ringling Brothers! Reply Y and we'll send a msg urging the USDA to remove the ailing
                                                                                                   elephants from Ringling Bros. <3 peta2
      5/13/11         98,341          2,199      2.24% peta2                                       Toys made out of rabbit fur!? WTF?! Reply Y to send a msg 2 PETCO urging them 2 ditch toys made of rabbit fur.<3 peta2
      6/24/11          3,239            642     19.82% peta2                                       Think sitting on an abused, electro-shocked elephant is no fun? Reply Y 2 ask San Diego County Fair organizers 2 stop cruel
                                                                                                   elephant rides ASAP! <3 peta2
        9/8/11         3,072            711     23.14% peta2   viv interest                        Last chance 2 save 32 monkeys from cruel training lab! On Monday, US Army will violate own policy +poison them w/
                                                                                                   chemicals! Reply Y 2 urge Army 2 stop <3 peta2
     10/27/11        124,226          2,537      2.04% peta2                                       Slavery=slavery, regardlss of species! PETA's suing SeaWorld 4 enslaving orcas + violating USA's anti-slavry law. Rply Y 2 ask
                                                                                                   SeaWorld 2 release anmls <3 peta2
     11/30/11          8,188            868     10.60% peta2   fur interest                        Whats worse than selling fur? Knowing fur comes from animals skinned alive & STILL selling it! Kohls does this. Rply Y 2 urge
                                                                                                   them 2 stop selling fur. <3 peta2
     12/21/11          3,316            525     15.83% peta2   viv interest                        Flying 4 the holidays? Ur plane's cargo may include primates en route 2 a lab! Reply Y 2 urge airlines 2 stop shipping primates 2 cruel
                                                                                                   experimenters <3 peta2
      1/25/12          3,421            478     13.97% peta2   companion animals                   Starving dogs + cats living in filthy HELL @shelter in Mississippi! Reply Y to tell local officials 2 make sure the animals get help!         Thanks 4 helping sick & starving cats & dogs in Clarksdale shelter! To help more animals in
                                                                                                   <3 peta2                                                                                                                                      need, volunteer @ ur local shelter. <3 peta2
          3/24          8665            719      8.30% peta2   fur interest                        The Canadian seal hunt has begun! Stand up for seals + Reply with the word PLEDGE to promise to tell 5 friends why it's wrong                 Thanks for pledging to tell 5 friends! Reply to this msg w/a comment about why the slaughter Thanks for speaking up for seals! <3
                                                                                                   to wear fur. <3 peta2                                                                                                                         needs to end today! <3 peta2                                                                 peta2
        6/8/12       106,472          6,127      5.75% peta2                                       DID U KNOW: Animals are poisoned & killed in tests 4 cigarettes?! Reply Y to tell the FDA to ban cigarette tests on animals. <3 peta2         Thanks 4 speaking up 4 animals! Ur message will be sent 2 the FDA. Find out more at
                                                                                                                                                                                                                                                 peta2.com/smoke. <3 peta2
      6/21/12          5,634          1,043     18.51% peta2                                       Urban Decay needs 2 MAKE UP their minds. Starting 2 sell in China means cruel tests on animals. Reply Y 2 tell them 2 go                      Tnx 4 saying "no way" 2 Urban Decay. U can stay beautiful & cruelty free w/our Be Nice to Bunnies
                                                                                                   cruelty free again. <3 peta2                                                                                                                  app: bit.ly/petabnb. (Also online @ bit.ly/donttest) <3 peta2
      7/17/12          6,098            921     15.10% peta2                                       The US Military is killing cuties like this: http://bit.ly/LWovdG. Reply Y 2 tell them 2 stop killing animals for trauma training! <3 peta2   Thanks for helping goats! Here’s the full article on BuzzFeed: http://bit.ly/OqYGO8 <3 peta2

      9/12/12          7,079          1,093     15.44% peta2                                       UW-Madison experimenters deafen cats, implant coils in their eyes & drill their skulls. Reply Y 2urge the NIH 2cut funding                    Thanks for taking action. Share this video to let others know about the horrible experiments at
                                                                                                   4these cruel experiments. <3 peta2                                                                                                            UW-Madison: http://bit.ly/QKvoAp <3 peta2
      11/1/12          2,489             77      3.09% peta2   campus/college interest             Gross: CU-Bounder cuts the hearts out of live animals. Reply Y to ask school official Dr. Moore to switch2 humane, non-animal                 Thanks for speaking up for animals at CU-Boulder! <3 peta2
                                                                                                   alternatives. <3 peta2
     11/13/12         28,788          2,759      9.58% peta2   veg interest                        Walmart suppliers force mother pigs into crates so tiny they can never lay down or turn around. Reply y to urge the CEO to                    Thanks for asking Walmart to ditch gestation crates. Want another way to help pigs? Don't eat
                                                                                                   stop! <3 peta2                                                                                                                                them! <3 peta2
      3/26/13          3,508            391     11.15% peta2   ent interest                        Reply Y 2urge Kmart 2stop using wild animals in ads! Their recent commercial caused a shark HOURS of stress in a tiny tank b4 the shark       TY 4taking action. W/animatronics and computer-generated imagery, there is no excuse for exploiting
                                                                                                   DIED. <3 peta2                                                                                                                                wild animals for advertising! <3 peta2
      4/17/13         10,900          2,096     19.23% peta2   skins/CA                            The Canadian seal slaughter has begun! Reply Y & we'll send a msg on ur behalf 2 urge Canadian gov't officials to end the                    Thank you for helping seals! <3 PETA
                                                                                                   senseless seal slaughter! <3 peta2
      4/25/13          7,588          1,466     19.32% peta2   viv interest                        Reply Y to tell WashingtonU St. Louis to stop forcing hard tubes down cats' throats, causing bleeding, collapsed lungs, and even Thank you for helping cats! <3 peta2
                                                                                                   death! <3 peta2
      6/19/13         12,424          1,408     11.33% peta2   CA, missions, ENT, AA               Reply Y to urge venues hosting Shrine Circus 2 cancel due 2 reports that their trainers beat animals & whip tigers in the FACE--letting them Thanks for helping tigers and other animals who are suffering at Shrine Circus! <3 peta2
                                                                                                   bleed! <3 peta2
      8/21/13          4,362            508     11.65% peta2   missions, ent                      There's nothing funny about orcas trapped @ SeaWorld. Reply Y to urge Anchorman 2 producers 2 cut scenes from the movie
                                                                                                  that were filmed there. <3 peta2
        9/8/13        27,501          2,541      9.24% peta2   AA, CA, ent                        US Navy plans 2do tests that will KILL dolphins & whales! U can help: Reply to this text w/the letter Y 2send a message 2the                   Thanks for speaking up for ocean life! <3 peta2
                                                                                                  Navy asking them 2cancel! <3 peta2
      9/17/13         10,606          2,344     22.10% peta2   AA, viv                            Msg#1: OMG! You won't believe what the NFL is paying people to do to animals: http://peta2.me/2fumj. <3 peta2 Msg#2:                           Thanks for speaking up for animals. <3 peta2
                                                                                                  Help stop this! Reply Y to this message & an email will be sent from you to the NFL asking them to stop funding cruel & deadly
                                                                                                  experiments on animals! <3 peta2
      9/24/13          6,672          1,738     26.05% peta2   AA                                 Msg#1: Help! A slaughterhouse called Linda Bean's Maine Lobster is ripping the heads off of live lobsters & tearing apart live                 Thanks for showing <3 for lobsters & crabs! <3 peta2
                                                                                                  crabs: http://bit.ly/16mKTar. <3 peta2 Msg#2: Urge them to stop! Reply Y to this message & an email will be sent from you to
                                                                                                  Linda Bean asking her to use less cruel methods! <3 peta2
      10/8/13          3,674            655     17.83% peta2   AA, minus ent                      SeaWorld abuses animals & shouldn't be celebrated! Reply Y to ask Macy's to cancel the SeaWorld float planned for the Macy's                   Thanks for showing <3 for whales! <3 peta2
                                                                                                  Thanksgiving Day Parade! <3 peta2
     10/15/13         12,448          1135       9.12% peta2   AA                                 OMG! The Tampa Bay Rays have a stingray tank in their stadium & baseballs have landed in it! Reply Y to tell them to protect
                                                                                                  the rays & get rid of it! <3 peta2
     10/29/13            921            108     11.73% peta2   AA, minus those on p2_act_kfcfree, Katy Perry's new music video features wild animals. Animals shouldn't be used 4 entertainment! Reply Y to tell Katy 2 stop                     Thanks for reminding Katy Perry that animals shouldn't be used for entertainment! <3 peta2
                                                               game, veg, viral interests         using animals in her videos. <3 peta2
                                                                                                   Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 48 of 66

Date Sent      # sent to      # replied     ,          Group   Interest/Area                       Reply Y Text                                                                                                                                 Thank U Text                                                                                           Additional Text
      12/10/13          3,742           636     17.00% peta2   missions, ent                       Sunder the elephant is being BEATEN so bad he struggles to stand! Reply Y to this text & send a msg to officials urging them to              Thanks for standing up for Sunder! <3 peta2
                                                                                                   get him to sanctuary! <3 peta2
     12/17/13         11,278          3,279     29.07% peta2   AA                                  Angora bunnies SCREAM as their fur is ripped out! Tell Gap to ban angora fur: Reply Y to this message to let Gap know u want
                                                                                                   them to ditch angora. <3 peta2
        1/7/14         6,880            879     12.78% peta2   AA                                  Help! A parrot is trapped in a tiny cage inside a water park. Reply Y to urge the company responsible for him to urgently
                                                                                                   improve his quality of life. <3 peta2
      1/22/14         10,046          4,716     46.94% peta2   AA, ent                             Orcas need your help! SW Airlines is partnered w/SeaWorld, even though SeaWorld abuses animals. Reply Y to ask SW Airlines                   Thank you for speaking up for orcas! <3 peta2
                                                                                                   to end the partnership ASAP! <3 peta2
      1/29/14         49,948          3,314      6.63% peta2   everyone w/ an email, minus viral   Make Girl Scout Cookies vegan! Reply Y to ask Little Brownie Bakers (one of the bakers for GS Cookies) to start making some                  Thank you for asking Little Brownie Bakers to start making vegan cookies! <3 peta2
                                                               interest                            vegan cookies. <3 peta2
        2/4/14         8,971          1,899     21.17% peta2   AA, p2_viv_milt, p2_viv_uni         The Natl Inst. of Health is drilling holes into the skulls of mice & burning parts of their brains! Reply Y to ask them to stop this immediately. Thank you for asking the Natl Inst. of Health to stop their cruel experiments on mice! <3 peta2
                                                                                                   <3 peta2
      2/11/14         15,594          2,370     15.20% peta2   Actions, mainstream sports          Help! 100s of stray dogs are being poisoned to death to clean up for the Sochi winter Olympics. Reply Y to ask Russian                       Thank you for asking Russian officials to stop poisoning stray dogs! <3 peta2
                                                                                                   authorities to stop this ASAP. <3 peta2
      2/18/14         20,810          2,825     13.58% peta2   Actions, wildlife, CA area codes    CA is killing animals! CA hosts hunting contests where contestants kill as many coyotes as they can. Reply Y to ask officials to             Thank you for showing <3 for coyotes! <3 peta2
                                                                                                   ban this bloody event. <3 peta2
      3/11/14         17,482          2,718     15.55% peta2   Actions, Skins                      Save baby seals! The Canadian seal slaughter is about 2 start. Reply Y to ask the Canadian government 2 end this bloody                      Thank you for showing <3 for baby seals! <3 peta2
                                                                                                   slaughter now. <3 peta2
      3/19/14         13,283          1,755     13.21% peta2   Actions, Entertainment              Even though SeaWorld abuses animals, Bindi Irwin agreed 2 be the spokesperson 4 their latest kid's program. Reply Y to ask                   Thank you for speaking out against SeaWorld abusement park! <3 peta2
                                                                                                   Bindi to ditch SeaWorld now! <3 peta2
      3/25/14         15,567          2,333     14.99% peta2   Actions, Viv_Military               U.S. + other militaries shoot live pigs in trainings. It’s 2014--this is not OK! Reply Y to send a message asking them to stop. <3           Thank you for telling the military it's not OK to torture & kill animals! <3 peta2
                                                                                                   peta2
        4/8/14        16,023          2,203     13.75% peta2   Actions, Entertainment              Hey! It's Liz from peta2. Please help stop bulls from being chased &tortured @The Great Bull Run! Reply Y to urge officials to               Thank you for speaking up for bulls. <3 peta2
                                                                                                   cancel this cruel event. <3 peta2
      4/23/14          7,403                           peta2   Actions, Entertainment              Part 1: Look how sad this elephant is: http://peta2.me/2nvsk! <3 peta2
      4/23/14          7,403          1,280     17.29% peta2   Actions, Entertainment              Part 2: Help her! Reply Y to this message & an email will be sent urging that Nosey be taken away from her abusers. <3 peta2                 Thank you for taking action to help Nosey! <3 peta2

      5/22/14         50,404          3,592      7.13% peta2   Actions, Viv                        #OMG rabbits had silicone pieces inserted into their vaginas & were killed 4 condoms. Reply Q to ask NIH officials 2 stop                    Thank you for asking the National Institute of Health never to allow rabbits to be killed in
                                                                                                   allowing these tests! <3 peta2                                                                                                               condom experiments. <3 peta2
        6/3/14         9,400          1,022     10.87% peta2   Actions, Viv                        So sad: A chimpanzee has been locked in a cage for 35 years + infected w/HIV! Reply Y to ask that these tests end! <3 peta2                  Thank you for showing love for chimpanzees! <3 peta2

      6/10/14         16,040          1,783     11.12% peta2   Actions, Wildlife                   Millions of pigeons in Taiwan drowning & dying due to extreme pigeon races! Reply X to ask Taiwan officials to stop these
                                                                                                   deadly flights ASAP! <3 peta2
      6/24/14         16,452          2,141     13.01% peta2   Actions, Entertainment              OMG! Roxy the elephant was kidnapped from the wild + forced 2 perform on The Tonight show. Reply X to urge Jimmy Fallon 2 ban                Thanks for showing <3 for elephants. Elephants belong in the wild, not on TV! <3 peta2
                                                                                                   wildlife from his show! <3 peta2
      7/10/14         51,244          2,994      5.84% peta2   Everyone w/ an email                Sheep raised 4 wool are punched, stomped on &left w/bloody wounds! Reply X to ask top wool sellers Ralph Lauren & J.Crew to stop
                                                                                                   selling it ASAP. <3 peta2
      8/14/14         16,641          1,928     11.58% peta2   Actions, Entertaiment               Tyke, the ele, was shot 86x after escaping from a circus! The same venue is scheduled 2 host a circus w/live animals again.
                                                                                                   Reply X to ask them not 2! <3 peta2
      8/12/14         16,641          1,863     11.20% peta2   Actions, Entertainment              Tyke, the ele, was shot 86x after escaping from a circus! The same venue is scheduled 2 host a circus w/live animals again. Reply X to ask
                                                                                                   them not 2! <3 peta2
      8/20/14         47,801          5,373     11.24% peta2   veg interest, vegan keyword         Reply X to tell IKEA you want them to sell vegan meatballs, instead of the vegetarian ones they're planning on adding to their               Thanks for telling IKEA you want them to serve vegan meatballs! <3 peta2
                                                                                                   menu soon. <3 peta2
       9/4/14         17,068          2,953     17.30% peta2   Everyone w/ an email                Reply X to ask the Seattle mayor to retire the other elephants at the zoo to a sanctuary so no more die. <3 peta2
      9/11/14         14,680          1,605     10.93% peta2   Actions, Entertainment, Viv,        Babies screaming for their moms, experimenters laughing! End cruelty in NIH labs. Reply X to urge the NIH to end cruel                       Thank you for speaking up for baby monkeys in NIH labs! <3 peta2
                                                               Missions keyword                    experiments on baby monkeys. <3 peta2
      9/22/14         18,027          2,490     13.81% peta2   Skins, Actions                      Even though angora is obtained by tearing fur from live bunnies, French Connection is still selling it! Reply X to ask them to end the sale of Thank you for showing <3 for bunnies by asking French Connection to stop selling angora! <3
                                                                                                   angora. <3 peta2                                                                                                                                    peta2
     10/14/14          7,206          2,034     28.23% peta2   Everyone w/ an email,               Reply X to urge the Riviera in Las Vegas to say NO to supporting cruelty to tigers & lions by canceling Dirk Arthur's "Wild Illusions!" show!
                                                               Entertainmnet                       <3 peta2
     10/21/14         23,607          2,278      9.65% peta2   Everyone w/ an email, veg           Lobsters thrash & try 2 get away when tossed into pots. Thousands will be boiled ALIVE @ Lobsterfest. Reply X to urge event to CANCEL
                                                                                                   lobster massacre! <3 peta2
     10/27/14         15,098          2,718     18.00% peta2   Entertainmnet                       Orcas + belugas + dolphins need your help! Reply X to tell AAA to stop promoting SeaWorld's animal prisons! <3 peta2
      11/4/14          4,272            804     18.82% peta2   Entertainmnet                       Every Nov, balls of tar are attached to bulls' horns & set on fire for 'Toro Jubilo' in Soria, Spain. Reply X to urge the city to ban the festival!
                                                                                                   <3 peta2
     11/12/14          7,233          4,508     62.33% peta2   Entertainmnet                       Orca prison SeaWorld has a float in the Thanksgiving Day Parade! Reply X to tell Macy's to cancel it & leave cruelty to animals out of the
                                                                                                   parade <3 peta2
      12/8/14         27,003          5,834     21.61% peta2   Wildlife, Entertainment             5 bears (see pic: bit.ly/1wU0FFN) suffering in concrete pits @ a store in TN need your help! Reply X to ask owner to get them to a
                                                                                                   sanctuary ASAP! <3 peta2
     12/12/14         46,271          2,024      4.37% peta2   areacode nin 310, 424, 747, 818,    Animals drowned & frozen alive for the pet trade?! W. T. F. :( Reply X to urge local sheriff to seize all animals from Willards Rodent Factory
                                                               626, 213, 323, 562                  asap! <3 peta2
                                                                                                     Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 49 of 66

Date Sent      # sent to      # replied      ,          Group   Interest/Area                         Reply Y Text                                                                                                                                      Thank U Text                                                                 Additional Text
      12/18/14          7,354          1,258     17.11% peta2   Entertainmnet                         Ugh, look how small this tank is: http://bit.ly/13DvjXK. This turtle deserves better. Reply X to get officials to help him! <3 peta2
      12/30/14          9,250          1,376     14.88% peta2   Skins                                 Gap is still selling fur through Intermix?! That means foxes, raccoon dogs, & other animals are dying 4 profit. Reply X to tell Gap that fur is
                                                                                                      wrong! <3 peta2
        1/6/15          7,151          1,367     19.12% peta2   Interest = 1189, Areacode nin 442,     This is Nosey, chained & suffering: http://bit.ly/1AqFYjN. She needs you. Reply X to tell officials to rescue her before it's too                Thank you for showing <3 for Nosey! <3 peta2
                                                                760, 619, 858                          late! <3 peta2
       1/16/15          6,332          1,002     15.82% peta2   Interest = 1189, 1381 Keyword nin      Urgent! Bulls are chased, beaten, and killed for a festival in the Mexican state of Veracruz. Reply X to ask state officials to stop             Thank you for showing <3 for bulls! <3 peta2
                                                                VEGAN                                  this! <3 peta2
       1/27/15          2,788           573      20.55% peta2   Keyword = Missions, Vegan              Baby animals left 2 die slowly + purposely deforming animals = experiments being done @ Meat Animal Research Center. Reply                       Thank you for showing <3 for farmed animals like pigs + cows! <3 peta2
                                                                                                       X to demand these stop! <3 peta2
       1/29/15          8,374           927      11.07% peta2   Interest = 1189, 1207                  Lolita was kidnapped from her family when she was just a baby and is forced to live in a tank that is TINY compared to the                       Thank you for taking action and showing <3 for Lolita! <3 Emily from peta2
                                                                                                       ocean - just look at it! Reply X to send a message to Miami Seaquarium telling them to release Lolita to a sanctuary. <3 Emily
                                                                                                       from peta2
        2/5/15          4,781           842      17.61% peta2   PETA2 List {email exists true andfirst Christian bands r performing @ SeaWorld - even tho it's an orca prison! Reply X to urge them to cancel their shows & take a
                                                                name exists true andlast name          stand 4 orcas <3 peta2
                                                                exists true andgroup != 82523
                                                                andinterest = 1189 }
       2/19/15          2,236           320      14.31% peta2   Interest = 1381, Keyword =/mission, Ducks being drugged + killed, some even drowning to death. :( Reply X to ask Arizona officials 2 use humane alternatives to
                                                                missions, Warped Tour                  remove unwanted ducks. <3 peta2
        3/5/15          8,099          1,643     20.29% peta2   Interest = 1189, 1190 + MISSIONS       Huge news: Ringling says it will end elephant acts in 2018 - but elephants deserve freedom now! Reply X to tell Ringling that
                                                                                                       suffering eles can't wait! <3peta2
       3/11/15          5,274           874      16.57% peta2   interest in 1189, 1190; Group          A zoo in VA forces elephant Asha 2 give rides in frigid cold + has even hit her w/ a bullhook! Reply X to ask owners 2 retire her!
                                                                /=82523                                <3 peta2
       3/13/15         14,338          1,348      9.40% peta2   Interest = 1222, 1183, 1381; Group These r geese used 4 down: http://peta2.me/2r3e3. Reply X 2 tell Lululemon 2 stop selling it! <3 Emily from peta2
                                                                /=82523
       3/19/15          8,248          1,821     22.08% peta2   Interest in 1189, 1190 andareacode UniverSoul Circus rep was charged w/cruelty 4 putting bullhook in elephant's mouth! But Groupon still promotes them. :( Reply
                                                                != 202; Keyword = MISSIONS             X to tell Groupon 2 stop! <3 peta2

       3/27/15          5,879           633      10.77% peta2   email exists true andfirst name      Owls on the Harry Potter tour are being kept in tiny cages, stressed + neglected. Reply X to tell WB Studios owls are NOT living
                                                                exists true andlast name exists true props! <3 peta2
                                                                andkeyword nin vegan, mission,
                                                                missions, comic, victory, victories
                                                                andinterest in 1381, 1189, 1191,
                                                                1206 andgroup != 82523

       4/23/15          8,843           284       3.21% peta2   PETA2 List {keyword in mission,       The NIH is breaking hearts even though these experiments don't help humans. They use baby monkeys 4 cruel experiments
                                                                missions andinterest != 1192          that cause many of them 2 experience hair loss, depression + self-mutilation. Reply X to ask the NIH to have a <3 + stop these
                                                                andgroup != 82523 } PETA2 List        cruel experiments. <3 Emily from peta2
                                                                {interest = 1196 andkeyword nin
                                                                mission, missions, vegan andgroup
                                                                != 82523 }
       4/30/15          4,979           711      14.28% peta2   Entertainmnet                         Animals need u! A Metro Detroit school is using cruel "donkey basketball" 2 raise $$. Donkeys r often kicked & hit. WTF! Reply
                                                                                                      X to ask them 2 stop. <3 peta2
        5/9/15          1,178             32      2.72% peta2   viv interest                          The NIH breeds MENTALLY ILL monkeys 4 cruel experiments. Some babies r torn away from their moms & they r never allowed
                                                                                                      2 see them again. Reply X to speak up for ALL moms this Mother's Day. <3 peta2
       5/14/15         15,798           758       4.80% peta2   viv interest                          Watch what these heartless students did w/ dead cats b4 dissecting them: http://peta2.me/2rtxf. Reply X to ask school officials
                                                                                                      2 end cat dissection. <3 peta2
       5/20/15         13,642          1,009      7.40% peta2   skins                                 Gap Inc. continues 2 sell fur through INTERMIX despite knowing that some animals r bludgeoned, electrocuted & skinned alive
                                                                                                      for their fur. Reply X to tell Gap Inc. that there's no excuse 2 continue supporting the violent fur trade! <3 Emily from peta2

       5/27/15         13,075          1,164      8.90% peta2   Entertainmnet                         36 orcas have died there but Groupon continues 2 sell SeaWorld tickets. Reply X to let Groupon know it's not ok 2 profit off of others' misery.
                                                                                                      <3 peta2
        6/2/15         14,672          1,191      8.12% peta2   viv interest                          PETA found neglected monkeys in extreme pain & distress @ PPI (a dealer who sells monkeys 2 labs). Reply X to ask officials 2 take action!
                                                                                                      <3 peta2
       6/11/15         13,466           975       7.24% peta2   Entertainmnet                         She looks so sad: http://peta2.me/2tsgm. Asha is all alone @ the Natural Bridge Zoo. Reply X to urge NBZ to retire her to an
                                                                                                      accredited sanctuary. <3 peta2
       6/17/15         14,852          1,339      9.01% peta2   viv interest                          I can't believe it! Revlon pays 4 tests on animals even tho it's NOT required. WTF? Let's stop this: reply X 2 send them a msg! <3
                                                                                                      Emily from peta2
       6/24/15          5,128           764      14.89% peta2   Entertainmnet                         The bears who r suffering @ Three Bears General Store. They look so bored: http://peta2.me/2vlho. :( Reply X to ask the store
                                                                                                      2 release them 2 a sanctuary. <3 peta2
        7/1/15          6,045           495       8.18% peta2   skins                                 Live, struggling alligators r hacked 2 death for Hermes products like watchbands. Reply X to ask Hermes 2 drop cruel
                                                                                                      accessories from their stores. <3 peta2
                                                                                            Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 50 of 66

Date Sent      # sent to      # replied      ,          Group   Interest/Area               Reply Y Text                                                                                                                                    Thank U Text   Additional Text
        7/8/15         13,826          1,334      9.64% peta2   Entertainmnet               SeaWorld is lookin' 4 a place 2 hide & trying 2 set up shop in Dubai. Reply X to tell Dubai officials that animals aren't ours & to
                                                                                            keep SeaWorld out. <3 peta2
       7/16/15         14,712          1,230      8.36% peta2   Entertainmnet               Orcas deserve freedom, not just bigger prisons! Reply X to tell California officials 2 deny SeaWorld's request 2 build new orca
                                                                                            tanks! <3 Emily from peta2
       7/22/15          2,007           994      49.52% peta2   Entertainmnet               Reply X to urge officials in Indiana to cancel cruel 'pig wrestling' events. At fairs throughout Indiana pigs will be chased,
                                                                                            swarmed, tackled, & then crammed into barrel drums while surrounded by screaming crowds. <3 peta2
       7/29/15          2,835           352      12.41% peta2   viv interest                Here's Victoria's Secret: they pay 4 cruel tests on animals where they will be poisoned & killed. Reply X to ask them to end
                                                                                            these tests. <3 peta2
        8/6/15          2,351           461      19.60% peta2   Wildlife                    The bears who r suffering @ Three Bears General Store look so bored: http://peta2.me/2vlho. :( Reply X to ask the store 2 release them 2 a
                                                                                            sanctuary. <3 peta2
       8/13/15          3,179           334      10.50% peta2   Entertainmnet               36 orcas have died there but Groupon continues 2 sell SeaWorld tickets. Reply X to let Groupon know it's not ok 2 profit off of
                                                                                            others' misery. <3 peta2
       8/18/15          6,533           603       9.23% peta2   Skins                       Workers @ wool suppliers were caught standing on sheep's necks & punching lambs. Reply X to tell Patagonia there's no
                                                                                            "humane wool" & 2 stop selling it <3 peta2
       8/26/15         44,533          2,669      5.99% peta2   All Reply X                 A zoo in VA forces Asha the elephant 2 give rides for hours in the heat + has even hit her w/ a bullhook! Reply X to ask owners 2 retire her!
                                                                                            <3 peta2
        9/3/15         44,360          3,211      7.24% peta2   All Reply X                 Meet Nosey: She's crippled & in pain but is still scheduled to work at the DuQuoin State Fair. Reply X to ask officials to cancel
                                                                                            her appearance. <3 peta2
       9/10/15         41,001          2,888      7.04% peta2   All Reply X                 Morgan, an orca @ Loro Parque, is stuck in a small tank w/ orcas who attack her. Reply X to ask the Spanish gov't to release her
                                                                                            to a coastal sanctuary <3 peta2
       9/17/15         44,954          3,085      6.86% peta2   All Reply X                 Severely injured pigs suffered for weeks @ a Whole Foods "humane pork" supplier. Reply X to ask Whole Foods to drop
                                                                                            "humane meat" claims. <3 peta2
       9/24/15         51,614          5,187     10.04% peta2   All Reply X                 At CDC's labs animals r dying due 2 abuse & neglect. A calf froze 2 death in a barn known 2 have a broken heater. Reply X to ask
                                                                                            for an investigation. <3 peta2
       10/1/15         52,522          6,169     11.74% peta2   All Reply X                 SeaWorld wants 2 build new tanks 2 keep even more orcas prisoner! Reply X to tell CA officials 2 deny SeaWorld's request 4
                                                                                            more prisons! <3 Emily from peta2
       10/8/15         45,761          3,968      8.67% peta2   All Reply X                 Northeastern U. performs cruel experiments on hamsters by injecting them w/ steroids + forcing them to fight. Reply X to tell
                                                                                            them 2 stop. <3 peta2
     10/14/15          45,470          3,893      8.56% peta2   All Reply X                 The FL Dept. of Edu promotes SeaWorld as "fun" despite knowing that 36 orcas died there! Reply X to ask them to cancel these
                                                                                            cruel promotions <3 peta2
     10/21/15          45,233          4,296      9.49% peta2   All Reply X                 Kikkoman soy sauce is conducting experiments where mice, rabbits, guinea pigs, & other animals r mutilated & killed! Reply X
                                                                                            to ask them to stop! <3 peta2
     10/27/15          45,114          3,927      8.07% peta2   All Reply X                 Missouri doesn't allow students to opt-out of cruel dissections. Animals deserve better! Reply X to ask officials to allow
                                                                                            students to say no. <3 peta2
       11/4/15         44,833          3,940      8.78% peta2   All Reply X                 WTF?! A teacher in FL was caught juggling dead frogs who were killed for dissection. Reply X to ask the school to switch to non-
                                                                                            animal dissection. <3 peta2

     11/10/15          45,010          4,343      9.64% peta2   All Reply X                 Joe the chimpanzee needs help! He's been in almost complete isolation for 16 yrs @ a gross roadside zoo. Reply X to ask that
                                                                                            he be sent to a sanctuary. <3 peta2
     11/10/15           4,343          2,028     46.69% peta2   Activated by 1st Reply X    Thanks for helping Joe! Asha needs yourhelp. Reply X2 <3 peta2
     11/10/15           2,028          1,765     87.03% peta2   Activated by 2nd Reply X2   Thanks for showing love for Asha! Morgan the orca needs help! Reply X3 to ask that she be sent to a sanctuary! <3 peta2
     11/18/15          44,707          4,632     10.36% peta2   All Reply X                 Reply X to ask universities to stop buying animals from a laboratory dealer where a dog + pigs were found with painful pus-
                                                                                            filled wounds. <3 peta2

     11/25/15          44,551          4,208      9.44% peta2   All Reply X                 SeaWorld rapes & inbreeds orcas 2 keep them prisoner in tiny tanks! Reply X to tell SeaWorld 2 stop raping orcas! <3 peta2

       12/2/15         44,328          3,705      8.35% peta2   All Reply X                 Ugh! Sesame Street has partnered with SeaWorld. Reply X to send a message to Sesame Street to end all appearances of their
                                                                                            characters at SeaWorld! <3 peta2
       12/9/15         44,355          3,960      8.92% peta2   All Reply X                 Louie the chimpanzee was taken away from his mom & is being kept in solitary confinement at a roadside zoo. Reply X to help
                                                                                            get Louie to a sanctuary. <3 peta2
     12/16/15          44,190          3,345      7.56% peta2   All Reply X                 Z Gallerie sells down despite knowing that it can come from birds who r plucked so violently they're left w/ wounds! Reply X to
                                                                                            ask them to ditch down. <3 peta2
     12/23/15          44,371          3,955      8.91% peta2   All Reply X                 Nosey the abused elephant is being forced to give rides at a seedy flea market in FL. Reply X to tell Howard's Flea Market to
                                                                                            stop featuring Nosey! <3 peta2
     12/30/15          44,687          3,497      7.82% peta2   All Reply X                 Groups r funding deadly tests on mice & monkeys 4 breast cancer research. This wastes $$ + lives. Reply X to ask them 2
                                                                                            support more effective methods <3 peta2
        1/6/16         44,565          3,305      7.41% peta2   All Reply X                 Tell the NIH to retire gov-owned chimpanzees to a sanctuary. Most have been used in painful and cruel experiments. Reply X
                                                                                            now! <3 Emily from peta2
       1/13/16         44,376          4,388      9.89% peta2   All Reply X                 Omg! Drunk ppl throw bricks at bulls, snap their tails and cut off their ears at a festival in Mexico. Reply X to urge officials to
                                                                                            ban this torture! <3 peta2
       1/13/16          4,388          2,420     55.15% peta2   Activated by 1st Reply X    Thanks for speaking up for bulls! Reply X2 to Tell OU to send remaining Baboons to a sanctuary. <3 peta2
                                                                                            Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 51 of 66

Date Sent      # sent to      # replied      ,          Group   Interest/Area               Reply Y Text                                                                                                                  Thank U Text         Additional Text
       1/19/16         44,210          4,499     10.18% peta2   All Reply X                 Small animals were put into a feces-smeared cooler & gassed 2 death @ a supplier for Petco & PetSmart. Reply X to ask them to
                                                                                            stop selling all animals! <3 peta2
       1/29/16         44,073          3,064      6.95% peta2   All Reply X                 Monkeys used 4 film r taken from their moms @ birth & live in cruel conditions. Reply X to ask We Buy Ugly Houses 2 stop
                                                                                            using Monkeys in its ads. <3 peta2
        2/3/16         43,913          3,904      8.89% peta2   All Reply X                 Monkeys aren't astronauts but Russia is conducting cruel space experiments on them. Reply X to ask them to send the
                                                                                            monkeys to a sanctuary. <3 Emily from peta2
        2/3/16          3,904          2,276     58.30% peta2   Activated by 1st Reply X    Thanks! Wild coyotes are trapped & sometimes stomped to death for fur-trim jackets! Tell Canada Goose to stop selling fur,
                                                                                            reply X2 <3 peta2
       2/11/16         43,782          4,343      9.92% peta2   All Reply X                 Chai the elephant was found dead at the Oklahoma City Zoo. Reply X to ask the zoo to send the remaining elephants to a sanctuary. <3
                                                                                            peta2
       2/11/16          4,343          2,633     60.62% peta2   Activated by 1st Reply X    Thanks! Asha, the elephant, has been alone since approx. 2005, She's at The Natural Bridge Zoo. Reply X2 to ask for her to be
                                                                                            retired to a sanctuary. <3 peta2
       2/11/16          2,633          2,431     92.38% peta2   Activated by 2nd Reply X2   Thanks! Bubbles, the elephant, has been alone since 1984. Reply X3 to ask that she be retired to a sanctuary. <3 peta2
       2/18/16         44,887          4,910     10.93% peta2   All Reply X                 Rabbit fur comes from bunnies who are often skinned alive, but Revolve still sells it! Reply X to ask them to ditch fur & help bunnies. <3 peta2

       2/18/16          4,910          3,496     71.20% peta2   Activated by 1st Reply X    Thanks! Lakeway, TX is terrorizing deer by pinning them to the ground, sawing off their antlers & taking them 80 miles to be
                                                                                            killed. Reply X2 to help. <3 peta2
       2/24/16         45,472          5,129     11.28% peta2   All Reply X                 Annette the elephant was recently used as a billboard when people wrote an ad on her side! Reply X to help retire her to a sanctuary. <3
                                                                                            peta2
       2/24/16          5,129          3,818     74.44% peta2   Activated by 1st Reply X    Yay! Reply X2 to tell GEICO 2 stop using great apes in their ads! Apes r sometimes physically abused when they r forced 2
                                                                                            perform unnatural behaviors <3 peta2
        3/2/16         45,310          6,158     13.59% peta2   All Reply X                 Reply X to tell tobacco companies to stop painful & irrelevant tobacco tests on animals! Superior non-animal tests exist. <3
                                                                                            peta2
        3/2/16          6,158          4,474     72.65% peta2   Activated by 1st Reply X    Thanks! Reply X2 to tell Hermes & Prada to drop exotic skins now! Young ostriches are being slaughtered right in front of one
                                                                                            another for fashion. <3 peta2
        3/2/16          4,474          4,112     91.91% peta2   Activated by 2nd Reply X    Thanks! Reply X3 to tell The Kooples to stop selling items trimmed with fur from raccoons and other animals. <3 peta2
        3/9/16         45,811          5,665     12.36% peta2   All Reply X                 Reply X to ask the band MercyMe to have mercy on the suffering animals at SeaWorld and cancel their upcoming performance
                                                                                            there! <3 Emily from peta2
        3/9/16          5,666          4,076     71.95% peta2   Activated by 1st Reply X    Thanks! Reply X2 to ask PetSmart to stop selling animals! Turtles & other animals were denied water 4 weeks & gassed 2 death
                                                                                            @ PetSmart supplier. <3 peta2
        3/9/16          4,076          3,811     93.50% peta2   Activated by 2nd Reply X    Thanks! Reply X3 to ask University of Houston to stop tormenting live rats & replace cruel classroom experiments with modern
                                                                                            & humane learning methods. <3 peta2
       3/16/16         46,059          5,668     12.30% peta2   All Reply X                 SeaWorld just announced that Tilikum is sick! It's not okay to profit off of others' misery, reply X to tell Groupon to stop selling
                                                                                            SeaWorld tickets! <3 peta2
       3/23/16         46,037          5,789     12.57% peta2   All Reply X                 Angora bunnies scream as their fur is ripped out! Speak up now, reply X to tell Simons to stop selling fur and angora! <3 peta2

       3/30/16         45,868          5,052     10.22% peta2   All Reply X                 The American Association of Orthodontists is holding an event at cruel SeaWorld. Speak up & let AAO know its not chill, reply X now. <3
                                                                                            peta2
       3/31/16         45,831          4,775      5.71% peta2   All Reply X                 Reply X2 to tell DSW to stop selling fur and angora wool! Animals on fur farms spend their entire lives confined to cramped filthy wire cages.
                                                                                            <3 peta2
        4/6/16         45,780          5,772     12.61% peta2   All Reply X                 Reply X to tell Westgate Las Vegas Resort & Casino to drop Dirk Arthur. He declawed lions and tigers and denied animals the
                                                                                            opportunity to exercise. <3 peta2
        4/6/16          5,772          4,422     76.61% peta2   Activated by 1st Reply X    Reply X2 to tell San Diego Bowl Game Association to stop promoting SeaWorld. 37 orcas have died there! <3 peta2
       4/13/16         46,268          5,539     11.97% peta2   All Reply X                 Reply X to ask Amazon to put pressure on their partner Air Transport Services Group to end the transport of monkeys to
                                                                                            laboratories. <3 peta2
       4/13/16          5,539          4,249     76.71% peta2   Activated by 1st Reply X    Thanks! Reply X2 to tell Backcountry.com to stop selling fur & angora wool. Animals on fur farms spend their entire lives
                                                                                            confined to filthy wire cages <3 peta2
       4/13/16          4,249          4,025     94.73% peta2   Activated by 2nd Reply X    Thanks! Reply X3 to tell Canada to end it's shameful seal slaughter now! Many of the seals who are killed have never taken
                                                                                            their first swim. <3 peta2
       4/18/16         46,161          6,544     14.17% peta2   All Reply X                 Reply X to ask Peruvian officials to stop a cruel festival where villagers strap a dog to the back of a bull & then both animals are violently
                                                                                            killed <3 peta2
       4/18/16          6,544          4,927     75.29% peta2   Activated by 1st Reply X    Thanks! Reply X2 to tell Security Square Mall in Baltimore to cancel the UniverSoul Circus performance. Animals suffer in circuses! <3 peta2

       4/18/16          4,927          4,565     92.65% peta2   Activated by 2nd Reply X    Reply X3 to ask magicians Rick Thomas and Michael Turco to cancel their acts at SeaWorld and perform somewhere else! <3 peta2
       4/27/16         46,120          5,965     12.93% peta2   All Reply X                 Reply X to tell AARP elephants used for ads are trained through intimidation & violence. <3 peta2
        5/4/16         46,072          5,715     12.40% peta2   All Reply X                 Lolita was kidnapped from her fam & is forced to live in the smallest tank in North America! Reply X to ask Miami Seaquarium
                                                                                            to send her to a sanctuary <3 peta2
        5/4/16          5,715          5,501     96.25% peta2   Activated by 1st Reply X    Thanks! I can't believe it! Revlon pays for cruel tests on animals in China. Reply X2 to ask them to stop! <3 Bridget from peta2

       5/11/16         46,412          6,091     13.12% peta2   All Reply X                 Reply X to tell Ringling to take all animals off of the road and send them to true sanctuaries. <3 peta2
       5/11/16          6,091          4,549     74.68% peta2   Activated by 1st Reply X    Thanks! Reply X2 to tell HomeVestors to join responsible companies by pulling its ad featuring monkeys. <3 peta2
       5/17/16         46,422          5,845     12.59% peta2   All Reply X                 OMG! During dissection, students used a dead cat's intestines as a jump rope in a TX high school! Reply X to ask the school to end
                                                                                            dissection. <3 peta2
                                                                                           Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 52 of 66

Date Sent      # sent to      # replied      ,          Group   Interest/Area              Reply Y Text                                                                                                                        Thank U Text   Additional Text
       5/17/16          5,845          4,786     81.88% peta2   Activated by 1st Reply X   Thanks! Reply X2 to ask the Wilmington Blue Rockets to cancel their event where scared monkeys r tied to dogs & r violently
                                                                                           jerked around & risk injury <3 peta2
       5/25/16         46,505          5,695     12.24% peta2   All Reply X                Reply X to tell the San Antonio Bowl Association not to partner with SeaWorld until the orcas are retired to a seaside sanctuary.
                                                                                           <3 peta2
       5/25/16          5,529          4,761     83.95% peta2   Activated by 1st Reply X   Victoria's Secret is discontinuing its catalogs. Reply X2 to tell them to discontinue their painful and deadly tests on animals! <3
                                                                                           peta2
       5/25/16          4,622          4,410     95.41% peta2   Activated by 2nd Reply X   Missouri doesn't allow students to opt-out of cruel dissections. Animals deserve better! Reply X3 to ask officials to allow
                                                                                           students to say no. <3 peta2
        6/1/16         46,421          5,603     12.06% peta2   All Reply X                A Tennessee Farm Bureau Federation is encouraging students to stab & kill frogs for a fundraiser! Reply X to ask them to stop! <3 peta2

        6/1/16          5,603          4,668     83.31% peta2   Activated by 1st Reply X   Lands' End knows that down is sometimes ripped from fully conscious geese leaving them with painful wounds. Reply X2 to ask
                                                                                           them to stop selling down. <3 peta2
        6/1/16          4,668          4,421     94.70% peta2   Activated by 2nd Reply X   Brookhaven Fair is hosting a cruel "Banana Derby." Terrified monkeys are strapped to the backs of dogs! Reply X3 to ask them
                                                                                           to stop. <3 peta2
        6/9/16         46,333          6,045     13.04% peta2   All Reply X                Reply X to tell Chilean officials to prosecute workers who cut into the necks of fully conscious sheep! <3 peta2
        6/9/16          6,045          5,019     83.02% peta2   Activated by 1st Reply X   Reply X2 to tell Gilt that it is guilty for supporting the cruel and bloody skins industry and to stop selling all exotic skins. <3
                                                                                           peta2
        6/9/16          5,019          4,364     86.94% peta2   Activated by 2nd Reply X   She looks so sad: peta2.me/2x3r6. Asha is all alone @ the Natural Bridge Zoo. Reply X3 to urge NBZ to retire her to an
                                                                                           accredited sanctuary. <3 peta2
       6/15/16         46,198          6,048     13.09% peta2   All Reply X                Reply X to tell Circus World to retire elephants and all animals from their shows. <3 peta2
       6/15/16          6,048          4,927     81.46% peta2   Activated by 1st Reply X   Reply X2 to tell Camp Kids Klub to stop supporting abusive companies, and urge it to cancel its scheduled trip to SeaWorld. <3
                                                                                           peta2
       6/15/16          4,927          4,518     91.69% peta2   Activated by 2nd Reply X   Z Gallerie sells down despite knowing that it can come from birds who r plucked so violently they're left w/ wounds! Reply X3
                                                                                           to ask them to ditch down <3 peta2
       6/22/16         46,059          5,531     12.00% peta2   All Reply X                Small animals were put in a feces-smeared cooler & gassed 2 death @ a mill that supplied Petco & PetSmart. Reply X to ask them to stop
                                                                                           selling animals! <3 peta2
       6/22/16          5,531          4,719     85.31% peta2   Activated by 1st Reply X   Reply X2 to tell the USDA to do its job & ban bear pits! These prisons don't offer bears sufficient area to roam or any
                                                                                           meaningful mental stimulation. <3 peta2
       6/22/16          4,719          4,494     95.23% peta2   Activated by 2nd Reply X   Reply X3 to tell UGGs to stop using cruelly obtained skin from sheep and make a vegan shoe instead! <3 peta2
       6/29/16         48,080          5,462     11.36% peta2   All Reply X                Reply X to tell CBS to stop using live animals in the show Zoo. Animals used for TV often spend most of their lives alone, locked in filthy
                                                                                           cages <3 peta2
       6/29/16          5,462          4,579     83.83% peta2   Activated by 1st Reply X   Reply X2 to tell Craigslist to ban "Free to a Good Home" ads. Animals adopted through these ads are often placed in dangerous
                                                                                           situations. <3 peta2
       6/29/16          4,579          4,378     95.61% peta2   Activated by 2nd Reply X   37 orcas have died there but Groupon continues 2 sell SeaWorld tickets. Reply X3 to let Groupon know it's not ok 2 profit off of
                                                                                           others' misery. <3 peta2
       6/29/16          4,378          4,170     95.24% peta2   Activated by 3rd Reply X   Young ostriches are butchered for "luxury" bags. Reply X4 to tell Hermes to stop selling ostrich and other exotic skins! <3 peta2

        7/7/16         46,145          5,418     11.74% peta2   All Reply X                PETA found live hermit crabs thrown in the trash at a self-proclaimed Petco & PetSmart supplier. Reply X to tell them to stop selling animals
                                                                                           <3 peta2
        7/7/16          5,418          4,648     85.79% peta2   Activated by 1st Reply X   Sea Lion Splash is a traveling show that subjects sea lions to neglect & reportedly abuses them! Reply X2 to tell fair organizers 2
                                                                                           cancel plans w/ SLS <3 peta2
        7/7/16          4,648          4,412     94.92% peta2   Activated by 2nd Reply X   Reply X3 to ask The Great Lakes Medieval Faire in Ohio to cancel their plans to host Nosey, the crippled elephant! <3 peta2

       7/13/16         46,092          5,628     12.21% peta2   All Reply X                Louie the chimpanzee was taken away from his mom & is being kept in solitary confinement at a roadside zoo. Reply X to help get Louie to a
                                                                                           sanctuary. <3 peta2
       7/13/16          5,628          4,556     80.95% peta2   Activated by 1st Reply X   Backyard Brains sells live animals & surgery kits that are used to mutilate & torture roaches. Reply X2 to ask them to stop. <3
                                                                                           peta2
       7/13/16          4,556          4,422     96.84% peta2   Activated by 2nd Reply X   Bubbles the elephant has been alone since 1984. Reply X3 to ask that she be retired to a sanctuary. <3 peta2
       7/20/16         45,942          5,208     11.34% peta2   All Reply X                Reply X to tell Backcountry.com to stop selling fur & angora wool. Animals on fur farms spend their entire lives confined to filthy wire cages
                                                                                           <3 peta2
       7/20/16          5,208          4,507     86.53% peta2   Activated by 1st Reply X   Reply X2 to tell travel companies to stop offering dangerous elephant rides. Elephants used for these rides are usually beaten
                                                                                           mercilessly <3 peta2
       7/20/16          4,507          4,339     96.27% peta2   Activated by 2nd Reply X   Chai the elephant was found dead at the Oklahoma City Zoo. Reply X3 to ask the zoo to send the remaining elephants to a
                                                                                           sanctuary. <3 peta2
       7/27/16         45,952          5,334     11.60% peta2   All Reply X                The Grandview Aquarium is keeping 500 species, including 2 polar bears in empty concrete enclosures! Reply X to help close this inhumane
                                                                                           place. <3 peta2
       7/27/16          5,334          4,728     88.63% peta2   Activated by 1st Reply X   Missouri doesn't allow students to opt-out of cruel dissections. Animals deserve better! Reply X2 to ask officials to allow
                                                                                           students to say no. <3 peta2
       7/27/16          4,728          4,302     90.99% peta2   Activated by 2nd Reply X   Reply X3 to tell Ringling to take all animals off of the road and send them to true sanctuaries. <3 peta2
       7/30/16         45,927          5,338     11.62% peta2   All Reply X                Reply X to tell the WI State Fair to cancel its plans to host Sea Lion Splash. An eyewitness saw the sea lions used for the show
                                                                                           being beaten w/ pipes <3 peta2
        8/5/16         45,938          5,634     12.37% peta2   All Reply X                Reply X to ask an OH fair to cancel their plans to host Nosey the elephant. She has been shackled in chains and forced to give rides! <3
                                                                                           peta2
                                                                                           Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 53 of 66

Date Sent      # sent to      # replied      ,          Group   Interest/Area              Reply Y Text                                                                                                                                     Thank U Text   Additional Text
        8/5/16          5,634          4,742     83.93% peta2   Activated by 1st Reply X   Reply X2 to ask Amazon to stop selling civet coffee. AKA coffee made with poop from animals who are kept in tiny barren
                                                                                           cages. <3 peta2
        8/5/16          4,742          4,549     96.06% peta2   Activated by 2nd Reply X   Reply X3 to tell AARP elephants used for ads are trained through intimidation & violence. <3 peta2
        8/9/16         45,892          5,549     12.09% peta2   All Reply X                Reply X to ask the Tri-State Zoo to retire the animals it confines to a sanctuary. A capuchin monkey is caged all alone there! <3
                                                                                           peta2
        8/9/16          5,549          4,856     87.51% peta2   Activated by 1st Reply X   Reply X2 to tell the Pamplona officials to stop the violence at the San Fermin festival where 54 bulls have died and there have
                                                                                           been sexual assaults. <3 peta2
        8/9/16          4,856          4,675     92.27% peta2   Activated by 2nd Reply X   Reply X3 to ask Summer Wind Farms to retire the animals it confines to a sanctuary. They've been fined for locking a tiger cub
                                                                                           in a basement! <3 peta2
       8/17/16         46,543          5,773     12.40% peta2   All Reply X                Reply X to ask Microsoft to stop offering virtual fieldtrips to Ringling Bro.'s compound. Ellies are chained on cement floors for up to 23 hrs
                                                                                           daily <3 peta2
       8/17/16          5,773          4,996     86.54% peta2   Activated by 1st Reply X   Reply X2 to ask that "no-kill rescue" owners charged with 282 counts of cruelty to animals not be allowed to own animals again
                                                                                           <3 peta2
       8/17/16          4,996          4,774     95.55% peta2   Activated by 2nd Reply X   Reply X3 to tell the USDA to do its job & ban bear pits! These prisons don't offer bears sufficient area to roam or any
                                                                                           meaningful mental stimulation. <3 peta2
       8/23/16         56,984        10,198      17.89% peta2   All Reply X                Reply X to ask fairs to cancel events where sharks are displayed & harassed in tiny tanks. They are deprived of everything
                                                                                           natural to them. <3 peta2
       8/23/16         10,198          8,305     81.43% peta2   Activated by 1st Reply X   Victoria's Secret pays for cruel tests on animals in China where they will be poisoned & killed. Reply X2 to ask them to end
                                                                                           these tests. <3 peta2
       8/23/16          8,305          7,368     88.93% peta2   Activated by 2nd Reply X   Backyard Brains sells live animals & surgery kits that are used to mutilate & torture roaches. Reply X3 to ask them to stop. <3
                                                                                           peta2
       8/31/16         56,919        10,867      19.09% peta2   All Reply X                Reply X to tell the Bronx Zoo to retire Happy the elephant to a sanctuary. She has been alone for 9 years. <3 Bridget from peta2
       8/31/16         10,867         8,173      75.20% peta2   Activated by 1st Reply X   Reply X2 to tell Craigslist to ban "Free to a Good Home" ads. Animals adopted through these ads are often placed in dangerous
                                                                                           situations. <3 peta2
       8/31/16          8,173          7,515     91.95% peta2   Activated by 2nd Reply X   PETA found live hermit crabs thrown in the trash at a self-proclaimed Petco & PetSmart supplier. Reply X3 to ask them to stop
                                                                                           selling animals <3 peta2
        9/7/16         56,935        10,770      18.92% peta2   All Reply X                Reply X to ask Santa Monica College to end cat dissections--they even dissect pregnant cats! Students and animals deserve
                                                                                           better <3 peta2
        9/7/16         10,770          8,643     80.25% peta2   Activated by 1st Reply X   Reply X2 to ask officials to shut down monkey prison Primate Products, Inc. Another monkey was just found dead there! <3
                                                                                           Bridget from peta2
        9/7/16          8,643         8,289      95.90% peta2   Activated by 2nd Reply X   Reply X3 to tell Spain to shut down bullfighting schools. Kids are learning to slice off the ears of baby bulls! <3 peta2
       9/14/16         56,786        10,830      19.07% peta2   All Reply X                Bubbles the elephant has been alone since 1984. Reply X to ask that she be retired to a sanctuary. <3 peta2
       9/14/16         10,830         8,569      79.12% peta2   Activated by 1st Reply X   Thanks! Reply X2 to tell Hermes & Prada to drop exotic skins now! Young ostriches are being slaughtered right in front of one
                                                                                           another for fashion. <3 peta2
       9/14/16          8,596          8,056     94.01% peta2   Activated by 2nd Reply X   Missouri doesn't allow students to opt-out of cruel dissections. Animals deserve better! Reply X3 to ask officials to allow
                                                                                           students to say no. <3 peta2
       9/21/16         56,572        10,743      18.99% peta2   All Reply X                Reply X to tell SeaWorld to release Corky to a seaside sanctuary. She's locked inside one of SeaWorld's tiny tanks. <3 peta2
       9/21/16         10,743         8,835      82.24% peta2   Activated by 1st Reply X   Reply X2 to tell Tel Aviv University to stop abusing animals in its facilities. Dead animals' decaying bodies were left in cages with
                                                                                           living animals. <3 peta2
       9/21/16          8,835          8,209     92.91% peta2   Activated by 2nd Reply X   Reply X3 to tell AirBridgeCargo to get on board with compassion and adopt a ban on transporting primates to their death! <3
                                                                                           Bridget from peta2
       9/28/16         58,165        11,043      18.98% peta2   All Reply X                Reply X to tell Texas A&M University-Commerce to stop abusing horses. A pregnant horse was shot to death and her baby was
                                                                                           cut from her body there! <3 peta2
       9/28/16         11,043          9,285     84.08% peta2   Activated by 1st Reply X   Reply X2 to tell the Bronx Zoo to retire Happy the elephant to a sanctuary. She has been alone for 9 years. <3 Bridget from
                                                                                           peta2
       9/28/16          9,285          8,375     90.20% peta2   Activated by 2nd Reply X   Lands' End knows that down is sometimes ripped from fully conscious geese leaving them with painful wounds. Reply X3 to ask
                                                                                           them to stop selling down. <3 peta2
       10/5/16         60,074        10,860      18.07% peta2   All Reply X                Reply X to tell Hallmark Cards to stop selling greeting cards featuring captive chimpanzees. Physical abuse is common in the
                                                                                           entertainment industry. <3 peta2
       10/5/16         10,860          9,286     85.50% peta2   Activated by 1st Reply X   Reply X2 to ask Santa Monica College to end cat dissections--they even dissect pregnant cats! Students and animals deserve
                                                                                           better <3 peta2
       10/5/16          9,286          8,724     93.94% peta2   Activated by 2nd Reply X   37 orcas have died there but Groupon continues 2 sell SeaWorld tickets. Reply X3 to let Groupon know it's not ok 2 profit off of
                                                                                           others' misery. <3 peta2
     10/12/16          59,757        11,048      18.48% peta2   All Reply X                1000s of horses are used in experiments where huge needles are used to take large amounts of blood from them! Reply X to
                                                                                           ask them to use alternatives <3 peta2
     10/12/16          11,048          9,464     85.66% peta2   Activated by 1st Reply X   Reply X2 to tell Yellville officials & sponsors to end the cruel turkey drop where live turkeys were hurled from a plane! At least 2
                                                                                           turkeys died <3 peta2
     10/12/16           9,464          9,011     95.21% peta2   Activated by 2nd Reply X   Reply X3 to tell a museum to close their crocodiles exhibit. They are kept in small tanks and signs encourage people to buy
                                                                                           crocodile skins. <3 peta2
     10/19/16          59,501        10,699      17.98% peta2   All Reply X                Reply X to tell Fab to stop selling fur & angora wool right now! Animals are being skinned alive for their fur & Fab is making $$
                                                                                           off of it! <3 peta2
                                                                                           Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 54 of 66

Date Sent      # sent to      # replied      ,          Group   Interest/Area              Reply Y Text                                                                                                                                    Thank U Text   Additional Text
      10/19/16         10,699          9,177     85.77% peta2   Activated by 1st Reply X   Reply X2 to tell LSU to stop using live tiger mascots! Mike VI was the sixth tiger exploited by the school and he just died! <3
                                                                                           Bridget from peta2
     10/19/16           9,177          8,843     96.36% peta2   Activated by 2nd Reply X   Reply X3 to tell UGGs to stop using cruelly obtained skin from sheep and make a vegan shoe instead! <3 peta2
     10/19/16           8,843          8,360     94.54% peta2   Activated by 3rd Reply X   Reply X4 to ask the remaining 27 states who don't offer students the right to say no to dissection to change their policy!
                                                                                           Students deserve better. <3 peta2
     10/26/16          59,261        10,873      18.34% peta2   All Reply X                Reply X to ask an Indiana festival to never host Nosey the elephant again. She has been kept in chains and forced to perform cruel tricks for
                                                                                           years! <3 peta2
     10/26/16          10,873          9,401     86.46% peta2   Activated by 1st Reply X   DCWT took newborn tiger cubs away from their mothers & used them as props! Reply X2 to ask them to send the tigers to a
                                                                                           sanctuary. <3 peta2
     10/26/16           9,401          8,990     95.62% peta2   Activated by 2nd Reply X   The Grandview Aquarium is keeping bears, whales, and wolves in barren concrete tanks! Reply X3 to help close this cruel place.
                                                                                           <3 peta2
     10/26/16           8,990          8,585     95.49% peta2   Activated by 3rd Reply X   Reply X4 to tell SeaWorld to release Corky to a seaside sanctuary. She's locked inside one of SeaWorld's tiny tanks. <3 peta2

       11/2/16         65,972        14,100      21.37% peta2   All Reply X                Reply X to tell an Alabama church that is planning to boil thousands of animals alive for money to use a cruelty-free fundraiser
                                                                                           instead. <3 peta2
       11/2/16         14,100        11,576      82.90% peta2   Activated by 1st Reply X   Reply X2 to tell the University of Montana to stop killing animals. They killed 6-month-old baby pigs. <3 peta2
       11/2/16         11,576        10,752      92.88% peta2   Activated by 2nd Reply X   Reply X3 to tell Hallmark Cards to stop selling greeting cards featuring captive chimpanzees. Abuse is common in the
                                                                                           entertainment industry. <3 peta2
       11/2/16         10,752        10,286      95.67% peta2   Activated by 3rd Reply X   Reply X4 to ask Amazon to stop selling civet coffee--AKA coffee made with poop from animals who are kept in tiny barren
                                                                                           cages. <3 peta2
       11/3/16         65,773        10,745      16.34% peta2   All Reply X                BREAKING: Reply X5 to tell Israel to stop cruel slaughter practices abroad. Still-conscious cows were cut into & stabbed in the
                                                                                           spine for 'kosher' meat <3 peta2
       11/9/16         68,608                           peta2   All Reply X                Reply X to tell the Akron Zoo to ban cruel touch tanks! Kids have been bitten by stingrays in touch tanks & dozens of animals have died. <3
                                                                                           peta2
       11/9/16                      735,744             peta2   Activated by 1st Reply X   Reply X2 to ask WA State Fair not to host Pocket Pets a traveling co. that sells sugar gliders & reportedly breeds them in
                                                                                           facilities like puppy mills <3 peta2
       11/9/16                                          peta2   Activated by 2nd Reply X   Reply X3 to tell the USDA to do its job & ban bear pits! Bears deserve better than cramped and barren concrete cells! <3 peta2

       11/9/16                                          peta2   Activated by 3rd Reply X   Reply X4 to ask Anna Louise the elephant to be released from Kelly Miller Circus to a sanctuary. She's been suffering alone for
                                                                                           27 yrs. <3 peta2
     11/16/16                                           peta2   All Reply X
     11/16/16                                           peta2   Activated by 1st Reply X
     11/16/16                                           peta2   Activated by 2nd Reply X
     11/16/16                                           peta2   Activated by 3rd Reply X
     11/23/16                                           peta2   All Reply X
     11/23/16                                           peta2   Activated by 1st Reply X
     11/23/16                                           peta2   Activated by 2nd Reply X
     11/23/16                                           peta2   Activated by 3rd Reply X
     11/30/16                                           peta2   All Reply X
     11/30/16                                           peta2   Activated by 1st Reply X
     11/30/16                                           peta2   Activated by 2nd Reply X
     11/30/16                                           peta2   Activated by 3rd Reply X
      12/7/16                                           peta2   All Reply X
      12/7/16                                           peta2   Activated by 1st Reply X
      12/7/16                                           peta2   Activated by 2nd Reply X
      12/7/16                                           peta2   Activated by 3rd Reply X
     12/14/16                                           peta2   All Reply X
   12/14/2016                                           peta2   Activated by 1st Reply X
   12/14/2016                                           peta2   Activated by 2nd Reply X
   12/14/2016                                           peta2   Activated by 3rd Reply X
   12/21/2016                                           peta2   All Reply X
   12/21/2016                                           peta2   Activated by 1st Reply X
   12/21/2016                                           peta2   Activated by 2nd Reply X
   12/21/2016                                           peta2   Activated by 3rd Reply X
   12/28/2016                                           peta2   All Reply X
   12/28/2016                                           peta2   Activated by 1st Reply X
   12/28/2016                                           peta2   Activated by 2nd Reply X
   12/28/2016                                           peta2   Activated by 3rd Reply X
                                                                                                   Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 55 of 66

3                    # sent to         # replied         % responded     Group     Interest/Area    Reply Y Text                                                                                                             Thank You Text                                                                                                  Additional Text
3/1/12                            65                26            40.00% PETA CA                    Reply Y now to tell Avon, Mary Kay + Estee Lauder that U won't buy their products while they pay 4 tests on
                                                                                                    animals! <3 PETA
3/16/12                           80                27           33.75% PETA CA                     PETA investigation reveals calves burned 4 maker of Cabot Cheese. Reply Y to ask CEO 2 improve animal welfare            Thanks for speaking up for abused cows! <3 PETA
                                                                                                    at suppliers. <3 PETA
3/28/12                          450                64           14.22% PETA CA                     The seal hunt has begun! Stand up for seals + Reply with the word PLEDGE to promise to tell 5 friends why it's           Thanks for pledging to tell 5 friends! Reply to this msg w/a comment about why the slaughter needs to end Thanks for speaking up for seals! <3 PETA
                                                                                                    wrong to wear fur. <3 PETA                                                                                               today! <3 PETA
4/6/12                           148                30           20.27% PETA CA                     speak ^ 4 bunnies @easter! Reply Y 2 ask drug co.'s 2 end cruel tests on bunnies + switch 2 non-animal tests 4           Thanks for speaking up for bunnies! <3 PETA                                                               Thanks for speaking up for Seals! <3 PETA
                                                                                                    dog/cat products <3 PETA
5/25/12                          226                55           24.34% PETA CA                     Lonely lion,Diego,is languishing in barren cage @ Mexican zoo! Reply Y to urge Mexican officials 2 transfer him 2        Thank you for asking Mexican officials to send Diego to a U.S. sanctuary! <3 PETA
                                                                                                    U.S. sanctuary! <3PETA
5/31/12                          235                57           24.26% PETA CA                     Shriners support suffering! Reply Y to urge Shriners International to stop funding burn experiments on animals.          Thank you for asking Shriners International to stop funding the painful suffering of animals in medical labs.
                                                                                                    <3 PETA                                                                                                                  <3 PETA
6/15/12                          271                53           19.56% PETA CA                     Angel’s Gate is a HELLHOLE & deprives suffering animals of care. Reply Y 2 urge NY Attorney General 2 dissolve           Ange's Gate has got 2 go! Thanks for seeking justice for suffering animals! <3 PETA
                                                                                                    Angel’s Gate & save its victims. <3 PETA
6/22/12                          281                50           17.79% PETA CA                     Urban Decay needs2 MAKE UP their minds. Selling in China means cruel tests on animals. Reply Y 2 tell them 2             Tnx 4 saying "no way" 2 Urban Decay. U can stay beautiful & cruelty free w/our Be Nice to Bunnies app:
                                                                                                    stay cruelty fre. <3 PETA                                                                                                bit.ly/petabnb. (Also online @ bit.ly/donttest) <3 PETA
6/28/12                          302                57           18.87% PETA CA                     Plans 2 capture & imprison dolphins 4 FUN R underway! Reply Y 2 tell the chief minister of Maharashtra 2 stop            Thanks for speaking out against illegal and unncessary imprisonment of marine animals! <3 PETA
                                                                                                    this prison park. <3 PETA
7/12/12                          316                49           15.51% PETA CA                     This goat will frz her tongue 2a pole if u don't help: bit.ly/goatpic. Reply Y 2urge US military 2stop killing animals   Thanks for helping goats! Here’s the full article on BuzzFeed: http://bit.ly/OqYGO8 <3 PETA
                                                                                                    4trauma training. <3 PETA
7/19/12                          326                63           19.33% PETA CA                     Reply Y 2urge USDA 2stop circuses from kping sick elephants. Protect public health! Sick elephants can cause TB          Thx! US Anml Hlth Assoc. has elephant TB guidelines. Til USDA adopts them, circuses’ll kp sick anmls on the
                                                                                                    in humans. <3 PETA                                                                                                       rd. so sprd the wrd. <3 PETA
8/10/12                          366                52           14.21% PETA CA                     A kit is not a kid! Reply Y 2urge Madigan Army Medical Cntr 2teach intubation on lifelike simulators, not by             Thank you for speaking out against this archaic and cruel training! <3 PETA
                                                                                                    tormenting ferrets <3 PETA
8/31/12                          382                55           14.40% PETA CA                     Not just a haircut: lambs R often MUTILATED 4 wool. Reply Y 2urge Jones Group 2stop selling Australian wool              Thanks for asking The Jones Group 4 a better sweater! <3 PETA
                                                                                                    &find kinder sources <3 PETA
9/18/12                          405                62           15.31% PETA CA                     Univ.Madison experimntrs deafn cats, implant coils in their eyes&drill their skulls. Reply Y 2urge NIH 2cut funding
                                                                                                    now! <3 PETA
11/2/12                          452                67           14.82% PETA CA                     GuZoo in Alberta has filthy, feces-ridden enclosures w/carcasses left out 2rot. Reply Y 2ask officials 2close it         Thanks for asking those responsible for this roadside prison to relocate the animals to a reputable
                                                                                                    permanently. <3 PETA                                                                                                     sanctuary. <3 PETA
11/15/12                         480                71           14.79% PETA CA                     Every year bulls are set ON FIRE in a sadistic festival in Soria, Spain. Reply Y to urge Soria officials to ban the      Thanks for asking officials to ban this cruel festival and protect bulls. <3 PETA
                                                                                                    festival. <3 PETA
1/17/13                          588                81           13.78% PETA CA                     Almost every airline in the world refuses to fly monkeys to labs for torture. Reply Y to tell Air France to join them.   Thank you for asking Air France to stop shipping monkeys to labs where they are cut into, poisoned and
                                                                                                    <3 PETA                                                                                                                  killed. <3 PETA
1/25/13                          602                76           12.62% PETA CA                     Animal ctrl officer Christopher Cerda allegedly beat a dog 2 death. Reply Y to urge officials to reassign Cerda b4       Thank you for asking Stamford officials to keep Cerda away from animals. Lives may depend upon this
                                                                                                    he strikes again. <3 PETA                                                                                                decision. <3 PETA
3/8/13                           678                54             7.96% PETA CA                    Reply Y 2urge officials 2stop funding a university lab where animals r frozen 2death, cut into, dehydrate&starve,        Thank you for speaking out against cruel and unnecessary experiments. <3 PETA
                                                                                                    w/o pain meds. <3 PETA
3/14/13                          682                95           13.93% PETA CA                     Reply Y to urge North Face 2give up down: feathers from birds who r pinnd down &plucked raw, their skin torn             Thanks! The down industry & the foie gras industry are products of the same cruelty. Say no to both to end
                                                                                                    open w/o painkillrs <3 PETA                                                                                              the suffering. <3 PETA
3/27/13                          680                79           11.62% PETA CA                     Reply Y to urge the Canadian military to stop testing chemical weapons on pigs, causing them seizures, bleeding,         Thanks for helping pigs by encouraging the Canadian military to use superior non-animal training methods.
                                                                                                    and DEATH! <3 PETA                                                                                                       <3 PETA
4/9/13      4:30pm               721               108           14.98% PETA CA                     CANADA: There's blood on the ice! Reply Y to urge gov't officials to end the senseless seal slaughter! <3 PETA           Thank you for helping seals! <3 PETA

5/3/2013    3:30pm               748                93           12.43% PETA CA                     Calgary Stampede races cause horses broken legs &backs, heart attacks &death. Reply Y 2ask Alberta Premier
                                                                                                    2stop these races. <3 PETA
5/17/2013   3:30pm               770               106           13.77% PETA CA                     Reply Y 2ask Canadian PM 2 help bears and their cubs dying from blood loss, infection or starvation b/c of "bait
                                                                                                    &shoot" hunting <3 PETA
5/25/2013   1:30pm               772                89           11.53% PETA CA                     Philippine Airlines- 1of the LAST still shipping primates 2labs 2have holes DRILLED in their skulls! Reply Y 2ask        Thank you for urging Philippine Airlines to join almost every other airline in the world in making a kind
                                                                                                    them 2stop. <3 PETA                                                                                                      choice for primates! <3 PETA
5/31/2013   3:30pm               768                93           12.11% PETA CA                     Each yr ~250K bulls r lanced, shot & stabbed to death! Reply Y to urge the Spanish ambassador to help end                Thank you. With the rich culture in Spain, Bullfighting does not need to be protected as a national sport. <3
                                                                                                    bullfighting in Spain. <3 PETA                                                                                           PETA
6/8/13      3:30pm               769               105           13.65% PETA CA                     Canada: There's a church in the US poisoning wildlife, causing convulsions, vomiting & DEATH! Reply Y to get             Thank you for speaking up for prairie dogs and other animals at risk from these deadly poisons. <3 PETA
                                                                                                    them to stop. <3 PETA
6/18/13     3:30pm               831               129           15.52% PETA CA                     Reply Y to urge Shrine Circus venues in Canada 2cancel b/c of reports that they beat animals like whipping tigers
                                                                                                    in the FACE! <3 PETA
6/21/13     6:00pm               833               183           21.97% PETA CA                     Reply Y to urge NY town to humanely control Canada geese by airport, not KILL them. <3 PETA                              Thank you for helping geese! <3 PETA
6/28/13     5:30pm               839               157           18.71% PETA CA                     Reply Y 2urge festival in US not 2work w/known animal abuser who tortures Nosey the elephant, chaining                   Thank you for speaking out for Nosey! <3 PETA
                                                                                                    &forcing her 2give rides. <3 PETA
7/5/13      5:00pm               846               177           20.92% PETA CA                     It's happening again! Reply Y to urge a SECOND town in the US not to have Canada geese executed just for living          Thank you for helping geese! <3 PETA
                                                                                                    there. :( <3 PETA
                                                                                                            Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 56 of 66

3                           # sent to           # replied         % responded     Group     Interest/Area    Reply Y Text                                                                                                        Thank You Text                                                                                                 Additional Text
7/26/13     5:00pm                       863                152            17.61% PETA CA                    Thanks 2 PETA, most major airlines won't ship primates 2 their DEATHS in labs. Reply Y to finally get Air France to
                                                                                                             join them! <3 PETA
8/6/13      5:00pm ET                    890                192           21.57% PETA CA                     Reply Y to urge authorities to send Mali the elephant to a sanctuary. She's lived in a barren, concrete prison      Thanks for speaking up for Mali! She deserves a new home w/ponds to bathe in, fresh veggies & the company of
                                                                                                             ALONE for 35 yrs! <3 PETA                                                                                           other elephants! <3 PETA
8/12/2013   5:15pm ET                    894                165           18.46% PETA CA                     Reply Y to urge a U.S. aquarium to retire Lolita the Orca! Ripped from the wild, she's been stuck in a tiny tank
                                                                                                             alone >30yrs! <3 PETA
8/16/13     5:30pm ET                    905                174           19.23% PETA CA                     Reply Y urge a US Air Force Base to stop shoving plastic tubes down ferrets' throats for intubation training!! <3
                                                                                                             PETA
8/27/13     5:30pm ET                    916                167           18.23% PETA CA                     Reply Y 2urge Anchorman 2 producers 2cut scenes @SeaWorld. There's nothing funny about a place where orcas
                                                                                                             are abused prisoners. <3 PETA
9/3/13      5:00pm ET                    921                165           17.92% PETA CA                     Reply Y 2urge Sears not to use animals in ads! They are ripped from their homes, endure hours of stress &
                                                                                                             sometimes even die! <3 PETA
9/13/13     5:00pm ET                    911                192           21.08% PETA CA                     Reply Y to tell Amtrak 2stop promoting Ringling Bros. cruel circus, where baby elephants are tied up, beaten,
                                                                                                             &forced 2perform! <3 PETA
9/20/13     5:30pm                       809                205           25.34% PETA CA                     US football’s a blood sport! NFL experiments are killing dogs & bashing rats’ heads in w/weights. Reply Y to tell them to
                                                                                                             stop! <3 PETA
10/25/13    5:30pm                       868                177           20.39% PETA CA                     Reply Y to urge Soria, Spain officials to ban the sick, archaic Toro Jubilo, where bulls are TORTURED w/fire, then
                                                                                                             eaten! <3 PETA
11/8/13     4:30pm                       894                196           21.92% PETA CA                     Reply Y to tell prop. Managers in the US to stop using glue traps. Animals in glue traps die SLOWLY and painfully.
                                                                                                             <3 PETA
11/15/13    5:00pm                       888                208           23.42% PETA CA                     Reply Y to tell ON's Royal Botanical Gardens that bowhunting is an AGONIZING death for deer & a poor solution
                                                                                                             to protect plants. <3 PETA
1/4/2014      10:05:00 AM                                                        PETA CA                     Reply Y to urge Groupon 2 stop selling SeaWorld deals! The cruel, archaic business condemns orcas to a life of
                                                                                                             isolation &pain. <3 PETA
1/24/2014                                                                        PETA CA                     Reply Y to urge Southwest Airlines to end its partnership w/the orca abusers at SeaWorld! <3 PETA
1/31/2014                                                                        PETA CA                     Reply Y to urge designer Jimmy Choo to stop using skins that were torn off LIVE snakes &from crocs that were
                                                                                                             bludgeoned 2 death! <3 PETA
2/9/2014                                                                         PETA CA                     Reply Y to tell decision makers 2 close Indonesian zoo where ~50 animals died in just 3 mos. from horrific
                                                                                                             conditions & neglect <3 PETA
2/28/2014                                                                        PETA CA                     Reply Y to tell Etsy.com to stop allowing sellers to post fur items. Animals on fur farms are tortured & often
                                                                                                             skinned alive! <3 PETA
3/9/2014    1:00 PM ET                                                           PETA CA                     Reply Y to tell authorities to transfer 14-yr-old Sunder the elephant to a sanctuary, free from his chains, beatings
                                                                                                             & pain. <3 PETA
3/28/14     5:30 PM ET                        1,935 (total                       PETA CA                     Reply Y to tell the Minister of Health you don’t want untraceable horses coming into Canada for slaughter! <3
                                              for Q1)                                                        PETA
4/4/14                                  1,147           299               26.07% PETA CA                     Reply Y and urge Ontario to cancel bear hunts! They are cruel and will leave cubs orphaned and starving! <3 PETA

4/11/14     5:30 PM ET                  1,152               269           23.35% PETA CA                     Reply Y to ask military in Canada, Norway, Denmark + U.K. to use exclusively modern non-animal methods 4                    Thank you for speaking up for animals used in military tests! <3 PETA
                                                                                                             medical training exercises! <3 PETA (140)
4/18/14     5:30 PM ET                  1,163               308           26.48% PETA CA                     Reply Y to urge Canadian officials 2 bring the commercial seal slaughter 2 an end so baby seals can live 2 see              Thank you for helping baby seals! <3 PETA
                                                                                                             another spring! <3 PETA
4/25/14     5:30 PM ET                  1,194               288           24.12% PETA CA                     Reply Y to help wild animals! Canada has already canceled Animal Planet's cruel 'Wild West Alaska' show, urge               Thank you for speaking up for wild animals! <3 PETA
                                                                                                             U.S. to do the same. <3 PETA
5/2/14      6:00 PM ET                  1,207               265           21.96% PETA CA                     Reply Y to speak up 4 groundhogs being cruelly killed in NY! Urge the city council 2 use humane methods of                  Thank you for speaking up for groundhogs! <3 PETA
                                                                                                             population control. <3 PETA
5/9/14      5:30 PM ET                  1,215               305           25.10% PETA CA                     Reply Y to help the animals suffering at Indonesia’s ‘Zoo of Death’! Animals are stuck in trash-littered and                Thank youf or speaking up for animals in zoos! <3 PETA
                                                                                                             cramped cages 24/7. <3 PETA
5/16/14     5:30 PM ET                  1,219               269           22.07% PETA CA                     Reply Y to urge authorities 2 send the lonely elephant Mali to a sanctuary. She’s been alone in captivity for 35+           Thank you for speaking up for Mali! <3 PETA
                                                                                                             years. <3 PETA
5/23/14     5:30 PM ET                  1,231               276           22.42% PETA CA                     Reply Y to urge Arrowhead Research to STOP funding painful and needless experiments on chimpanzees. <3 PETA                 Thank you for speaking up for chimpanzees used in experiments! <3 PETA

5/30/14     5:30 PM ET                  1,244               273           21.95% PETA CA                     Reply Y to help countless pigeons in Taiwan who r released from ships+forced 2fly up to 320km across open         Thank you for speaking up for pigeons lost in illegal races! <3 PETA
                                                                                                             ocean, no land in sight <3PETA
6/6/14      5:30PM ET                   1252                260           20.77% PETA CA                     Reply Y to help deer at ONs Royal Botanic Gardens that are gruesomely killed with bow guns + often leave behind
                                                                                                             orphans. <3 PETA
6/13/14     5:30PM ET                   1258                283           22.50% PETA CA                     Reply Y to urge Air France, the LAST airline still shipping primates to labs to be abused + tortured, to stop the Thank you for speaking out for animals used in experimentation! <3 PETA
                                                                                                             practice. <3 PETA
6/20/14     5:30PM ET                   1262                289           22.90% PETA CA                     Reply Y to show support 4 ending captivity of whales+dolphins. The Vancouver Aquarium is considering a ban on Thank you for showing love for dolphins + whales trapped in captivity! <3 PETA
                                                                                                             their imprisonment! <3PETA
6/27/14     5:30PM ET                   1271                277           21.79% PETA CA                     Reply Y to speak up 4 pigs suffering Xtreme pain in meat trade. Tell US Dept of Ag 2 increase $ for inspections
                                                                                                             @slaughterhouses. <3PETA
                                                                                                        Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 57 of 66

3                        # sent to          # replied         % responded     Group     Interest/Area    Reply Y Text                                                                                                               Thank You Text                                                                                             Additional Text
7/4/14       5:30PM ET               1275               281            22.04% PETA CA                    Reply Y to help animals FORCED to smoke in cruel and useless experiments @ RJ Reynolds + Philip Morris Intl.               Thank you for taking action for animals used in cruel and useless tobacco tests! <3 PETA
                                                                                                         Smoking kills! <3 PETA
7/11/14      5:30pm ET               1288               289           22.44% PETA CA                     Reply Y to urge Ralph Lauren to drop wool! Undercover report exposes violence, mutilation and death @ US +                 Thank you for speaking out for beaten + abused sheep! Shop cruelty free with the help of our guide:
                                                                                                         Australian wool farms. <3PETA                                                                                              http://peta.vg/1goa <3 PETA
7/18/14      5:30pm ET               1311               333           25.40% PETA CA                     Reply Y to urge Avon, Mary Kay, Estee Lauder and Revlon to go back to being cruelty-free! Drop cruel animal                Thank you for taking action 4 animals used in experiments! Get more info on cruelty-free here:
                                                                                                         testing now! <3 PETA                                                                                                       http://peta.vg/1gok <3 PETA
7/25/14      5:30pm ET               1329               303           22.80% PETA CA                     Reply Y to urge Jimmy Fallon to stick to his comedy routine rather than support the capture + abuse of wild                Thank you for speaking out for animals that are captured + abused in the entertainment industry! <3 PETA
                                                                                                         animals 4 his show! <3 PETA
8/1/14       6:00pm ET               1330               288           21.65% PETA CA                     Reply Y to urge Min. of Health to end importation of horses. Many end up racing 2 their deaths or are trucked 2            Thank you for taking action for horses abused in the horse racing industry! <3 PETA
                                                                                                         slaughterhouses! <3 PETA
8/8/14       5:30pm ET               1332               296           22.22% PETA CA                     Reply Y to help elephants enslaved by the Tarzan Zerbini circus on tour in Quebec. Tell them not 2 use elephants           Thank you for speaking up for animals abused for entertainment! <3 PETA
                                                                                                         4 entertainment! <3PETA
8/15/14      5:30pm ET               1326               262           19.76% PETA CA                     Reply Y to tell designer Victor de Souza 2 cancel his horse-drawn carriage fashion show! Cruelty to animals is             Thank you for taking action for horses forced to work in cruel + abusive conditions! <3 PETA
                                                                                                         NEVER in fashion! <3 PETA
8/22/14      5:30pm ET               1335               265           19.85% PETA CA                     Reply Y to urge NB towns to overturn their decision 2 inefficiently control deer w/bowhunting + instead consider           Thank you for taking action for animals like deer! <3 PETA
                                                                                                         humane methods. <3 PETA
8/29/14      5:30pm ET               1348               289           21.44% PETA CA                     Reply Y to urge the US to end the suffering of millions of animals and ban cruel + unnecessary cosmetic tests on           Thank you for speaking up for animals used in cruel + evil tests! <3 PETA
                                                                                                         animals NOW! <3 PETA
9/5/14       5:30pm ET               1348               304           22.55% PETA CA                     URGENT: Reply Y to help Nosey the elephant who is scheduled to be used 4 painful rides @ an Ohio fair! Urge                Thank you for speaking up for Nosey! <3 PETA
                                                                                                         them to cancel NOW! <3 PETA
9/12/14      5:30pm ET               1351               276           20.43% PETA CA                     Reply Y to urge the NIH, a US govt agency, to stop tearing baby monkeys from their moms + subjecting them to               Thank you for taking action for animals being tormented in useless tests! <3 PETA
                                                                                                         cruel experiments! <3 PETA
9/19/14      5:30pm ET               1358               300           22.09% PETA CA                     Reply Y to urge French Connection to end sale of cruel angora! Rabbits often have their fur ripped out while still         Thank you for speaking out for rabbits who are often skinned alive! <3 PETA
                                                                                                         conscious. <3 PETA
9/26/14      5:30pm ET               1365               301           22.05% PETA CA                     Reply Y to urge India to stick with compassion + ignore attempts from L'Oreal + others to turn back the ban on             Thank you for urging Indian Govt to continue fighting for compassion! <3 PETA
                                                                                                         animal testing! <3 PETA
10/3/14      5:30pm ET               1362               307           22.54% PETA CA                     Reply Y to urge officials in Spain to cancel the sadistic ritual, Toro Jubilo! Bulls are being covered in tar and set on   Thank you for taking action for bulls! <3 PETA
                                                                                                         fire! <3 PETA
10/10/14     5:30pm ET               1330               290           21.80% PETA CA                     Reply Y to urge the fed govt NOT 2 overturn the Mounties' historic decision 2 go fur free. Tell them that fur KILLS! <3 PETA Thank you for taking action for animals used for fur! <3 PETA

10/17/14     5:30pm ET               1376               315           22.89% PETA CA                     Reply Y to urge officials in Calgary 2 ban body-crushing conibear traps. Animals R dying horrific deaths when
                                                                                                         humane traps exist! <3PETA
10/24/14     5:30pm ET               1380               312           22.61% PETA CA                     Reply Y to help sea lions in Georgia! Fair organizers are hosting cruel exhibit that exploits animals + puts people Thank you for taking action and showing love for Sea Lions! <3 PETA
                                                                                                         at risk. <3 PETA
10/31/14     5:30pm ET               1387               327           23.58% PETA CA                     Reply Y to tell officials in Nepal to cancel the planned killing
11/11/14     5:30pm ET               1390               318           22.88% PETA CA                     Reply Y to urge Sir Branson + the Virgin Group to end their shameful promotion of SeaWorld the abusement
                                                                                                         Park! <3 PETA
11/14/14     5:30pm ET               1407               320           22.74% PETA CA                     Reply Y to help get SeaWorld's shameful float removed from the Macy's Thanksgiving Day Parade! Cruelty
                                                                                                         shouldn't be celebrated. <3 PETA
11/21/2014   5:30pm ET               1427               333           23.34% PETA CA                     Reply Y to tell BCBG you want them to stop selling fur and angora! Animals shouldn't be murdered for fashion. <3
                                                                                                         PETA
11/28/2014   5:30pm ET               1430               318           22.24% PETA CA                     Reply Y to help animals imprsioned @ Indonesia's Zoo of Death! Animals are languishing in cruel, barren pits. <3
                                                                                                         PETA
12/5/2014    5:30pm ET               1430               310           21.67% PETA CA                     Reply Y to help tigers + lions forced to perform in Dirk Arthur's magic show! Tell the Riviera Casino in Vegas to
                                                                                                         cancel it now! <3 PETA
12/12/2014   5:30pm ET               1461               350           23.96% PETA CA                     Reply Y to urge the Canadian military to stop testing chemical weapons on pigs, causing them seizures, bleeding,
                                                                                                         and DEATH! <3 PETA
12/19/2014   5:30pm ET               1484               339           22.84% PETA CA                     Reply Y to help 35 baby elephants captured in Zimbabwe who are about 2B sold to zoos. Tell officials 2 rehab +
                                                                                                         release them now! <3 PETA
12/26/2014   5:30pm ET               1485               299           20.13% PETA CA                     Reply Y to urge officials in New Zealand 2 halt the trapping + killing of pigeons! Urge them to use cruelty-free
                                                                                                         alternatives. <3 PETA


1/2/2015     5:30pm ET               1484               363           24.46% PETA CA                     Reply Y to urge Gap to quit selling fur @ Intermix! Raccoons, foxes, and other animals should not be skinned alive
                                                                                                         for fashion. <3 PETA
1/9/2015     5:30pm ET               1490               344           23.09% PETA CA                     Reply Y to tell Alberta wildlife officials to ban cruel and archaic killing contests! 1000s of animals' lives are at
                                                                                                         stake. <3 PETA
1/16/2015    5:30pm ET               1497               353           23.58% PETA CA                     URGENT: Reply Y to help stop the torture of bulls at a festival in Mexico! They will be beaten, stabbed and left to
                                                                                                         die. <3 PETA
1/23/2015    5:30pm ET               1513               333           22.01% PETA CA                     Reply Y to help 1000s of farmed animals subjected to cruel experiments @ US Dept of Agriculture's Meat Animal
                                                                                                         Research Center. <3 PETA
                                                                                                       Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 58 of 66

3                       # sent to          # replied         % responded     Group     Interest/Area    Reply Y Text                                                                                                          Thank You Text   Additional Text
1/30/2015   5:30pm ET               1521               340            22.35% PETA CA                    Reply Y to help frogs being sold in TINY prisons! Many die from stress within days + have even spread salmonella
                                                                                                        to humans. <3 PETA
2/6/2015    5:30pm ET               1529               380           24.85% PETA CA                     Reply Y to help Lolita, an orca imprisoned @ Miami Seaquarium for 44years. Urge her new 'owners' to release
                                                                                                        her 2 sanctuary now! <3 PETA
2/13/2015   5:30pm ET               1533               318           20.74% PETA CA                     Reply Y to tell officials in Arizona to use humane bird control measures! Stop sedating + tearing birds away from
                                                                                                        their homes! <3 PETA
2/20/2015   5:30pm ET               1540               365           23.70% PETA CA                     Reply Y to tell UniverSoul Circus, which was cited AGAIN 4 alleged elephant abuse, 2 drop cruel elephant acts
                                                                                                        from its show NOW! <3PETA
2/27/2015   5:30pm ET               1541               356           23.10% PETA CA                     Reply Y to urge Indian officials to keep bulls protected + out of jallikattu where they r chased, kicked, punched,
                                                                                                        even stabbed. <3 PETA
3/6/2015    5:30pm ET               1533               338           22.05% PETA CA                     Reply Y to urge the Ringling Bros Circus to end cruel elephant acts NOW! Suffering elephants can't wait 3 more
                                                                                                        years. <3 PETA
3/13/2015   5:30pm ET               1533               330           21.53% PETA CA                     Reply Y to tell Lululemon to drop cruel down NOW! Birds have their feathers violently ripped out + are left
                                                                                                        w/painful wounds. <3 PETA
3/20/2015   5:30pm ET               1530               332           21.70% PETA CA                     Reply Y to help a chimpanzee being used in McDonald's ad! Tell them to pull the cruel ad now + to never use
                                                                                                        chimpanzees again. <3 PETA
3/27/2015   5:30pm ET               1530               328           21.44% PETA CA                     Reply Y to tell Oregon officials 2 stop branding + killing sea lions! Those that survive are left trembling in fear +
                                                                                                        pain. <3 PETA
4/3/2015    5:30pm ET               1527               343           22.46% PETA CA                     Reply Y to help bears imprisoned in concrete pits @ 3 Bears General Store in Tennessee! Urge the store owner to
                                                                                                        retire them now! <3 PETA
4/10/2015   5:30pm ET               1520               320           21.05% PETA CA                     Reply Y to help the animals suffering at Indonesia's 'Zoo of Death'! Animals are stuck in trash-littered and
                                                                                                        cramped cages 24/7. <3 PETA
4/17/2015   5:30pm ET               1519               397           26.14% PETA CA                     Reply Y to urge Avon, Mary Kay, Estee Lauder and Revlon to go back to being cruelty-free! Drop cruel animal
                                                                                                        testing now! <3 PETA
4/24/2015   5:30pm ET               1517               381           25.12% PETA CA                     Reply Y to urge Canadian officials 2 bring the commercial seal slaughter 2 an end so baby seals can live 2 see
                                                                                                        another spring! <3 PETA
5/1/2015    5:30pm ET                759               166           21.87% PETA CA    Test A           Reply Y to tell Northeastern University to end cruel experiments on hamsters! Theyâ€™re injected w/steroids +
                                                                                                        forced 2 fight! <3 PETA
5/1/2015    5:30pm ET                758               181           23.88% PETA CA    Test B           Reply Y to help hamsters! They're being pumped full of steroids + forced 2 fight 1 another @ Northeastern
                                                                                                        University in Boston. <3 PETA
5/8/2015    5:30pm ET               1516               356           23.48% PETA CA                     Reply Y to urge an Indiana fair to cancel pig wrestling events! Pigs are being chased, tackled + often injured just
                                                                                                        for show. <3 PETA
5/15/2015   5:30pm ET               1513               326           21.55% PETA CA                     Reply Y to urge Oklahoma City school officials 2 punish students who danced w/dead cats + ask them to end cruel
                                                                                                        dissection! <3 PETA
5/22/2015   5:30pm ET               1513               341           22.54% PETA CA                     Reply Y to support the fight for Lolita's freedom! She's the world's loneliest orca held prisoner @ Miami
                                                                                                        Seaquarium for 44yrs. <3 PETA
5/29/2015   5:30pm ET               1510               368           24.37% PETA CA                     Reply Y to demand GAP go fur-free and stop selling fur @ Intermix! Some animals are being skinned alive just for
                                                                                                        fashion. <3 PETA
6/5/2015    5:30pm ET               1505               346           22.99% PETA CA                     Reply Y to urge officials to shut down Primate Products, Inc. - a cruel primate dealer where animals are terrorized
                                                                                                        + neglected. <3 PETA
6/12/2015   5:30pm ET               1591               381           23.95% PETA CA                     Reply Y to get another cruel pig wrestling event canceled! In May, we had a victory in Indiana - now lets help pigs
                                                                                                        in Wyoming! <3 PETA
6/19/2015   5:30pm ET               1610               401           24.91% PETA CA                     Reply Y to help geese who have their feather's violently ripped out! Demand Lululemon stop selling cruel down!
                                                                                                        <3 PETA
6/26/2015   5:30pm ET               1618               356           22.00% PETA CA                     Reply Y to tell Hermes 2 stop selling items from crocs+alligators, some of whom were hacked 2 death while
                                                                                                        struggling 2 get away! <3 PETA
7/3/2015    5:30pm ET               1651               335           20.29% PETA CA                     Reply Y to tell Dubai officials that animals don't belong in tiny tanks 4 our amusement. Urge them 2 keep
                                                                                                        SeaWorld out of Dubai! <3 PETA
7/10/2015   5:30pm ET               1669               381           22.83% PETA CA                     Reply Y to help Nosey the elephant! An Ohio fair wants 2 force her 2 give rides, even though she suffers from
                                                                                                        painful arthritis. <3 PETA
7/17/2015   5:30pm ET               1676               385           23.02% PETA CA                     Reply Y to help orcas by stopping SeaWorld's plans to build another abusement park in Dubai! Tell officials to
                                                                                                        keep SeaWorld out. <3 PETA
7/24/2015   5:30pm ET               1678               396           23.60% PETA CA                     Reply Y to tell Victoria's Secret you won't buy its products until its back 2 being 100% cruelty-free! Cruelty isn't
                                                                                                        sexy! <3 PETA
7/31/2015   5:30pm ET               1672               494           29.55% PETA CA                     Reply Y to help lions like Cecil! Urge the US govt 2 ban imports of lion heads, feet + skins. Stop cowardly trophy
                                                                                                        hunters now! <3 PETA
8/7/2015    5:30pm ET               1671               388           23.22% PETA CA                     Reply Y to urge Shriners International to stop funding cruel burn experiments on sheep, mice + even dogs @ the
                                                                                                        Univ. of Texas! <3 PETA
8/14/2015   5:30pm ET               1788               434           24.27% PETA CA                     URGENT: Reply Y to tell Patagonia 2 stop selling wool now! Lambs had their tails cut off, throats slit + were even
                                                                                                        skinned alive! <3PETA
                                                                                                        Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 59 of 66

3                        # sent to          # replied         % responded     Group     Interest/Area    Reply Y Text                                                                                                           Thank You Text   Additional Text
8/21/2015    5:30pm ET               1815               402            22.15% PETA CA                    Reply Y to help animals like Cecil! Urge FedEx and UPS to stop shipping gross hunting 'trophies' now! <3 PETA

8/28/2015    5:30pm ET               1819               409           22.48% PETA CA                     Reply Y to tell hardware store Rona to stop selling cruel glue traps! Animals die a slow + agonizing death. <3 PETA

9/4/2015     5:30pm ET               1854               428           23.09% PETA CA                     Reply Y to help the animals suffering at Indonesia's 'Zoo of Death'! Animals are stuck in trash-littered and
                                                                                                         cramped cages 24/7. <3 PETA
9/11/2015    5:30pm ET               1860               415           22.31% PETA CA                     Reply Y to urge officials 2 cut ties w/Primate Products Inc, a US company under investigation for neglect + cruelty
                                                                                                         to monkeys. <3 PETA
9/18/2015    5:30pm ET               1876               391           20.84% PETA CA                     Reply Y to tell Whole Foods to drop the 'humane meat' myth! Pigs on 'humane' farms are often denied care + left
                                                                                                         2 suffer. <3 PETA
9/25/2015    5:30pm ET               1893               425           22.45% PETA CA                     Reply Y to demand an investigation into labs @ the CDC! Animals are suffering - including a calf who froze 2
                                                                                                         death in a barn! <3 PETA
10/2/2015    5:30pm ET               1909               446           23.36% PETA CA                     Reply Y to help bears imprisoned in barren, concrete pits @ Pymatuning Deer Park, where they beg 4 scraps of
                                                                                                         food! <3 PETA
10/9/2015    5:30pm ET               1917               370           19.30% PETA CA                     Reply Y to demand Uber drop the leather requirement from its Uber BLACK car service! High-end vegan options
                                                                                                         already exist! <3 PETA
10/16/2015   5:30pm ET               1921               402           20.93% PETA CA                     Reply Y to ask Australasian College of Surgeons to drop cruel live animal training experiments NOW! Animals are
                                                                                                         dying! <3 PETA
10/23/2015   5:30pm ET               1944               394           20.27% PETA CA                     Reply Y to demand Kikkoman Corporation (yes, the soy sauce brand) stop paying for cruel and deadly
                                                                                                         experiments on animals NOW! <3 PETA
10/30/2015   5:30pm ET               1960               404           20.61% PETA CA                     Reply Y to urge international retailer The Kooples drop cruel angora from its stores NOW - animals shouldn't
                                                                                                         suffer for fashion! <3 PETA
11/6/2015    5:30pm ET               1993               411           20.62% PETA CA                     Reply Y to help Joe the chimpanzee! He's @ seedy roadside zoo + has languished there in near complete isolation
                                                                                                         for the last 16yrs! <3 PETA
11/13/2015   5:30pm ET               2050               448           21.85% PETA CA                     Reply Y to tell S. African officials 2 ban a cruel ritual where bulls have their eyes gouged out + flesh torn from
                                                                                                         their bodies! <3 PETA
11/20/2015   5:30pm ET               2071               437           21.10% PETA CA                     Reply Y to tell Gilt that nobody deserves to die for fashion! Whether an elephant or a snake, all animals deserve
                                                                                                         to keep their skin! <3 PETA
11/27/2015   5:30pm ET               2086               423           20.28% PETA CA                     Reply Y to tell SeaWorld to stop raping orcas! Animals are forcefully masturbated, impregnated and often even
                                                                                                         inbred! <3 PETA
12/4/2015    5:30pm ET               2087               411           19.69% PETA CA                     Reply Y to help chimpanzees who are imprisoned @ the NIH, a US govt agency! Demand they be sent to a
                                                                                                         sanctuary NOW! <3 PETA
12/11/2015   5:30pm ET               2108               461           21.87% PETA CA                     Reply Y to ask UPS to join 40 other major airlines in banning the transport of dead animals who are shipped as
                                                                                                         hunting trophies! <3 PETA
12/18/2015   5:30pm ET               2132               434           20.36% PETA CA                     Reply Y to ask that Rudolph the Red-Nosed Reindeer drop it's partnership w/SeaWorld! Cruelty to orcas shouldn't
                                                                                                         be celebrated! <3 PETA
12/23/2015   5:30pm ET               2130               429           20.14% PETA CA                     Reply Y to help get Tootie the chimpanzee retired to a sanctuary! She has been held in solitary confinement for
                                                                                                         20yrs! <3 PETA

1/8/2016     5:30pm ET               2173               444           20.43% PETA CA                     Reply Y to urge Univ. of Oklahoma to release imprisoned baboons NOW! In 2 years, at least 51 baboons died at
                                                                                                         their facility. <3 PETA
1/15/2016    5:30pm ET               2186               458           20.95% PETA CA                     Reply Y to help rescue bears imprisoned @ a roadside zoo! They're living in barren, concrete pits and deserve
                                                                                                         their freedom NOW! <3 PETA
1/22/2016    5:30pm ET               2204               508           23.05% PETA CA                     Reply Y to tell retailer GUESS to stop selling angora fur NOW! Rabbits scream out in pain as fur is ripped from
                                                                                                         their bodies. <3 PETA
1/29/2016    5:30pm ET               2248               518           23.04% PETA CA                     Reply Y to tell retailer Canada Goose to stop selling fur + down NOW! The fur for their collars comes from
                                                                                                         trapped coyotes. <3 PETA
2/5/2016     5:30pm ET               2273               449           19.75% PETA CA                     Reply Y to tell Oklahoma City Zoo to close elephant exhibit! Chai recently died there - help get others retired to a
                                                                                                         sanctuary! <3 PETA
2/12/2016    5:30pm ET               2304               487           21.14% PETA CA                     Reply Y to help Fritha this Valentine's Day! An elephant taken from the wild and imprisoned alone for 16yrs.
                                                                                                         Demand her freedom! <3 PETA
2/12/2016    5:30pm ET                487               150           30.80% PETA CA                     Thank you for showing love for Fritha! Happy also needs your help - she's all alone since 2006. Reply Y2 to help
                                                                                                         her! <3 PETA
2/12/2016    5:30pm ET                150               123           82.00% PETA CA                     Thank you for showing love for Happy! Reply Y3 to help Shirley - a 71yr old elephant confined alone since 2011 @
                                                                                                         a Georgia Zoo. <3 PETA
2/19/2016    5:30pm ET               2326               499           21.45% PETA CA                     Reply Y to help rabbits who are hit + skinned alive @ Chinese fur farms! Urge retailers Revolve + Rent the Runway
                                                                                                         2 drop fur now! <3PETA
2/26/2016    5:30pm ET               2351               450           19.14% PETA CA                     Reply Y to tell Hermes + Prada to stop selling exotic skins NOW! Young ostriches are having their throats slit for
                                                                                                         profits. <3 PETA
3/4/2016     5:30pm ET               2368               495           20.90% PETA CA                     Reply Y to tell PetSmart to end the sale of animals! New PETA investigation shows reptiles being denied water +
                                                                                                         vet care. <3 PETA
                                                                                                        Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 60 of 66

3                        # sent to          # replied         % responded     Group     Interest/Area    Reply Y Text                                                                                                          Thank You Text   Additional Text
3/11/2016   5:30pm ET                2402               592            24.65% PETA CA                    URGENT: Reply Y to ask Mexican officials to ban cruel festival in which animals are put in pinatas, beaten + have
                                                                                                         heads torn off. <3PETA
3/18/2016   5:30pm ET                2426               494           20.36% PETA CA                     Reply Y to tell SeaWorld to not only end their forced orca breeding program but also send remaining orcas to sea
                                                                                                         sanctuaries! <3 PETA
3/25/2016   5:30pm ET                2449               588           24.01% PETA CA                     Reply Y to tell fashion retailer Simons to ditch angora + help bunnies who scream in pain as their fur is torn from
                                                                                                         their body! <3 PETA
4/1/2016    5:30pm ET                2467               507           20.55% PETA CA                     Reply Y to help lions+tigers in Vegas! Tell Westgate Resorts 2 ban notorious animal abuser Dirk Arthur from using
                                                                                                         animals 4 show. <3PETA
4/8/2016    5:30pm ET                2516               512           20.35% PETA CA                     Reply Y to tell retailer DSW there is nothing fashionable about killing animals 4 fashion! Tell them 2 drop fur and
                                                                                                         angora NOW! <3 PETA
4/15/2016   5:30pm ET                2570               627           24.40% PETA CA                     Reply Y to help a dog and bull who will be tied together + killed during a sadistic festival! Urge officials 2
                                                                                                         intervene ASAP! <3 PETA
4/22/2016   5:30pm ET                2587               550           21.26% PETA CA                     Reply Y to tell fashion retailer The Kooples to ditch fur NOW! Help animals who are often electrocuted + even
                                                                                                         skinned alive. <3 PETA
4/29/2016   5:45pm ET                2621               554           21.14% PETA CA                     Reply Y to help 17 chimpanzees suffering in a breeding facility! Demand that they be retired to a sanctuary NOW!
                                                                                                         <3 PETA
5/6/2016    5:35pm ET                2641               652           24.69% PETA CA                     Reply Y to urge Justin Trudeau to end the commercial seal slaughter and let baby seals live! <3 PETA
5/13/2016   6:00pm ET                2655               573           21.58% PETA CA                     Reply Y to tell Groupon that promoting SeaWorld, Ringling, and other companies that exploit animals is a raw
                                                                                                         deal for animals! <3 PETA
5/20/2016   5:30pm ET                2661               579           21.76% PETA CA                     Reply Y to urge the Wilmington Blue Rocks 2 cancel the monkey rodeo. Monkeys r tied 2 dogs who are forced 2
                                                                                                         race around a track! <3 PETA
5/27/2016   5:30pm ET                2683               547           20.39% PETA CA                     Reply Y to help geese who have their feathers ripped out, leaving bloody wounds. Tell Eddie Bauer + Lands End 2
                                                                                                         drop down NOW. <3 PETA
6/3/2016    5:30pm ET                2687               560           20.84% PETA CA                     Reply Y to help frogs! A school in TN is encouraging people to stab them with pitchfork-like spears for a
                                                                                                         fundraiser. Act NOW. <3 PETA
6/10/2016   5:30pm ET                2686               554           20.63% PETA CA                     Reply Y to help elephants + tigers! Circus World hired an abusive trainer + added more animal acts – tell them to
                                                                                                         stop now! <3 PETA
6/17/2016   6:15 PM ET               2677               515           19.24% PETA CA                     Reply Y to help Nosey the elephant! She is being forced 2 perform painful tricks. Urge the festival 2 cancel her
                                                                                                         appearance. <3 PETA
6/24/2016   5:30 PM ET               2671               513           19.21% PETA CA                     Reply Y to help animals forced 2 perform 4 CBS TV show 'Zoo'! Animals are routinely chained and beaten during
                                                                                                         training. <3 PETA
7/1/2016    6:45 PM ET               2750               477           17.35% PETA CA                     Reply Y to urge Summer Wind Farms, a tourist trap that has been cited 4 violating the Animal Welfare Act, 2
                                                                                                         retire animals now! <3 PETA
7/15/2016   5:30 PM ET               2668               526           19.72% PETA CA                     Reply Y to help baby elephants who are taken from their mothers + beaten. Tell travel companies 2 stop
                                                                                                         promoting elephant rides! <3 PETA
7/19/2016   5:30 PM ET               2667               535           20.06% PETA CA                     Reply Y to help Lolita! She hasn't had contact with another orca since 1980. Tell Miami Seaquarium 2 retire her
                                                                                                         now. <3 PETA
7/22/2016   5:30 PM ET               2661               420           15.78% PETA CA                     Reply Y to tell Backyard Brains 2 stop selling RoboRoach kits – live roaches sold to be mutilated 4 pointless
                                                                                                         science projects! <3 PETA
7/29/2016   5:30 PM ET               2658               514           19.34% PETA CA                     Reply Y to help tiger cubs! Urge breeder in Dade City 2 stop tearing cubs away from mother's + using them as
                                                                                                         selfie props. <3 PETA
8/5/2016    5:30 PM ET               2652               566           21.34% PETA CA                     Reply Y to help a LIVE bull who will be stabbed so people can drink his blood @ a festival. Tell officials 2 ban this
                                                                                                         abuse! <3 PETA
8/12/2016   5:30 PM ET               2645               516           19.51% PETA CA                     Reply Y to help monkeys! Baseball teams are hosting events where monkeys are tied to dogs + forced to race. Tell
                                                                                                         them to cancel! <3 PETA
8/19/2016   5:30 PM ET               2654               526           19.82% PETA CA                     Reply Y to help sharks who are stuck in tiny tanks + harassed by loud crowds. Tell fairs to cancel shark
                                                                                                         encounters! <3 PETA
8/26/2016   5:30 PM ET               2651               504           19.01% PETA CA                     Reply Y to help animals languishing at Tri-State Zoo! Tigers in cages with murky pools + a monkey pulled his own
                                                                                                         hair out. <3 PETA
9/2/2016    5:30 PM ET               2645               516           19.51% PETA CA                     Reply Y to help Bamboo the elephant! She has been attacked by other elephants @ the OKC Zoo. Tell them 2
                                                                                                         send her 2 a sanctuary! <3 PETA
9/9/2016    5:30 PM ET               2642               486           18.40% PETA CA                     Reply Y to tell Texas A&M to stop abusing + selling horses! They shot + killed a pregnant horse + used her dead
                                                                                                         baby in class. <3 PETA
9/16/2016   5:30 PM ET               2639               507           19.21% PETA CA                     Reply Y to help monkeys! Ask AirBridgeCargo Airlines 2 ban flying monkeys 2 the US 4 experiments where they're
                                                                                                         tortured + killed <3 PETA
9/23/2016   5:30 PM ET               2636               660           25.04% PETA CA                     Reply Y to help goats! They R slaughtered + die a slow death in front of screaming crowds @ a festival in Mexico.
                                                                                                         Ban the event! <3 PETA
9/29/2016   5:39 PM ET               2627               474           18.04% PETA CA                     Reply Y to speak up for animals dying at a lab in Tel Aviv! Cages were filthy + unwanted newborn animals were
                                                                                                         left to die. <3 PETA
                                                                                      Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 61 of 66

Date Sent     # sent to     # replied         % responded          Group      Interest/Area          Reply Y Text                                                                                                               Thank You Text                                                             Additional Text
       5/4/12           226              20                  8.85% peta2 CA                          A historic bill 2 end Canadian seal slaughter was introduced! Reply Y to send a msg of support 4 the bill to               Thanks for speaking up for seals! <3 peta2
                                                                                                     Canadian senators. <3 peta2
     6/22/12            436              29                  6.65% peta2 CA                          Urban Decay needs2 MAKE UP their minds. Selling in China means cruel tests on animals. Reply Y 2 tell                      Tnx 4 saying "no way" 2 Urban Decay. U can stay beautiful & cruelty free
                                                                                                     them 2 stay cruelty fre. <3 peta2                                                                                          w/our Be Nice to Bunnies app: bit.ly/petabnb. (Also online @
                                                                                                                                                                                                                                bit.ly/donttest) <3 PETA
   7/17/2012            485              28                  5.77% peta2 CA                          The US Military is killing cuties like this: http://bit.ly/LWovdG. Reply Y 2 tell them 2 stop killing animals for trauma   Thanks for helping goats! Here’s the full article on BuzzFeed:
                                                                                                     training! <3 peta2                                                                                                         http://bit.ly/OqYGO8 <3 peta2
   3/11/2013          1,311             308                 23.49% peta2 CA   Those who have email   Save baby seals! The seal slaughter is about 2 start. Reply Y to ask the Canadian government 2 end this                    Thank you for showing <3 for baby seals! <3 peta2
                                                                              addresses              bloody slaughter now. <3 peta2
   4/29/2015            309              36                 11.65% peta2 CA   Skins                  Baby seals need ur help! 20,000+ have been slaughtered this year 4 their fur. Reply X to ask the Canadian
                                                                                                     gov't 2 end it. <3 peta2
    5/9/2015            321              31                  9.66% peta2 CA   Viv                    The NIH rips baby monkeys away from their mothers in cruel experiments. Reply X to speak up for ALL
                                                                                                     moms this Mother's Day! <3 peta2
   5/14/2015            849              40                  4.70% peta2 CA   Viv                    Watch what these students did w/ dead cats @ school: http://peta2.me/2rtxf. Reply X 2 ask school
                                                                                                     officials 2 end dissection. <3 peta2
   5/20/2015            780             108                 13.84% peta2 CA   Entertainmnet          Groupon is selling discounted SeaWorld tickets. Reply X to let Groupon know it's not ok 2 profit off of others' misery.
                                                                                                     <3 peta2
   5/27/2015            795             101                 13.20% peta2 CA   Skins                  Some animals r skinned alive 4 their fur & Gap Inc. is selling it through INTERMIX. Reply X 2 tell Gap Inc. 2
                                                                                                     stop selling fur! <3 peta2
    6/2/2015            744              90                 12.09% peta2 CA   Viv                    PETA found neglected monkeys in extreme pain @ PPI (a dealer who sells monkeys 2 labs). Reply X to ask
                                                                                                     officials 2 take action! <3 peta2
   6/11/2015            752              79                 10.52% peta2 CA   Entertainmnet          She looks so sad: http://peta2.me/2tsgm. Reply X to urge the Natural Bridge Zoo to retire Asha to an
                                                                                                     accredited sanctuary. <3 peta2
   6/17/2015           1723             161                  9.34% peta2 CA   Viv                    I can't believe it! Revlon pays 4 tests on animals even tho it's NOT required. WTF? Let's stop this: reply X 2
                                                                                                     send them a msg! <3 Emily from peta2
   6/24/2015            351              59                 16.80% peta2 CA   Entertainmnet          There are 5 bears who are suffering @ Three Bears General Store that need ur help! Help get them 2 a
                                                                                                     sanctuary, Reply X <3 peta2
    7/1/2015            310              45                 14.51% peta2 CA   Skins                  Live reptiles r hacked 2 death 4 Hermes products like bags. Reply X to ask Hermes 2 drop these cruel
                                                                                                     accessories. <3 peta2
    7/8/2015            778             116                 14.91% peta2 CA                          SeaWorld is lookin' for a place to hide & trying to set up shop in Dubai. Reply X to tell Dubai officials 2 keep
                                                                                                     SeaWorld out. <3 peta2
   7/16/2015            757             105                 13.87% peta2 CA   Entertainmnet          Orcas deserve freedom! Reply X to tell California officials 2 deny SeaWorld's request 2 build new orca
                                                                                                     tanks! <3 Emily from peta2

   7/22/2015            347              70                 20.17% peta2 CA   Entertainmnet          Reply X to ask officials to cancel "pig wresting events" where pigs will be chased, tackled, & crammed into
                                                                                                     barrel drums! <3 peta2
   7/29/2015            196              33                 16.83% peta2 CA   Viv                    Here's Victoria's Secret: they pay 4 cruel tests on animals where they will be killed. Reply X to ask them to
                                                                                                     end these tests. <3 peta2
    8/6/2015             53              19                 35.84% peta2 CA   wildlife               The bears who r suffering @ Three Bears General Store need ur help! Reply X to ask the store 2 release them 2 a
                                                                                                     sanctuary. <3 peta2
   8/12/2015            219              22                 12.78% peta2 CA   Entertinment           Groupon continues 2 sell SeaWorld tickets. Reply X to let Groupon know it's not ok 2 profit off of others'
                                                                                                     misery. <3 peta2
   8/18/2015            196              59                   25% peta2 CA    Skins                  Here's Victoria's Secret: they pay 4 cruel tests on animals where they will be killed. Reply X to ask them to
                                                                                                     end these tests. <3 peta2
   8/26/2015          1,704             170                  9.97% peta2 CA   All Reply X            A zoo in VA forces Asha the elephant 2 give rides for hours in the heat + has even hit her w/ a bullhook! Reply X to
                                                                                                     ask owners 2 retire her! <3 peta2
    9/3/2015          1,733             209                 12.06% peta2 CA   All Reply X            Nosey the elephant is crippled & scheduled to work @ the DuQuoin State Fair. Reply X to ask officials to
                                                                                                     cancel her appearance. <3 peta2
   9/10/2015          1,735             232                 13.37% peta2 CA   All Reply X            Morgan, an orca @ Loro Parque, is stuck in a small tank w/ orcas who attack her. Reply X to ask the
                                                                                                     Spanish gov't to release her to a coastal sanctuary <3 peta2
   9/17/2015          1,721             217                 12.60% peta2 CA   All Reply X            Injured pigs suffered for weeks @ a Whole Foods "humane pork" supplier. Reply X to ask Whole Foods to
                                                                                                     drop "humane meat" claims <3 peta2
                                                                                    Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 62 of 66

Date Sent    # sent to       # replied         % responded          Group      Interest/Area             Reply Y Text                                                                                                  Thank You Text   Additional Text
   9/24/2015           1,791             229                 12.79% peta2 CA   All Reply X               At CDC labs animals r dying from neglect. A calf froze 2 death in a barn w/ a broken heater. Reply X to ask
                                                                                                         4 an investigation. <3 peta2
   10/1/2015           1,920             307                 15.98% peta2 CA   All Reply X               SeaWorld wants 2 build new tanks 2 keep even more orcas prisoner! Reply X to tell CA officials 2 deny
                                                                                                         SeaWorld's request. <3 peta2
   10/8/2015           1,880             253                 13.45% peta2 CA   All Reply X               NEU performs cruel experiments on hamsters by injecting them w/ steroids + forcing them 2 fight. Reply X
                                                                                                         to tell them 2 stop <3 peta2
  10/14/2015           1,872             250                 13.35% peta2 CA   All Reply X               The FL Dept. of Edu promotes SeaWorld as "fun" although 36 orcas died there! Reply X to ask it to cancel
                                                                                                         these promotions <3 peta2
  10/21/2015           1,870             292                 15.61% peta2 CA   All Reply X               Kikkoman soy sauce is conducting experiments where mice, rabbits & rats r mutilated & killed! Reply X to
                                                                                                         ask them to stop! <3 peta2
  10/27/2015           1,865             249                 13.35% peta2 CA   All Reply X               MO doesn't let students opt-out of cruel dissections. Animals deserve better! Reply X to ask officials 2 let
                                                                                                         students 2 say no. <3 peta2
   11/4/2015           1,873             244                 13.02% peta2 CA   All Reply X               A teacher was juggling dead frogs who were killed 4 dissection! Reply X to ask the school 2 switch 2 non-
                                                                                                         animal dissection <3 peta2
  11/10/2015           1,869             274                 14.66% peta2 CA   All Reply X               Joe the chimpanzee has been at a gross roadside zoo for 16 yrs. Reply X to ask that he be retired to a
                                                                                                         sanctuary. <3 peta2
  11/10/2025            274              123                 44.89% peta2 CA   Activated by 1st Reply X Thanks for helping Joe. Reply X2 to help Asha.
  11/10/2015            123              112                 91.05% peta2 CA   Activated by 2nd Reply X2 Thanks for showing love for Asha! Morgan the orca needs help! Reply X3 to ask that she be sent to a
                                                                                                         sanctuary! <3 peta2
  11/18/2015           1,866             270                 14.46% peta2 CA   All Reply X               Reply X to ask universities 2 stop buying animals from a laboratory dealer where pigs were found w/
                                                                                                         painful pus-filled wounds. <3 peta2
  11/25/2015           1,873             288                 15.37% peta2 CA   All Reply X               SeaWorld rapes & inbreeds orcas 2 keep them prisoner in tiny tanks! Reply X to tell SeaWorld 2 stop
                                                                                                         raping orcas! <3 peta2
   12/2/2015           1,893             242                 12.78% peta2 CA   All Reply X               Ugh! Sesame Street has partnered with SeaWorld. Reply X to send a message to Sesame Street to end all
                                                                                                         appearances of their characters at SeaWorld! <3 peta2
   12/9/2015           1,891             276                 14.60% peta2 CA   All Reply X               Louie the chimpanzee is being kept in solitary confinement at a roadside zoo. :( Reply X to help get him to
                                                                                                         a sanctuary. <3 peta2
  12/16/2015           1,957             221                 11.29% peta2 CA   All Reply X               Z Gallerie sells down although it can come from birds who r plucked violently & left w/ wounds! Reply X &
                                                                                                         ask them 2 ditch down <3 peta2
  12/23/2015           1,963             284                 14.46% peta2 CA   All Reply X               Nosey the abused elephant is being forced to give rides at a seedy flea market. Reply X to tell them to stop
                                                                                                         featuring Nosey! <3 peta2
  12/30/2015           1,985             243                 12.24% peta2 CA   All Reply X               Groups fund deadly tests on monkeys 4 breast cancer research. Wasting $ + lives. Reply X to ask them 2
                                                                                                         support effective methods - peta2
    1/6/2016           2,043             297                 14.53% peta2 CA   All Reply X               Tell the NIH to retire gov-owned chimpanzees to a sanctuary. Most have been used in painful and cruel
                                                                                                         experiments. Reply X now! <3 Emily from peta2
   1/13/2016           1,991             326                 16.37% peta2 CA   All Reply X               Drunk ppl throw bricks at bulls, snap their tails & cut off their ears @ a festival in Mexico. Reply X to ask
                                                                                                         officials 2 ban it<3 peta2
   1/13/2016            326              196                 60.12% peta2 CA   Activated by 1st Reply X Thanks for speaking up for bulls! Reply X2 to Tell OU to send remaining Baboons to a sanctuary. <3 peta2

   1/19/2016           1,992             307                 15.41% peta2 CA   All Reply X                Animals were put into a cooler & gassed 2 death @ a supplier for Petco & PetSmart. Reply X to ask them 2
                                                                                                          stop selling animals! <3 peta2
   1/29/2016           2,007             244                 12.15% peta2 CA   All Reply X                Monkeys used 4 film r taken from their moms @ birth. Reply X to ask We Buy Ugly Houses 2 stop using
                                                                                                          Monkeys in its ads. <3 peta2
    2/3/2016           2,015             330                 16.38% peta2 CA   All Reply X                 Russia is conducting cruel space experiments on monkeys. Reply X to ask them to send the monkeys to a
                                                                                                          sanctuary. <3 peta2
    2/3/2016            330              225                 68.18% peta2 CA   Activated by 1st Reply X   Wild coyotes are sometimes stomped to death for fur-trim jackets! Tell Canada Goose to stop selling fur,
                                                                                                          reply X2 <3 peta2
   2/11/2016           2,028             287                 14.15% peta2 CA   All Reply X                Chai the elephant was found dead @ the Oklahoma City Zoo. Reply X to ask the zoo to send the remaining
                                                                                                          elephants 2 a sanctuary. <3 peta2
   2/11/2016            287              186                 64.81% peta2 CA   Activated by 1st Reply X   Thanks! Asha, the elephant, has been all alone since approx. 2005. Reply X2 to ask for her to be retired to a
                                                                                                          sanctuary. <3 peta2
                                                                                  Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 63 of 66

Date Sent    # sent to     # replied         % responded          Group      Interest/Area              Reply Y Text                                                                                                                Thank You Text   Additional Text
   2/11/2016           186             161                 86.56% peta2 CA   Activated by 2nd Reply X   Thanks! Bubbles, the elephant, has been alone since 1984. Reply X3 to ask that she be retired to a sanctuary. <3
                                                                                                        peta2
   2/18/2016         2,045             337                 16.47% peta2 CA   All Reply X                Rabbit fur comes from bunnies who r often skinned alive, but Revolve still sells it! Reply X to ask them to ditch fur. <3
                                                                                                        peta2
   2/18/2016           337             256                 75.96% peta2 CA   Activated by 1st Reply X   Thanks! Deer r being pinned 2 the ground, having their antlers sawed off & taken 80 miles 2 be killed.
                                                                                                        Reply X2 to help stop it <3 peta2
   2/24/2016         2,044             307                 15.02% peta2 CA   All Reply X                Annette the elephant was used as a billboard when people wrote an ad on her side! Reply X to help retire
                                                                                                        her to a sanctuary. <3 peta2
   2/24/2016           307             207                 67.43% peta2 CA   Activated by 1st Reply X   Thanks! Reply X2 to tell GEICO 2 stop using great apes in their ads! <3 peta2
    3/2/2016         2,058             307                 14.92% peta2 CA   All Reply X                Reply X to tell tobacco companies to stop painful & irrelevant tobacco tests on animals! Superior non-
                                                                                                        animal tests exist. <3 peta2
    3/2/2016           307             232                 75.57% peta2 CA   Activated by 1st Reply X   Thanks! Reply X2 to tell Hermes & Prada to drop exotic skins now! Young ostriches are being slaughtered
                                                                                                        right in front of one another for fashion. <3 peta2
    3/2/2016           232             211                 90.95% peta2 CA   Activated by 2nd Reply X   Thanks! Reply X3 to tell The Kooples to stop selling items trimmed with fur from raccoons and other
                                                                                                        animals. <3 peta2
    3/9/2016         2,071             294                 14.19% peta2 CA   All Reply X                Reply X to ask the band MercyMe to have mercy on the suffering animals at SeaWorld and cancel their
                                                                                                        upcoming performance there! <3 peta2
    3/9/2016           294             208                 70.74% peta2 CA   Activated by 1st Reply X   Thanks! Reply X2 to ask PetSmart to stop selling animals! Turtles & other animals were gassed 2 death @
                                                                                                        PetSmart supplier.<3 peta2
    3/9/2016           208             193                 92.79% peta2 CA   Activated by 2nd Reply X   Reply X3 to ask Univ. of Houston to stop tormenting live rats & replace cruel classroom experiments w/
                                                                                                        humane learning methods <3 peta2
   3/16/2016         2,080             334                 16.06% peta2 CA   All Reply X                SeaWorld announced that Tilly is sick! Tilly needs you now, reply X to tell Groupon to stop selling SeaWorld
                                                                                                        tickets! <3 peta2
   3/23/2016         2,089             335                 16.04% peta2 CA   All Reply X                Angora bunnies scream as their fur is ripped out! Speak up now, reply X to tell Simons to stop selling fur
                                                                                                        and angora! <3 peta2
   3/30/2016         2,094             277                 11.65% peta2 CA   All Reply X                The American Association of Orthodontists is holding an event at cruel SeaWorld. Speak up & let AAO know its not
                                                                                                        chill, reply X now. <3 peta2
   3/31/2016         2,094             291                 10.65% peta2 CA   All Reply X                Reply X2 to tell DSW to stop selling fur and angora wool! Animals on fur farms spend their entire lives confined to
                                                                                                        cramped filthy wire cages. <3 peta2
    4/6/2016         2,100             267                 12.70% peta2 CA   All Reply X                Reply X to tell Westgate Las Vegas Resort & Casino to drop Dirk Arthur. He declawed lions and tigers! <3
                                                                                                        peta2
    4/6/2016           267             212                 79.40% peta2 CA   Activated by 1st Reply X   Reply X2 to tell San Diego Bowl Game Association to stop promoting SeaWorld. 37 orcas have died there!
                                                                                                        <3 peta2
   4/13/2016         2,051             243                 11.84% peta2 CA   All Reply X                Reply X to ask Amazon to put pressure on their partner ATSG to end the transport of monkeys to
                                                                                                        laboratories. <3 peta2
   4/13/2016           243             173                 71.19% peta2 CA   Activated by 1st Reply X   Reply X2 to tell Backcountry.com to stop selling fur. Animals on fur farms spend their entire lives confined
                                                                                                        to filthy cages <3 peta2
   4/13/2016           173             162                 93.64% peta2 CA   Activated by 2nd Reply X   Reply X3 to tell Canada to end it's seal slaughter now! Many of the seals who are killed have never taken
                                                                                                        their first swim. <3 peta2
   4/18/2016         2,043             276                 13.50% peta2 CA   All Reply X                Reply X to ask Peruvian officials to stop a cruel festival where villagers strap a dog to the back of a bull & then both
                                                                                                        animals are violently killed <3 peta2
   4/18/2016           276             202                 73.18% peta2 CA   Activated by 1st Reply X   Thanks! Reply X2 to tell Security Square Mall in Baltimore to cancel the UniverSoul Circus performance. Animals
                                                                                                        suffer in circuses! <3 peta2
   4/18/2016           202             180                 89.10% peta2 CA   Activated by 2nd Reply X   Reply X3 to ask magicians Rick Thomas and Michael Turco to cancel their acts at SeaWorld and perform somewhere
                                                                                                        else! <3 peta2
   4/27/2016         1,994             197                  9.87% peta2 CA   All Reply X                Reply X to tell AARP elephants used for ads are trained through intimidation & violence. <3 peta2
    5/4/2016         2,000             222                 11.10% peta2 CA   All Reply X                Lolita is forced to live in the smallest tank in North America! Reply X to ask Miami Seaquarium to send her
                                                                                                        to a sanctuary <3 peta2
    5/4/2016           222             132                 59.45% peta2 CA   Activated by 1st Reply X   Thanks! I can't believe it! Revlon pays for cruel tests on animals in China. Reply X2 to ask them to stop! <3
                                                                                                        Bridget from peta2
   5/11/2016         1,990             197                  9.89% peta2 CA   All Reply X                Reply X to tell Ringling to take all animals off of the road and send them to true sanctuaries. <3 peta2
   5/11/2016           197             126                 63.95% peta2 CA   Activated by 1st Reply X   Thanks! Reply X2 to tell HomeVestors to join responsible companies by pulling its ad featuring monkeys.
                                                                                     Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 64 of 66

Date Sent    # sent to       # replied         % responded           Group      Interest/Area              Reply Y Text                                                                                                          Thank You Text   Additional Text
   5/17/2016           1,991             226                  11.35% peta2 CA   All Reply X                During dissection, students used a cat's intestines as a jump rope at a school! Reply X to ask the school to end
                                                                                                           dissection <3 peta2
   5/17/2016            226              151                  66.84% peta2 CA   Activated by 1st Reply X   Reply X2 to ask the Wilmington Blue Rockets to stop their event where scared monkeys r tied to dogs & r
                                                                                                           violently jerked around <3 peta2
   5/26/2016           1,991             201                  10.09% peta2 CA   All Reply X                Reply X to tell the San Antonio Bowl Association not to partner w/ SeaWorld until the orcas are retired to a
                                                                                                           seaside sanctuary <3 peta2
   5/26/2016            193              155                  80.30% peta2 CA   Activated by 1st Reply X   Victoria's Secret is discontinuing its catalogs. Reply X2 to tell them to discontinue their painful & deadly
                                                                                                           tests on animals! <3 peta2
   5/26/2016            143              140                  97.90% peta2 CA   Activated by 2nd Reply X   Missouri doesn't allow students to opt-out of cruel dissections Reply X3 to ask officials to allow students to
                                                                                                           say no. <3 peta2
    6/1/2016           1,990             193                   8.34% peta2 CA   All Reply X                A Tennessee Farm Bureau Federation is encouraging students to stab & kill frogs for a fundraiser! Reply X
                                                                                                           to ask them to stop <3 peta2

    6/1/2016            193              130                  74.09% peta2 CA   Activated by 1st Reply X   Lands' End knows that down is sometimes ripped from fully conscious geese. Reply X2 to ask them to stop
                                                                                                           selling down. <3 peta2
    6/1/2016            130              121                  92.68% peta2 CA   Activated by 2nd Reply X   Brookhaven Fair is hosting a cruel event where terrified monkeys are strapped to dogs! Reply X3 to ask
                                                                                                           them to stop. <3 peta2
    6/9/2016           1,990             224                  11.25% peta2 CA   All Reply X                Reply X to tell Chilean officials to prosecute workers who cut into the necks of fully conscious sheep! <3
                                                                                                           peta2
    6/9/2016            224              162                  72.32% peta2 CA   Activated by 1st Reply X   Reply X2 to tell Gilt that it is guilty for supporting the cruel and bloody skins industry and to stop selling all
                                                                                                           exotic skins <3 peta2
    6/9/2016            162              148                  91.35% peta2 CA   Activated by 2nd Reply X   Asha is all alone @ the Natural Bridge Zoo. Reply X3 to urge NBZ to retire her to an accredited sanctuary.
                                                                                                           <3 peta2
   6/15/2016           1,980             210                  10.60% peta2 CA   All Reply X                Reply X to tell Circus World to retire elephants and all animals from their shows. <3 peta2
   6/15/2016             210             153                  72.85% peta2 CA   Activated by 1st Reply X   Reply X2 to tell Camp Kids Klub to stop supporting abusive companies, and urge it to cancel its scheduled
                                                                                                           trip to SeaWorld. <3 peta2
   6/15/2016             153             134                  87.58% peta2 CA   Activated by 2nd Reply X   Reply X3 to ask Z Gallerie to ditch down. <3 peta2
   6/22/2016           1,979             161                   8.13% peta2 CA   All Reply X                Reply X to ask PetSmart and Petco to stop selling all animals! <3 peta2
   6/22/2016             161             110                  68.23% peta2 CA   Activated by 1st Reply X   Reply X2 to tell the USDA to do its job and ban bear pits! These prisons don't offer bears sufficient area to
                                                                                                           roam! <3 peta2
   6/22/2016            110              101                  91.81% peta2 CA   Activated by 2nd Reply X   Reply X3 to tell UGGs to stop using cruelly obtained skin from sheep and make a vegan shoe instead! <3
                                                                                                           peta2
   6/29/2016           1,942             140                   7.20% peta2 CA   All Reply X                Reply X to tell CBS to stop using live animals in the show Zoo. Animals used for TV often spend most of
                                                                                                           their lives in cages. <3 peta2
   6/29/2016            140              108                  77.14% peta2 CA   Activated by 1st Reply X   Reply X2 to tell Craigslist to ban "Free to a Good Home" ads. Animals adopted by these ads r often put in
                                                                                                           dangerous situations <3 peta2
   6/29/2016            108               97                  89.81% peta2 CA   Activated by 2nd Reply X   37 orcas have died there but Groupon continues to sell SeaWorld tickets. Reply X3 to let Groupon to stop
                                                                                                           promoting SeaWorld. <3 pet
   6/29/2016              97              95                  97.93% peta2 CA   Activated by 3rd Reply X   Young ostriches are butchered for "luxury" bags. Reply X4 to tell Hermes to stop selling ostrich and other
                                                                                                           exotic skins! <3 peta2
    7/1/2016           1,941             164                   8.44% peta2 CA   All Reply X                PETA found live hermit crabs thrown in the trash @ a self-proclaimed Petco supplier. Reply X to tell them 2 stop
                                                                                                           selling animals<3 peta2
    7/1/2016            164              131                  79.88% peta2 CA   Activated by 1st Reply X   Sea Lion Splash is a traveling show that reportedly abuses seal lions! Tell fair organizers to cancel plans
                                                                                                           with SLS, Reply X2 <3 peta2
    7/1/2016            131              120                  91.60% peta2 CA   Activated by 2nd Reply X   Reply X3 to ask The Great Lakes Medieval Faire in Ohio to cancel their plans to host Nosey, the crippled
                                                                                                           elephant! <3 peta2
   7/13/2016           1,936             165                   8.52% peta2 CA   All Reply X                Louie the chimpanzee was taken away from his mom & is being kept in solitary confinement. Reply X to help get him 2
                                                                                                           a sanctuary <3 peta2
   7/13/2016            165              123                  74.54% peta2 CA   Activated by 1st Reply X   Backyard Brains sells live animals & surgery kits that are used to mutilate & torture roaches. Reply X2 to
                                                                                                           ask them to stop <3 peta2
   7/13/2016            123              125                 101.62% peta2 CA   Activated by 2nd Reply X   Bubbles the elephant has been alone since 1984. Reply X3 to ask that she be retired to a sanctuary. <3
                                                                                                           peta2
                                                                                    Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 65 of 66

Date Sent    # sent to       # replied         % responded          Group      Interest/Area              Reply Y Text                                                                                                                Thank You Text   Additional Text
   7/20/2016           1,933             143                  7.40% peta2 CA   All Reply X                Reply X to tell Backcountry.com to stop selling fur. Animals on fur farms spend their lives confined to filthy wire cages
                                                                                                          <3 peta2
   7/20/2016            143              101                 70.63% peta2 CA   Activated by 1st Reply X   Reply X2 to tell travel companies to stop offering elephant rides. Elephants used for these rides r usually
                                                                                                          beaten mercilessly <3 peta2
   7/20/2016            101               90                 89.11% peta2 CA   Activated by 2nd Reply X   Chai the elephant was found dead @ the Oklahoma City Zoo. Reply X3 to tell the zoo 2 send the remaining
                                                                                                          elephants 2 a sanctuary <3 peta2
   7/27/2016           1,926             170                  8.82% peta2 CA   All Reply X                The Grandview Aquarium is keeping 500 species, including 2 polar bears in empty concrete enclosures! Reply X to
                                                                                                          help close it. <3 peta2
   7/27/2016            170              119                 70.00% peta2 CA   Activated by 1st Reply X   Missouri doesn't allow students to opt-out of cruel dissections. Reply X2 to ask officials to allow students
                                                                                                          to say no. <3 peta2
   7/27/2016            119              104                 87.39% peta2 CA   Activated by 2nd Reply X   Reply X3 to tell Ringling to take all animals off of the road and send them to true sanctuaries. <3 peta2

   7/30/2016           1,925             129                  6.70% peta2 CA   All Reply X                Reply X to tell the Wisconsin State Fair to cancel its plans to host Sea Lion Splash immediately. <3 peta2

    8/5/2016           1,923             139                  7.22% peta2 CA   All Reply X                Reply X to ask an OH fair to cancel plans to host Nosey the elephant. She has been shackled in chains & forced to
                                                                                                          give rides <3 peta2
    8/5/2016            139               96                 69.06% peta2 CA   Activated by 1st Reply X   Reply X2 to ask Amazon to stop selling civet coffee. AKA coffee made with poop from animals who are
                                                                                                          kept in tiny barren cages. <3 peta2
    8/5/2016              96              84                 89.53% peta2 CA   Activated by 2nd Reply X   Reply X3 to tell AARP elephants used for ads are trained through intimidation & violence. <3 peta2
    8/9/2016           1,917             160                  8.36% peta2 CA   All Reply X                Reply X to ask the Tri-State Zoo to retire the animals it confines to a sanctuary. A capuchin monkey is
                                                                                                          caged all alone there! <3 peta2
    8/9/2016            160              123                 76.87% peta2 CA   Activated by 1st Reply X   Reply X2 to tell officials to stop the violence at a festival where 54 bulls have died and there have been
                                                                                                          sexual assaults. <3 peta2
    8/9/2016            123              116                 94.30% peta2 CA   Activated by 2nd Reply X   Summer Wind Farms locked a tiger cub in a basement and got fined! Reply X3 to tell them to send all
                                                                                                          animals to a sanctuary. <3 peta2
   8/17/2016           1,914             126                  6.58% peta2 CA   All Reply X                Reply X to ask Microsoft to stop offering virtual fieldtrips to Ringling Bro.'s compound. <3 peta2
   8/17/2016             126             114                 90.47% peta2 CA   Activated by 1st Reply X   Reply X2 to ask that "no-kill rescue" owners charged with 282 counts of cruelty to animals not be allowed
                                                                                                          to own animals again <3 peta2
   8/17/2016            114              112                 98.24% peta2 CA   Activated by 2nd Reply X   Reply X3 to tell the USDA to do its job & ban bear pits! These prisons don't offer bears sufficient area to
                                                                                                          roam. <3 peta2
   8/24/2016           2,489             433                 17.39% peta2 CA   All Reply X                Reply X to ask fairs to cancel events where sharks are displayed & harassed in tiny tanks. <3 peta2
   8/24/2016             433             345                 79.67% peta2 CA   Activated by 1st Reply X   Victoria's Secret pays for cruel tests on animals in China where they will be poisoned. Reply X2 to ask them
                                                                                                          to end these tests <3 peta2
   8/24/2016            345              315                 91.30% peta2 CA   Activated by 2nd Reply X   Backyard Brains sells live animals & surgery kits that are used to mutilate & torture roaches. Reply X3 to
                                                                                                          ask them to stop. <3 peta2
   8/31/2016           2,490             458                 18.39% peta2 CA   All Reply X                Reply X to tell the Bronx Zoo to retire Happy the elephant to a sanctuary. She has been alone for 9 years. <3 Bridget
                                                                                                          from peta2
   8/31/2016            458              340                 74.23% peta2 CA   Activated by 1st Reply X   Reply X2 to tell Craigslist 2 ban "Free to a Good Home" ads. Animals adopted via these ads r often put in
                                                                                                          dangerous situations. <3 peta2
   8/31/2016            340              313                 92.06% peta2 CA   Activated by 2nd Reply X   PETA found live hermit crabs thrown in the trash @ a self-proclaimed Petco supplier. Reply X3 to ask 'em 2
                                                                                                          stop selling animals <3 peta2
    9/7/2016           2,489             437                 17.55% peta2 CA   All Reply X                Reply X to ask Santa Monica College to end cat dissections--they even dissect pregnant cats! Students +
                                                                                                          animals deserve better <3 peta2
    9/7/2016            437              361                 82.60% peta2 CA   Activated by 1st Reply X   Reply X2 to ask officials to shut down monkey prison Primate Products, Inc. Another monkey was just
                                                                                                          found dead there! <3 peta2
    9/7/2016            361              338                 93.62% peta2 CA   Activated by 2nd Reply X   Reply X3 to tell Spain to shut down bullfighting schools. Kids are learning to slice off the ears of baby bulls!
                                                                                                          <3 peta2
   9/14/2016           2,474             429                 17.34% peta2 CA   All Reply X                Bubbles the elephant has been alone since 1984. Reply X to ask that she be retired to a sanctuary. <3
                                                                                                          peta2
   9/14/2016            429              333                 77.62% peta2 CA   Activated by 1st Reply X   Reply X2 to tell Hermes & Prada to drop exotic skins now! Young ostriches r being slaughtered in front of 1
                                                                                                          another 4 fashion <3 peta2
   9/14/2016            333              311                 93.39% peta2 CA   Activated by 2nd Reply X   Missouri doesn't allow students to opt-out of cruel dissections. Reply X3 to ask officials to allow students
                                                                                                          to say no. <3 peta2
                                                                                      Case 1:20-cv-01225-PX Document 71-36 Filed 12/20/21 Page 66 of 66

Date Sent    # sent to       # replied           % responded          Group      Interest/Area              Reply Y Text                                                                                                          Thank You Text   Additional Text
   9/21/2016           2,462              413                  16.77% peta2 CA   All Reply X                Reply X to tell SeaWorld to release Corky to a seaside sanctuary. She's locked inside one of SeaWorld's tiny tanks,
                                                                                                            swimming in endless circles. <3 peta2
   9/21/2016            413               341                  82.57% peta2 CA   Activated by 1st Reply X   Reply X2 to tell Tel Aviv University to stop abusing animals. Dead animals' bodies were left in cages with
                                                                                                            living animals <3 peta2
   9/21/2016            341               316                  92.67% peta2 CA   Activated by 2nd Reply X   Reply X3 to tell AirBridgeCargo to get on board with compassion and adopt a ban on transporting primates
                                                                                                            to their death! <3 peta2
                                         20334
